           UNITED STATES BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF TEXAS, DALLAS DIVISION
InCase      3:14-cv-04163-B
    Re: Cengiz J. Comu         Document
                                  Debtor   1-2 § Filed
                                                 Case No.11/21/14
                                                          09-38820 SGJ7 Page 1 of 256 PageID 236
Cengiz J. Comu, et al                          §
                                 Appellant     §
vs.                                            §          10-03269
King Louie Mining, LLC, et al                  §
                                 Appellee      §
                 148 Judgment revoking discharge of debtor Entered 7/8/14
                                      VOLUME 2
                                APPELLANT RECORD
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14   Page 2 of 256 PageID 237
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14   Page 3 of 256 PageID 238
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14   Page 4 of 256 PageID 239
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14   Page 5 of 256 PageID 240
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14   Page 6 of 256 PageID 241
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14   Page 7 of 256 PageID 242
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14   Page 8 of 256 PageID 243
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14   Page 9 of 256 PageID 244
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14   Page 10 of 256 PageID 245
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14   Page 11 of 256 PageID 246
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14   Page 12 of 256 PageID 247
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14   Page 13 of 256 PageID 248
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14   Page 14 of 256 PageID 249
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14   Page 15 of 256 PageID 250
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14   Page 16 of 256 PageID 251
   Case 10-03269-sgj Doc 5 Filed 10/07/10          Entered 10/07/10 15:01:11       Page 1 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14                  Page 17 of 256 PageID 252




  Dennis Olson
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  ATTORNEYS FOR CJ COMU

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

  IN RE:                                       §
                                               §
  CENGIZ J. COMU a/k/a                         §             CASE NO. 09-38820-sgj-7
  CJ COMU,                                     §
        Debtor.                                §             CHAPTER 7
  _________________________________            §
                                               §
  KING LOUIE MINING, LLC,                      §
  KING LOUIE ENTERPRISES, LLC,                 §
  and RONALD KATZ,                             §
        Plaintiffs,                            §
                                               §
  v.                                           §             Adversary Case no. 10-03269-sgj
                                               §
  CENGIZ J. COMU a/k/a                         §
  CJ COMU                                      §
       Defendant.                              §

                  DEFENDANT CJ COMU S MOTION TO DISMISS
           COMPLAINT, PURSUANT TO FED. RULES CIV. PROC. RULE 12(b)(6)

           NOW COMES Defendant CJ Comu, and in response to the Plaintiffs’ Complaint to

  Revoke Discharge Pursuant to Section 727 (d) of the United States Bankruptcy Code files this his

  Motion to Dismiss the Complaint, Pursuant to Fed. Rules Civ. Proc. Rule 12(b)(6) and in support

  thereof would respectfully show the Court as follows:


  DEFENDANT CJ COMU S MOTION TO DISMISS
  COMPLAINT, PURSUANT TO FED. RULES CIV. PROC. RULE 12(b)(6)                              Page - 1




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   Case 10-03269-sgj Doc 5 Filed 10/07/10                Entered 10/07/10 15:01:11       Page 2 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14                       Page 18 of 256 PageID 253




         1.      The Plaintiffs’ allegations are fairly succinctly set forth in Plaintiff s’ Complaint.

         2.      Basically, the Complaint seeks to revoke the discharge of this individual Debtor

  because his discharge was obtained by fraud.

         3.      Assuming, arguendo, that Plaintiff can introduce evidence to support the

  allegations in the Complaint, Defendant files this Motion pursuant to Fed. Rules Civ. Proc. Rule

  12(b)(6), to dismiss the Complaint for failure to state a claim upon which relief can be granted.

         4.      The Plaintiffs’ allegations do not establish that the Debtor’s discharge was

  obtained by fraud in fact, nor do the allegations establish that the fraud in fact was not discovered

  by Plaintiffs until after the discharge was entered.

         5.      Plaintiffs have not pled with sufficient specificity, as required to do, in order to

  state a cause of action against the individual Debtor for fraud in obtaining a discharge under

  Section 727 (d) of the Bankruptcy Code.

         6.      Indeed, Plaintiff cannot show any act by the individual Debtor that would

  constitute such fraud.

         7.      All that has happened in this case is that the Plaintiffs rehash allegations that are

  years old, allegations that Plaintiffs have heard about and raised for years.

         8.      Plaintiffs had actual notice of this bankruptcy, and their attorney of record for

  them did in fact attend the meeting of creditors in this case and reviewed additional documents

  produced by the Debtor to the Trustee after the meeting of creditors.

         9.      Neither the Trustee nor the Plaintiffs requested any additional documents, nor did

  they request a Rule 2004 examination, nor did they file an exception or objection to discharge.


  DEFENDANT CJ COMU S MOTION TO DISMISS
  COMPLAINT, PURSUANT TO FED. RULES CIV. PROC. RULE 12(b)(6)                                     Page - 2




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   Case 10-03269-sgj Doc 5 Filed 10/07/10              Entered 10/07/10 15:01:11         Page 3 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14                        Page 19 of 256 PageID 254




         10.     Plaintiffs’ Complaint does not establish, with the requisite specificity, what it is, if

  anything, that has been discovered since entry of the discharge that constitutes fraud in fact in

  obtaining the Debtor’s discharge.

         WHEREFORE, PREMISES CONSIDERED, Defendant CJ Comu prays that the Court,

  after notice and hearing, will dismiss the Complaint by Plaintiffs, deny all relief sought by the

  Plaintiffs, grant the Defendant his costs incurred, and grant Defendant CJ Comu such other and

  further relief as to which he may be justly entitled, either at law or in equity.

                                                 Respectfully submitted,

                                                 OLSON NICOUD & GUECK, L.L.P.
                                                 1201 Main Street, Suite 2470
                                                 Dallas, Texas 75202
                                                 (214) 979-7302 - Telephone
                                                 (214) 979-7301 – Facsimile
                                                 Email: denniso@dallas-law.com

                                                 By: /s/ Dennis Olson
                                                        Dennis Olson
                                                        State Bar No. 15273500

                                                 ATTORNEYS FOR CJ COMU




  DEFENDANT CJ COMU S MOTION TO DISMISS
  COMPLAINT, PURSUANT TO FED. RULES CIV. PROC. RULE 12(b)(6)                                     Page - 3




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   Case 10-03269-sgj Doc 5 Filed 10/07/10           Entered 10/07/10 15:01:11   Page 4 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14                    Page 20 of 256 PageID 255




                                  CERTIFICATE OF SERVICE

         The undersigned certifies that a true and correct copy of the foregoing Defendant CJ
  Comu s Motion to Dismiss Complaint, Pursuant to Fed. Rules Civ. Proc. Rule 12(b)(6) was
  served upon:

  Emil Lippe, Jr.
  Plaza of the Americas, South Tower
  600 N. Pearl Street, Suite S 2460
  Dallas, Texas 75201

  via electronic means and by cm,rrr, on the 7th day of October, 2010.


                                                       /s/ Dennis Olson
                                                      Dennis Olson




  DEFENDANT CJ COMU S MOTION TO DISMISS
  COMPLAINT, PURSUANT TO FED. RULES CIV. PROC. RULE 12(b)(6)                          Page - 4




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  Case 10-03269-sgj Doc 8 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 1 of 4
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 21 of 256 PageID 256


                                       UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                                DALLAS DIVISION

                                                    §
IN RE:                                              §       CHAPTER 7
                                                    §
CENGIZ J. COMU a/k/a CJ COMU,                       §       CASE NO. 09-38820-sgj7
                                                    §
                                                    §
          Debtor.                                   §



KING LOUIE MINING, LLC, KING                        §
LOUIE ENTERPRISES, LLC, AND                         §
RONALD KATZ,                                        §
                                                    §
          Plaintiffs,                               §
                                                    §
v.                                                  §       ADVERSARY NO. 10-03269-sgj
                                                    §
CENGIZ J. COMU a/k/a CJ COMU,                       §
                                                    §
          Defendant.                                §

                                       MOTION OF PLAINTIFFS FOR LEAVE
                                        TO AMEND AND BRIEF IN SUPPORT

TO THE HONORABLE STACEY G.C. JERNIGAN, UNITED STATES BANKRUPTCY JUDGE:

          Plaintiffs, King Louie Mining, LLC, and King Louie Enterprises, LLC, and Ronald Katz,

hereby file, pursuant to Rules 13 and 15 of the Federal Rules of Civil Procedure, this their motion

for leave to amend their complaint herein, seeking leave to file their First Amended Complaint to

Revoke Discharge Pursuant to Section 727(d) of the Unites States Bankruptcy Code in the form

submitted herewith, and states the following.

          1.         Plaintiffs hereby seek leave of Court to amend their Original Complaint on file herein

by filing the proposed pleading in the form tendered herewith. Defendant has filed a motion to


M OTION OF PLAINTIFFS FOR LEAVE
TO AM END AND BRIEF IN SUPPORT– Page 1
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  Case 10-03269-sgj Doc 8 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 2 of 4
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 22 of 256 PageID 257



dismiss which, among other things, challenge the legal sufficiency and specificity of Plaintiffs’

Complaint. While Plaintiffs do not concede the inadequacy of their Complaint, they desire to amend

to add further specificity to their claims. When a more carefully drafted complaint might state a

claim upon which relief could be granted, in response to motion to dismiss, the District Court should

allow the Plaintiffs to amend the complaint rather than dismissing it. Sarter v. Mays, 491 F.2d 675

(5th Cir. 1974); Griggs v. Hinds Junior College, 563 F.2d 179 (5th Cir. 1977); Welch v. Laney, 57

F.3d 1004 (11th Cir. 1995); Ostrzenski v. Seigel, 177 F.3d 245 (4th Cir. 1999).

          2.         Here, although Plaintiffs maintain that their Original Complaint properly alleges

causes of action, due to the contentions raised by the Defendant in the motion to dismiss, Plaintiffs

hereby seek leave to file their proposed First Amended Complaint to Revoke Discharge Pursuant to

Section 727(d) of the United States Bankruptcy Code in the form submitted herewith in order to

clarify various allegations, to make clear the basis for the alleged liability of the Defendant included

herewith.

          3.         In the interest of justice, the proposed amended complaint should be allowed so that

the merits of this case may be properly presented to the Court.

          WHEREFORE, Plaintiffs prays that the Court grant them leave to file their First Amended

Original Complaint in the form submitted herewith and grant him general relief.

                                                   Respectfully submitted,

                                                   LAW OFFICES OF LIPPE & ASSOCIATES



                                           By:      /s/ Emil Lippe, Jr.


M OTION OF PLAINTIFFS FOR LEAVE
TO AM END AND BRIEF IN SUPPORT– Page 2
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  Case 10-03269-sgj Doc 8 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 3 of 4
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 23 of 256 PageID 258

                                                        Emil Lippe, Jr.
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                                                        Law Offices of Lippe & Associates
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                                                        Telephone:      (214) 855-1850
                                                        Facsimile:      (214) 720-6074
                                                        Email:          emil@texaslaw.com

                                                        ATTORNEYS FOR PLAINTIFFS KING LOUIE
                                                        MINING, LLC, KING LOUIE ENTERPRISES, LLC,
                                                        AND RONALD KATZ




                                         CERTIFICATE OF CONFERENCE

          The undersigned certifies that he has attempted to confer with counsel of record for the

Defendant concerning the substance of the motion for leave, and was unable to speak to him.

          Signed this                  day of November, 2010.



                                                        /s/ Emil Lippe, Jr.




M OTION OF PLAINTIFFS FOR LEAVE
TO AM END AND BRIEF IN SUPPORT– Page 3
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  Case 10-03269-sgj Doc 8 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 4 of 4
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 24 of 256 PageID 259

                                       CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on this 8th day of November, 2010, I electronically

submitted the foregoing document with the Clerk of the Court for the U.S. Bankruptcy Court,

Northern District of Texas, using the electronic case filing system of the Court, which will then send

a notification of such filing to the following:

          Dennis Olson
          Olson, Nicoud & Gueck, L.L.P.
          1201 Main St., Ste 2470
          Dallas, TX 75202


                                                   /s/ Emil Lippe, Jr.
                                                  Emil Lippe, Jr.




M OTION OF PLAINTIFFS FOR LEAVE
TO AM END AND BRIEF IN SUPPORT– Page 4
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Case 10-03269-sgj Doc 8-1 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 1 of 12
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 25 of 256 PageID 260



                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

                                            §
IN RE:                                      §      CHAPTER 7
                                            §
CENGIZ J. COMU a/k/a CJ COMU,               §      CASE NO. 09-38820-sgj7
                                            §
                                            §
         Debtor.                            §


KING LOUIE MINING, LLC, KING                §
LOUIE ENTERPRISES, LLC, AND                 §
RONALD KATZ,                                §
                                            §
         Plaintiffs,                        §
                                            §
v.                                          §      ADVERSARY NO. 10-03269-sgj
                                            §
CENGIZ J. COMU a/k/a CJ COMU,               §
                                            §
         Defendant.                         §

    PLAINTIFFS’ FIRST AMENDED COMPLAINT TO REVOKE DISCHARGE
 PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE

TO THE HONORABLE STACEY G.C. JERNIGAN, UNITED STATES BANKRUPTCY JUDGE:

          King Louie Mining, LLC, King Louie Enterprises, LLC, and Ronald Katz, Plaintiffs,

pursuant to Section 727(d) of the United States Bankruptcy Code (11 U.S.C.§§101, et seq., the

“Bankruptcy Code”) and Rules 7001, et seq. of the Federal Bankruptcy Rules, complain of Debtor,

Cengiz J. Comu a/k/a CJ Comu(“Debtor”), as Defendant, and hereby file this their First Amended

Complaint to Revoke Discharge Pursuant to Section 727(d) of the United States Bankruptcy Code,

and in support thereof would respectfully show as follows:


PLAINTIFFS’ FIRST AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                    - PAGE 1




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Case 10-03269-sgj Doc 8-1 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 2 of 12
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 26 of 256 PageID 261



                          A. PARTIES, JURISDICTION AND VENUE

       1.      Plaintiff King Louie Mining, LLC, is a Delaware limited liability company with

principal offices and place of business at 8 Wheatley Avenue, Albertson, New York 11507.

       2.      Plaintiff King Louie Enterprises, LLC, is a Delaware limited liability company with

principal offices and place of business at 8 Wheatley Avenue, Albertson, New York 11507.

       3.      Ronald Katz is a resident of the State of New York and is a creditor herein.

       4.      Debtor, Cengiz Jan Comu a/k/a C.J. Comu, is an individual residing in Dallas County,

Texas. Debtor filed a voluntary petition under Chapter 7 of the Bankruptcy Code on December 31,

2009 (the “Petition Date”), in the United States Bankruptcy Court for the Northern District of Texas,

Dallas Division (the “Bankruptcy Court”), and was granted a discharge on April 14, 2010.

       5.      Debtor may be served with process by serving his attorney of record in this

bankruptcy case, Dennis Oliver Olson, Olson, Nicoud & Gueck, LLP, 1201 Main Street, Suite 2470,

Dallas, TX 75202.

       6.      This Court has jurisdiction over the parties and this controversy under 28 U.S.C.

§§157 and 1334. Although Debtor has been granted a discharge, his discharge must be set aside

pursuant to 11 U.S.C. §§727(d)(1) and (2). This adversary proceeding is a core proceeding under

28 U.S.C.§157(b)(2)(J).

       7.      Venue of this proceeding is proper under 28 U.S.C.§1409.

                                B. FACTUAL BACKGROUND

       8.      On January 15, 2010, Debtor filed his Schedules, Statement of Financial Affairs,

Chapter 7 Individual Debtor’s Statement of Intention, and Chapter 7 Statement of Current Monthly


PLAINTIFFS’ FIRST AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                          - PAGE 2




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Case 10-03269-sgj Doc 8-1 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 3 of 12
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 27 of 256 PageID 262



Income and Means-Test Calculation(collectively, the “Bankruptcy Filings”). On April 14, 2010, in

reliance upon the schedules filed by the Debtor, the Court granted a discharge. Plaintiffs bring this

action to revoke the discharge because the same was procured through a fraud upon the Court.

       9.      Comu has a long prior record of white-collar crimes and nefarious business practices,

and is subject to a permanent injunction issued by the United States Securities and Exchange

Commission (“SEC”). On November 1, 1989, the SEC entered an Order of Permanent Injunction

against Comu based on his dealings with a company called Oreo Mines, Inc., prohibiting him from

selling unregistered securities. The SEC order also demanded that Comu disgorge $80,000, but

waived this demand because of his inability to pay.

       10.     On April 9, 1999, the State of Wisconsin – Division of Securities found that Comu

had sold unregistered securities in violation of Wisconsin securities law and entered a permanent

injunction barring Comu from selling unregistered securities in Wisconsin. Also, Comu was placed

on criminal probation for two years in Texas in or around the early 1990s in connection with a car

leasing operation he started under the name of Transworld Leasing. In or around 2002, Comu was

investigated by the SEC in connection with his activities as chief executive officer in a company

called AirTech International Group, Inc., and he invoked his Fifth Amendment right against self-

incrimination during testimony taken by the SEC.

       11.     Comu was the founder and CEO of a company known as Humitech International

Group, Inc. (“Humitech”). Humitech was a publicly-owned company. Comu was previously the

CEO of another public-owned company, Airtech International Group, Inc.(“Airtech”). Comu

obtained the idea and business opportunity to found Humitech while CEO of Airtech, and diverted


PLAINTIFFS’ FIRST AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                         - PAGE 3




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Case 10-03269-sgj Doc 8-1 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 4 of 12
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 28 of 256 PageID 263



such opportunity to the new company, which he controlled.

       12.     Ever since at least May, 2003, the lenders of Airtech had been pursuing claims against

Comu for such diversion of corporate opportunity, fraud, and fraudulent transfer. The claims were

twice dismissed under stipulations that the dismissals would be without prejudice and the statutes

of limitations were tolled. Ultimately, Comu was a Defendant in New Millennium Capital Partners

II, LLC and AJW Partners LLC v. Humitech International Group Inc., and CJ Comu, Case No: 3:06-

CV-1180-L, formerly pending in the United States District Court for the Northern District of Texas,

Dallas Division, in which case a judgment was ultimately obtained against him.

       13.     While the New Millenium claims were existing against him, Comu conducted the

fraudulent kickback scheme discussed below involving Humitech, and caused the illegal proceeds

of such scheme to be paid to his alter ego, Sunset Pacific, L.P.

       14.     Humitech was in the business of selling humidity control products for refrigeration

units to regulate humidity, reduce temperatures, and absorb odors. The principal component of

Humitech’s products was a type of diatomaceous earth, which Humitech referred to as “Sorbite,”

contained in panels installed in the refrigeration units.

       15.     In 2003, through an introduction by a mutual acquaintance, Comu approached

Ronald Katz (“Katz”) to obtain funds for Humitech to purchase the Defendants’ purported mining

rights. This ultimately led to Katz’s company, King Louie Mining, LLC (“KLM”), lending money

to Humitech for this purpose.

       16.     On May 21, 2004, in a simultaneous closing, KLM loaned $3,000,000 to Humitech,

and HDC purchased certain worthless mining rights for $1,940,000, and Comu received a $500,000


PLAINTIFFS’ FIRST AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                         - PAGE 4




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Case 10-03269-sgj Doc 8-1 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 5 of 12
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 29 of 256 PageID 264



kickback from the seller. Although Comu owed fiduciary duties to his employer, Humitech, and its

lender, KLM, to fully disclose such kickback, he fraudulently withheld such information.

       17.     Katz did not discover the kickback scheme until over two years later, when Humitech

defaulted on the loan from KLM, and KLM foreclosed on the stock of HDC. Investigation of the

files left behind by Comu, after the foreclosure, disclosed this illegal scheme. Comu had arranged

with the seller to receive such kickback by a payment to his alter ego, a partnership known as Sunset

Pacific, LP, (“Sunset Pacific”).

       18.     Throughout his tenure at Humitech, Comu diverted monies from the company for his

own use and benefit, causing substantial damages to the corporation and its shareholders. As a result

of his fraudulent conduct and mismanagement of Humitech, it defaulted on its obligations to King

Louie Mining, causing over $2,000,000 in damages to KLM. As stated above, after KLM foreclosed

on the stock of HDC and took control thereof, and investigated the company and its financial

dealings, the kickback scheme was discovered.

       17.     On April 30, 2009, KLM obtained a Judgment in New York state court against Comu

for a total of $2,279,265.16, a true and correct copy of which is attached hereto as Exhibit “A” and

incorporated herein by reference. KLM subsequently domesticated this as a Texas judgment, and

was pressing for postjudgment discovery from Comu when he filed this bankruptcy proceeding.

       18.     For years, Comu has operated Sunset Pacif, as his alter ego, to shield his assets from

creditors, being aware of existing and potential claims of victims of his ongoing fraudulent activities.

Comu caused the $500,000 kickback to be paid to Sunset Pacific, thereby diverting the fruits of his

illegal actions into this alter ego of his to shield it from those whom he had defrauded.


PLAINTIFFS’ FIRST AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                            - PAGE 5




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Case 10-03269-sgj Doc 8-1 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 6 of 12
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 30 of 256 PageID 265



         19.    Comu filed this Bankruptcy Proceeding at a time when Plaintiffs were pressing their

efforts in Texas State Court to collect upon the judment against Comu. Comu filed his Bankruptcy

Schedules, claiming a small minority interest in Sunset Pacific, and a business owned by Sunset

Pacific, known as The Barclay Group. Reference is hereby made to the Schedules on file with this

Court.

         20.    At the First Meeting of Creditors herein, Comu testified that he had fully disclosed

his assets and liabilities on his Schedules. He further claimed that his interest in certain corporations,

partnerships, and other entities was correctly disclosed in his Schedules.

         21.    In truth and in fact, however, Plaintiffs have determined that Comu has hidden,

through a complex corporate structure involving Sunset Pacific, and a company that he controls

through his control of Sunset Pacific, known as The Barclay Group, Inc. (“The Barclay Group”),

numerous business interests, valuable stock, and other assets. Although other people, including

Comu’s wife, are listed as having controlling interests in Sunset Pacific and The Barclay Group,

Comu actually directs and controls such entities for his personal use and benefit. See Confidential

Memorandum, attached hereto as Exhibit “B” and incorporated by this reference.

         22.    Among other things, Comu transferred nominal controlling interests in Sunset Pacific,

L.P., to his wife for no consideration, and has utilized his wife as a front for continuation of his

management of assets which he indirectly owns and controls, in an effort to hide the same from his

creditors. Comu’s wife does not truly operate Sunset Pacific, and is only a figurehead “owner”

thereof, to facilitate Comu’s concealment of assets.

         23.    At the time of such transfer to Comu’s wife, there were numerous claims pending


PLAINTIFFS’ FIRST AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                              - PAGE 6




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Case 10-03269-sgj Doc 8-1 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 7 of 12
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 31 of 256 PageID 266



against Comu. The interests in Sunset Pacific were transferred to his wife, on information and belief,

for no value, and were for the purpose and intent of defrauding creditors, in violation of 11 U.S.C.

§544(b)(1) and the Texas Uniform Fraudulent Transfer Act (“TUFTA”), specifically §24.005(a)(1),

TEX . BUS. AND COMM . CODE.

       24.     Plaintiffs were not aware of these fraudulent transfers, hidden assets and employment

positions of Comu prior to the Discharge herein. Such assets and fraudulent transfers were material

and materially impacted the true net worth of the Debtor, and were fraudulently concealed in

violation of law.

       25.     On information and belief, through his control of The Barclay Group, Comu has

hidden substantial assets and has failed properly and fully to disclose the full extent of such assets,

and the fact that he actually controls The Barclay Group for his own use and benefit. Although

Comu has claimed that Bernard Brown is the officer actually controlling The Barclay Group, he is

actually dealing with Brown as a broker in European markets to wash his illegal sales of restricted

stock. He has concealed interests in various business enterprises owned through The Barclay Group

which should have been fully disclosed herein. These business interests, assets, and opportunities

include but are not limited to the following:

               <       Consulting services and disguised ownership interest in Partners National
                       Real Estate, LLC, and subsidiaries;

               <       Ownership rights for Artfest International, Inc., and/or Artfest Overseas;

               <       Consulting services and other interests in Art Channel, Inc.;

               <       Valuable sports memorabilia actually owned by Sun Sports Entertainment,
                       Inc., a public company of which Comu was CEO, which mysteriously
                       disappeared when Sun Sports ceased doing business, and which are believed
                       to have been concealed from creditors by Comu;

PLAINTIFFS’ FIRST AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                           - PAGE 7



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Case 10-03269-sgj Doc 8-1 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 8 of 12
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 32 of 256 PageID 267




               <       On information and belief, Comu has a practice of receiving restricted stock
                       in companies for whom he consults through The Barclay Group, and washes
                       such stock through affiliated relationships in the French Riviera, selling the
                       same, and concealing the illegal proceeds overseas;

               <       While in bankruptcy, Comu, through The Barclay Group, loaned $90,000 to
                       Green Automotive Company, Inc., and, on information and belief, obtained
                       certain stock or stock options as part of the consideration (see, Exhibit “C”
                       attached hereto);

               <       Consulting services and other involvement with Eller Industries, Inc.;

               <       Dealings with Mars Orbit Fund, Ltd.;

               <       Dealings with Capital Management Group, Inc.;

               <       Dealings with I.R.A. Oil & Gas, Inc.,;

               <       Dealings with JL Media Services LLC;

               <       Dealings with Temeku Financial;

               <       Dealings with various entities, referred to as “ARTI, AL, USR, VOIP, SR,
                       MetiScan, Med Tech, Cool It, Donson, Houston, and Nano,” none of which
                       were listed; and

               <       Dealings with Ultimate Sports Resort, and receipt of $100,000 payment
                       relating thereto.

All of such information should have been disclosed to the creditors herein, so that the Court and the

creditors were fully advised of Comu’s true financial condition.

       26.     Over a period of years prior to filing for bankruptcy, Comu caused the public

company which he was then controlling, Sun Sports Entertainment, to make numerous payments

totalling tens of thousands of dollars to Sunset Pacific, for no apparent consideration. The purposes

of such payments, and ultimate use and benefit therefrom, were not disclosed to this Court and the

creditors of this Bankruptcy Proceeding, and were likely to be material to Comu’s financial

PLAINTIFFS’ FIRST AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                         - PAGE 8



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Case 10-03269-sgj Doc 8-1 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 9 of 12
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 33 of 256 PageID 268



condition.

        27.     In addition, on information and belief, Comu owns or controls an interest in an entity

known as Grey Point Partners, LLC, which claims rights to broadcasting and presentation of Mixed

Martial Arts (“MMA”) programming. Comu has claimed that such rights actually exist and have

substantial value, but has failed to disclose his interest in such entity.

        28.     On information and belief, Comu owns or controls an interest in an entity known as

Marathon Management, the value of which has not been disclosed.

        29.     On information and belief, Comu owns or controls an interest in an entity known as

New Edge Consulting, the value of which has not been disclosed.

        30.     For all these reasons, Plaintiffs have determined that Comu owns or controls, through

Sunset Pacific and otherwise, substantial assets and sources of income which have been concealed

from the Court and creditors herein, which were material to his financial condition and which were

required by law to be disclosed.

                                              COUNT I.

        31.     Plaintiffs incorporate by reference the allegations of paragraphs 1 through 30 above

as if the same were fully set forth herein.

        32.     Debtor has committed fraud by concealing and failing to disclose assets and sources

of income which he was required by law to disclose, and has obtained a discharge by fraud.

        33.     On information and belief, Debtor was the managing partner of Sunset Pacific until

Debtor fraudulently transferred his controlling interest to his wife for no consideration. This

fraudulent transfer was executed in order to shield the assets of Sunset Pacific from the bankruptcy

proceeding.

PLAINTIFFS’ FIRST AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                          - PAGE 9



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Case 10-03269-sgj Doc 8-1 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 10 of 12
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 34 of 256 PageID 269



       34.     On further information and belief, Sunset Pacific, LP holds interests in various

entities, including, but not limited to, The Barclay Group, Inc. Comu is the current CEO of The

Barclay Group, Inc. The Barclay Group has substantial assets and recently loaned ninety-thousand

dollars to Green Automotive Company Inc. The full extent of the assets owned indirectly through

Sunset Pacific was not fully disclosed to the creditors herein, as set forth above in greater detail.

Further, the full extent of assets owned or controlled by Comu, as set forth above, was not fully and

properly disclosed herein.

       35.     Despite the fraudulent transfer of his interest in Sunset Pacific to his wife, Sunset

Pacific and its subsidiary, The Barclay Group, are Comu’s alter egos. Comu is conducting business

through Sunset Pacific and The Barclay Group, and such entities have substantial assets. Because

Comu misrepresented his property to the Trustee, he has committed fraud. As the Plaintiffs are

bankruptcy creditors, Plaintiffs have been harmed by this fraud.

       36.     This Complaint is being filed within one year after the date of discharge. Plaintiffs

are, therefore, entitled to an Order of this Court revoking the Debtor’s discharge, pursuant to 11

U.S.C. §727(e)(1), and declaring that all assets of Sunset Pacific and The Barclay Group shall be

considered assets of the Debtor. Plaintiffs further pray for an order revoking all fraudulent transfers

of the Debtor’s assets, pursuant to 11 U.S.C. §544(b)(1) and the Texas Uniform Fraudulent Transfer

Act (“TUFTA”), §24.005(a)(1), TEX . BUS. AND COMM . CODE.

       37.     Plaintiffs further request recovery of their reasonable and necessary attorney fees,

expert witness fees, costs for copies of deposition, and costs of court for all proceedings in the

Bankruptcy Court, the District Court, the Court of Appeals, and the Supreme Court.



PLAINTIFFS’ FIRST AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                          - PAGE 10



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Case 10-03269-sgj Doc 8-1 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 11 of 12
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 35 of 256 PageID 270



       WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that, upon final judgment of the

Court herein, that judgment be entered against Defendant Debtor revoking his discharge, that all

fraudulent transfers be revoked, and that Plaintiffs recover their reasonable attorney’s fees for all

proceedings in the Bankruptcy Court, the District Court, the Court of Appeals, and the Supreme

Court, and that Plaintiffs recover their costs of court, and general relief.



                                               Respectfully submitted,

                                               LAW OFFICES OF LIPPE & ASSOCIATES



                                       By:      /s/ Emil Lippe, Jr.
                                               Emil Lippe, Jr.
                                               State Bar No. 12398300
                                               Law Offices of Lippe & Associates
                                               Plaza of the Americas, South Tower
                                               600 N. Pearl Street, Suite S2460
                                               Dallas, Texas 75201
                                               Telephone:      (214) 855-1850
                                               Facsimile:      (214) 720-6074
                                               Email:          emil@texaslaw.com

                                               ATTORNEYS FOR PLAINTIFFS KING LOUIE
                                               MINING, LLC, KING LOUIE ENTERPRISES, LLC,
                                               AND RONALD KATZ




PLAINTIFFS’ FIRST AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                        - PAGE 11



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Case 10-03269-sgj Doc 8-1 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 12 of 12
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 36 of 256 PageID 271



                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 8th day of November, 2010, I electronically

submitted the foregoing document with the Clerk of the Court for the U.S. Bankruptcy Court,

Northern District of Texas, using the electronic case filing system of the Court, which will then send

a notification of such filing to the following:

       Dennis Olson
       Olson, Nicoud & Gueck, L.L.P.
       1201 Main St., Ste 2470
       Dallas, TX 75202


                                                   /s/ Emil Lippe, Jr.
                                                  Emil Lippe, Jr.




PLAINTIFFS’ FIRST AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                         - PAGE 12



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Case 10-03269-sgj Doc 8-2 Filed 11/08/10   Entered 11/08/10 13:58:30   Page 1 of 7




                       BY THE GRACE OF GOD FREE AND INDEPENDENT

                        -To all to whom these pr~sent.s shall come or mo.., concern, GREETING:

                       I(mnn 11', That we having examined the record! and files in the office of
           the Clerk of the County of New York and Clerk of the Supreme Court of said State
           for said County, do find a certain   if~                -



            there remaining, in the words and figUres following, to wit:
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           Case 10-03269-sgj Doc 8-2 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 2 of 7
           Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 38 of 256 PageID 273
                                                                (OVER)




SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK
------------------------------------------------------------------)(
HUMITECH DEVELOPMENT CORPORATION,
KING LOUIE MINING, LLC, KING LOUIE                                                Index No. 06-602567
ENTERPRISES, LLC, and RONALD KATZ,
Individually, and as a Shareholder of Humitech
International Group., Inc., Suing in the Right of
Humitech International Group, Inc.,

                                        Plaintiffs,                               JUDGMENT
                     - against-

 CENGIZ JAN COMU alkJa C,J. COMU and NAN
 GATI,                           )


                                         Defendants,

                         and

  HUMITECH INTERNATIONAL                        GROUP, INC.,

                                          Nominal Defendant.
  --------------------------------------------------~---------------)(
            This action having been scheduled for trial on February 23,2009,9:30              A.M. in Part 40;

  and the Court having made February 23, 2009 a final trial date; and Plaintiffs having been

   granted leave to serve a Verified Second Amended Complaipt; and Defendant Cengiz Jan Cornu

   ("Cornu") having been initially served with a Summons and Verified Complaint, the Verified

   Amended Complaint and then the Verified Second Amended Complaint; and the causes of action

   against defendant Ivan Gati having been severed from this action pursuant to the October 30,

    2008 order of Ron. Doris Ling-Cohan, lS.C.;                    and Defendant Cornu having appeared and

    answered the Verified Second Amended Complaint; and Defendant Cornu having failed to

    appear enter individually or by counsel for tlial on February 23,2009; the answer of Defendant

     Cornu having been stricken by the February 23, 2009 order of the Court; and upon the taking of




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             Case 10-03269-sgj Doc 8-2 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 3 of 7
             Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 39 of 256 PageID 274
        an inquest on February23, 2009; and upon the February 23,2009 order of Han. Joan B. Carey,

        J.S.C. directing the Judgment Clerk to enter judgment in the amounts set forth below, it is;
                                                                                                      @       ~wb- "\             C~q Iz.:fA V\.
                                                                                                      ",c,H)"" ~ •••••A     ~
                   ADJUDGED that the PlaintiffK.ing Louie Mining, LLClecover                                    from defelldant,...Comu &t'~fA C .-r-~
                                                                                                                                                             (C;VY' lA..}

        $1,386,748 and interest at the rate of9% per annum accruing from May 21,2004                                              iI' _----



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        has execution therefore.                                                                                                                   _
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                   ADJUDGED that ~laintiffKing Louie Enterprises LLC,lecover frOOidefendalltj\.Comu tAl ((('- C. J ~
                                                                                                                                                           l.tHYlI/o, I   V
        the amount of$135,000             and interest at the rate of9% per annum accruing from December 31,

        2003 ii'                    '   •..   of$
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x   .$       1'11, ~ II -   'b ,    and that plaintiff has execution therefore,
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                   ADJUDGED that Plaintiff Ronald Katz,[ecover from defendant,..ComuJl,theamount of

        $50,000 and interest at the rate of9% per annum accruing from August 31, 2003 ii' ._._.

                                                      , aggregating the sum of$

        that plaintiff has execution therefore.



        Judgment entered this ~ 0""'-;:-            day of     A-e""          I , 2009,
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                 Humitech Development Corporation v. Cornu (Index No. 602567)


                , Interest Calculations at 9% Per Annum

                                          No. of days         interest at   interest      princiRal
  Amount         date from     date to    outstanding       9% per annum    per day     plus interest


$1,386,748.00     OS/21/04     04/30/09       1805          $617,197.84     $341.94    $2,003,945.84


$135,000.00       12/31/03     04/30/09       1947           $64,811.10     $33.29       $199,811.10


 $50,000.00       08/31/03     04/30109       2069           $25,508.22     $12.33        $75,508.22
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           Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 41 of 256 PageID 276

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         Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 43 of 256 PageID 278
                              ~RD H. LEHNER a Justice                        of the Supreme
                    New York     for the County           of New York,         the   ']0 i«-
day of                           in the year         of our Lord         two thousand      and

                          , and of our         independence        the two hundred         and



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                                                County    'Clerk       and   Clerk   of the

                                               Supreme        Court,     New York     County




             Supreme Court of the State of New York for the County of New York,
           . a CoUrt of Record, do hereby certify that the foregoing attestation is
            per form. and by the proper officer.

                                MAY -12009




                     ~ 55.:


                     1, NORMAN GOODMAN, County Clerk and Clerk of the
                     Supreme Court of the State of New Yorlc, Co'D.ltY _~~ ;N~",,-
                     York, do hereby certify that Hon.Eri'J;,~'{';S:'L~.:.              _.:=~~
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                     whose name' is subscribed to the preceding certilicate is
                     a Justice of the Supreme Court of said State in and for
                      the County of New York, duly elected and qualified, and
                      that the signature of said Justice to said certificate is genuine .
                     .IN TESTIMONY WHEREOF, I have hereunto set my
                      hand and affixed the Seal of said County and Court this
                           50 day of ~                                 2001 .

                                                         ~~
                                                      County Clerk and Clerk of' the
                                                      Supreme Court, New York County.

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Case 10-03269-sgj Doc 8-3 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 1 of 1
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 44 of 256 PageID 279



                               CONFIDENTIAL    MEMORANDUM




 TO:        HUMITECH INTERNATIONAL      GROUP INC

 FROM:      CJ COMU

 SUBJECT:   HUMITECH LOAN

 DATE:       {DATE\*MERGEFORMAT}

 CC:        MORRIS GORE - ATTORNEY AT LAW, GLAST PHILLIPS & MURRAY




       FINAL NOTICE-

    THIS IS YOUR FINAL NOTICE OF DEMAND PAYMENT FOR THE TWENTY
                                                                TH
 FIVE THOUSAND DOLLAR ($25,000) LOAN THAT WAS ISSUED ON APRIL 30
 2005 FOR YOUR PAYROLL ACCOUNT.

    THESE FUNDS WERE DISBURSED WITH THE UNDERSTANDING         THAT
 THEY WOULD BE PAID BACK IN FULL ON OR BEFORE THE NEXT PAYROLL
 PERIOD OF MAY 15TH 2005. A PENALTY OF $500 WAS STATED FOR FAILURE
 TO PAY THIS DEMAND LOAN WITHIN A MAXIMUM OF 30 DAYS.

    I HAVE ATTEMPTED TO COLLECT ON THESE FUNDS AND HAVE MADE
 REPEATED ATTEMPTS. YOUR FAILURE TO HONOR THIS OBLIGATION AND
 THE FINES ATTACHED NOW REQUIRES ME TO PURSUE LEGAL REMEDY TO
 ENFORCE A LAWSUIT AND A CLAIM FOR DAMAGES.

   THIS IS YOUR FINAL NOTICE       TO MAKE PAYMENT                   OF   YOUR
 OUTSTANDING LIABILITY IN FULL TO THE FOLLOWING;



                         SUNSET PACIFIC LP
                         C/OCJCOMU
                         5301 PALADIUM DRIVE
                         DALLAS, TX, 75254




  CJ Cornu, Managing Partner
  Sunset Pacific, LP




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Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 1 of 24
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 45 of 256 PageID 280




                       Green Automotive Company Inc. (GACR.PK)
                  15851 Dallas Parkway Suite 540 Addison, Texas 75001 USA
                             Tel: 972.770.5048 Fax: 972.770.5051
                                   www.usaelectricauto.com


                       “We previously were a shell company, therefore
                       the exemption offered pursuant to Rule 144 is not
                       available. Anyone who purchased securities
                       directly or indirectly from us or any of our
                       affiliates in a transaction or chain of transactions
                       not involving a Version 9.7 Updated on 07/22/2009
                       public offering cannot sell such securities in an
                       open market transaction.”



Part A General Company Information
Item I The exact name of the issuer and its predecessor (if any).
   Green Automotive Company Inc.
   Previously (Ganas Corporation)

Item II The address of the issuer’s principal executive offices.
        Green Automotive Company Inc. (GACR.PK)
        15851 Dallas Parkway Suite 540 Addison, Texas 75001 USA
        Tel: 972.770.5048 Fax: 972.770.5051
        www.usaelectricauto.com



Item III The jurisdiction(s) and date of the issuer’s incorporation or organization.
   Provide the issuer’s jurisdiction(s) of incorporation or jurisdiction(s) of organization (if
   the issuer is not a corporation) and the date on which it was incorporated or
   organized.

12-96 State of incorporation New Jersey changed to Delaware

Formerly Royal Finance Corp. until 2-98

Formerly Royal Acceptance Corp. until 3-2008

Formerly Ganas Corp. until 1-2010

Part B Share Structure




                                                                                  000239
       Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 2 of 24
       Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 46 of 256 PageID 281



      Item IV The exact title and class of securities outstanding.
        In answering this item, provide the exact title and class of each class of outstanding
        securities. In addition, please provide the CUSIP and trading symbol.

      Common Stock                             Cusip #39260A GACR
      Class A Convertible Preferred Stock     Cusip #

      Item V Par or stated value and description of the security.
            A. Par or Stated Value. Provide the par or stated value for each class of
            outstanding securities.
      Common - $.001
      Preferred - $.001

              B. Common or Preferred Stock.

      1. For common equity, describe any dividend, voting and preemption rights.

      Each Shareholder is allowed 1 vote per share.
      Common stock holders have first rights to dividends.
      Board of directors can be voted out via majority share holder vote at any time with out cause, at a meeting
      held for that purpose. Each board of director serves one year. No poison pills.
      The Barclay Group Holds an Anti-duilion provision that it will have always 40% of outstanding common
      stock until November 2010

      2. For preferred stock, describe the dividend, voting, conversion and liquidation rights
         as well as redemption or sinking fund provisions.

      The share entitles holder to 51% voting majority of stock
      It is convertible to 4 common shares
      Preferred stock is not entitled to dividends

      3. Describe any other material rights of common or preferred stockholders.

      Not Applicable

      4. Describe any provision in issuer’s charter or by-laws that would delay, defer or
         prevent a change in control of the issuer.

      Not Applicable

Item VI The number of shares or total amount of the securities outstanding for each class
      of securities authorized.
         In answering this item, provide the information below for each class of securities
         authorized. Please provide this information (i) as of the end of the issuer’s most recent
         fiscal quarter and (ii) as of the end of the issuer’s last two fiscal years.
      (i) Period end date;
      (ii) Number of shares authorized;




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Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 3 of 24
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 47 of 256 PageID 282



(iii) Number of shares outstanding;
(iv) Freely tradable shares (public float);
(v) Total number of beneficial shareholders; and
(vi) Total number of shareholders of record.

Common - Last Fiscal Quarter:/Year End
(i) Period end date; 12.31.09
(ii) Number of shares authorized; 699,999,999
(iii) Number of shares outstanding; 239,367,042
(iv) Freely tradable shares (public float); 3,600,000
(v) Total number of beneficial shareholders; 156
(vi) Total number of shareholders of record. 156

Common - Last Fiscal Year (2nd year)

(i) Period end date; 12.31.08
(ii) Number of shares authorized; 699,999,999
(iii) Number of shares outstanding; 95,746,817
(iv) Freely tradable shares (public float); 3,600,000
(v) Total number of beneficial shareholders; 156
(vi) Total number of shareholders of record. 156


Preferred - Last Fiscal Quarter:/Year End
(i) Period end date; 12.31.09
(ii) Number of shares authorized; 1
(iii) Number of shares outstanding; 1
(iv) Freely tradable shares (public float); 1
(v) Total number of beneficial shareholders; 1
(vi) Total number of shareholders of record. 1

Common - Last Fiscal Year (2nd year)

(i) Period end date; 12.31.08
(ii) Number of shares authorized; 1
(iii) Number of shares outstanding; 1
(iv) Freely tradable shares (public float); 1
(v) Total number of beneficial shareholders; 1


Part C Business Information
Item VII The name and address of the transfer agent*.
Old Monmouth Stock Transfer Co, Inc
200 Memorial Parkway
Atlantic Heights, NJ 07716
732.872.2727
Registered under the Exchange Act? Yes




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Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 4 of 24
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 48 of 256 PageID 283



In answering this item, please also provide the telephone number of the transfer agent,
indicate whether or not the transfer agent is registered under the Exchange Act, and
state the appropriate regulatory authority of the transfer agent.
    *To be included in OTCQX or the Current Information OTC Market Tier, the issuer’s
    transfer agent must be registered under the Exchange Act.

Item VIII The nature of the issuer’s business.
   In describing the issuer’s business, please provide the following information:
       A. Business Development. Describe the development of the issuer and material
       events during the last three years so that a potential investor can clearly
       understand the history and development of the business. If the issuer has not
       been in business for three years, provide this information for any predecessor
       company. This business development description must also include:

GNAS Corp company was formerly a shell company after it ceased operations and has been laying
dormant for years. No bank accounts. Fees for transfer agents were paid by third parties. In September
2009 the majority of shares were purchased by The Barclay Group, Inc. GNAS Corp. then purchased Go
Green USA, LLC (Go), a Nevada Limited Liability Company, organized April 28 th, 2009, on November
4,th 2009 in exchange for the issuance of shares of common stock. For each 1% membership interest in
Go, the company issued 1,436,202.25 shares of common stock, par value of $.001 of GNAS. Effective in
2009, Go entered into a business importing and distributing automobiles manufactured by or for Zoyte
with the territory of the United States through the Zotye Memorandum Dated August 21, 2009 that was
contractually ratified on January 29, 2010. GNAS Corp changed its name in January to Green Automotive
to reflect the material change in business.


1. the form of organization of the issuer (e.g., corporation, partnership, limited liability
   company, etc.);

Corporation

2. the year that the issuer (or any predecessor) was organized;

1996

3. the issuer’s fiscal year end date;

December 31st

4. Whether the issuer (or any predecessor) has been in bankruptcy, receivership or any
   similar proceeding;

Not Applicable

5. any material reclassification, merger, consolidation, or purchase or sale of a
   significant amount of assets;

The Company completed an acquisition and reclassification as of November 2009




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Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 5 of 24
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 49 of 256 PageID 284




6. any default of the terms of any note, loan, lease, or other indebtedness or financing
   arrangement requiring the issuer to make payments;

       Company is currently in default of a $30,000, 60 day note to the Barclay Group: The terms are:
12% Interest. And a 100,000 shares per day late fee. The note has been in default since Jan 20th 2010.

7. any change of control;

       As of November 2009, control has gone from The Barclay Group Inc, to the management
team of Green Automotive


8. any increase of 10% or more of the same class of outstanding equity securities;

Yes, common due to the acquisition of Go Green USA in November 2009

9. any past, pending or anticipated stock split, stock dividend, recapitalization, merger,
   acquisition, spin-off, or reorganization;

Anticipating a reverse stock split

10. any delisting of the issuer’s securities by any securities exchange or deletion from
    the OTC Bulletin Board; and

Not Applicable

11. any current, past, pending or threatened legal proceedings or administrative actions
    either by or against the issuer that could have a

3 For the purpose of this section a “shell company” means an issuer, other than a
business combination related shell company, as defined by Securities Act Rule 405, or
an asset-backed issuer, as defined by Item 1101(b) of Regulation AB, that has:
(1) No or nominal operations; and
(2) Either:
(A) No or nominal assets;
(B) Assets consisting solely of cash and cash equivalents; or
(C) Assets consisting of any amount of cash and cash equivalents and nominal other
assets.

material effect on the issuer’s business, financial condition, or operations and any
current, past or pending trading suspensions by a securities regulator. State the names
of the principal parties, the nature and current status of the matters, and the amounts
involved.

Not Applicable




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Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 6 of 24
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 50 of 256 PageID 285



       B. Business of Issuer. Describe the issuer’s business so a potential investor can
       clearly understand it. To the extent material to an understanding of the issuer,
       please also include the following:

The Company Seeks to Import Electric Vehicles.

1. the issuer’s primary and secondary SIC Codes;
5012 Automobiles

2. if the issuer has never conducted operations, is in the development stage, or is
   currently conducting operations;

Development Stage Company

3. whether the issuer is or has at any time been a “shell company”;3
Yes

       Instruction to paragraph B.3 of Item VIII:
       If the issuer discloses that it is or has at any time been a shell company, it must
       also include the following disclosure on the front page of its disclosure statement
       in boldface, 12 point type:
       If the issuer is currently a shell company:
                       “We are a shell company, therefore the exemption
                       offered pursuant to Rule 144 is not available.
                       Anyone who purchased securities directly or
                       indirectly from us or any of our affiliates in a
                       transaction or chain of transactions not involving
                       a public offering cannot sell such securities in an
                       open market transaction.”
       If the issuer was formerly a shell company:
                       “We previously were a shell company, therefore
                       the exemption offered pursuant to Rule 144 is not
                       available. Anyone who purchased securities
                       directly or indirectly from us or any of our
                       affiliates in a transaction or chain of transactions
                       not involving a Version 9.7 Updated on 07/22/2009
                       public offering cannot sell such securities in an
                       open market transaction.”

4. the names of any parent, subsidiary, or affiliate of the issuer, and its business
   purpose, its method of operation, its ownership, and whether it is included in the
   financial statements attached to this disclosure statement;

Not Applicable

5. the effect of existing or probable governmental regulations on the business;




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Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 7 of 24
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 51 of 256 PageID 286




The EPA, Department of Transportation as well as State Regulations have jurisdiction over our products.
We must get their approval before selling vehicles in the US.

6. an estimate of the amount spent during each of the last two fiscal years on research
   and development activities, and, if applicable, the extent to which the cost of such
   activities are borne directly by customers;

The management team has spent a year prior to the merger research and negotiating the exclusive contract
with the vehicle manufacturer. There will not be much expenses that need to be recouped, the vehicle
production is done in China.

7. costs and effects of compliance with environmental laws (federal, state and local);
   and

The costs of Compliance with US law, US Federal regulation and State regulation is expected to be 1.5
million.

8. the number of total employees and number of full-time employees.

There are currently 5 employees.

        For issuers engaged in mining, oil and gas production and real estate activities,
        substantial additional disclosure of the issuer’s business is required. Contact Pink
        OTC Markets for more information.

Item IX The nature of products or services offered.
   In responding to this item, please describe the following so that a potential investor
   can clearly understand the products and services of the issuer:
A. principal products or services, and their markets;

The company offers imported electric cars for sale to dealerships in the US

B. distribution methods of the products or services;

Distribution will be through existing and new Car Dealerships

C. status of any publicly announced new product or service;

The company has signed a 3 year distribution contract and looks to sign dealerships. There is a risk that
dealers may not be interested in selling the Zotye product

D. competitive business conditions, the issuer’s competitive position in the industry, and
methods of competition;

Competitors are 1 year away and include BYD,GM,NISSAN,FORD AND CODA. Investors must know
that there is significant competition in the market.




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      Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 8 of 24
      Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 52 of 256 PageID 287



      E. sources and availability of raw materials and the names of principal suppliers;

      Zotye will be our principle supplier, we plan to add additional over time. We are completely dependent
      on the Zoyte and they will be our exclusive

      F. dependence on one or a few major customers;

      We will have many dealerships and therefore will not be dependent on any one or group.


      G. patents, trademarks, licenses, franchises, concessions, royalty agreements or labor
      contracts, including their duration; and

      The company holds the agreement with Zotye to distribute their vehicle. As far other important
      agreements, are the agreements between Green Automotive and dealerships which will be negotiated on a
      case by case basis.

      H. the need for any government approval of principal products or services and the
      status of any requested government approvals.

      The company must get EPA/DOT approval before it’s cars can be sold in the US. The car is expected to
      pass but investors must be aware there is significant risk of failing. Before the car can sell more than
      10,000 units the cars must pass federal crash testing and test at least 10 vehicles. Investors must know
      that there is significant risk of failing crash testing.


      Item X The nature and extent of the issuer’s facilities.
         The goal of this section is to provide a potential investor with a clear understanding of all
         assets, properties or facilities owned, used or leased by the issuer.
         In responding to this item, please clearly describe the assets, properties or facilities of
         the issuer, give the location of the principal plants and other property of the issuer and
         describe the condition of the properties. If the issuer does not have complete ownership
         or control of the property (for example, if others also own the property or if there is a
         mortgage on the property), describe the limitations on the ownership.
         If the issuer leases any assets, properties or facilities, clearly describe them as above
         and the terms of their leases.


      The company has no major facilities. It is currently leasing office space, owns general office
      materials, holds two vehicles for promotion and two electric vehicles for demo/sales purposes.
      GACR primary business activity is an importer and not a manufacture. It plans to hold inventory but
      only after is it paid for in orders from its dealership/clients.


      Part D Management Structure and Financial Information
Item XI The name of the chief executive officer, members of the board of directors, as
      well as control persons.




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Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 9 of 24
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 53 of 256 PageID 288



  The goal of this section is to provide an investor with a clear understanding of the
  identity of all the persons or entities that are involved in managing, controlling or
  advising the operations, business development and disclosure of the issuer, as well as
  the identity of any significant shareholders.
        A. Officers and Directors. In responding to this item, please provide the following
        information for each of the issuer’s executive officers, directors, general partners
        and control persons, as of the date of this information statement:
1. Full name;

Please see below

2. Business address;

Please see below

3. Employment history (which must list all previous employers for the past 5 years,
   positions held, responsibilities and employment dates);

Please see below

1. Board memberships and other affiliations;

Not Applicable

2. Compensation by the issuer; and
3. Number and class of the issuer’s securities beneficially owned by each such person.

Steve Fly – Chairman & CEO:

Shares owned:
Compensation:
5 year Employment History with dates:
Works out of company HQ


Steve Wells - President:

Shares owned:
Compensation:
5 year Employment History with dates:
Works out of company HQ



Steve Evans, Vice-President of Dealership Business Development:
Shares owned:
Compensation:
5 year Employment History with dates:
Works out of company HQ




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Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 10 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 54 of 256 PageID 289




David Sheedy - Director of Parts and Service:
Shares owned:
Compensation:
5 year Employment History with dates:
Works out of company HQ


Fredrick Lockhart- National Sales Director:

Shares owned:
Compensation:
5 year Employment History with dates:
Works out of company HQ


Nancy Painter - Controller:
Shares owned:
Compensation:
5 year Employment History with dates:
Works out of company HQ

There are no other shareholders with more than 5%


   4 The term “family relationship” means any relationship by blood, marriage or
adoption, not more remote than first cousin.

Not Applicable


      B. Legal/Disciplinary History. Please identify whether any of the foregoing
      persons have, in the last five years, been the subject of:
1. A conviction in a criminal proceeding or named as a defendant in a pending criminal
   proceeding (excluding traffic violations and other minor offenses);

2. The entry of an order, judgment, or decree, not subsequently reversed, suspended
   or vacated, by a court of competent jurisdiction that permanently or temporarily
   enjoined, barred, suspended or otherwise limited such person’s involvement in any
   type of business, securities, commodities, or banking activities;

Not Applicable

3. A finding or judgment by a court of competent jurisdiction (in a civil action), the
   Securities and Exchange Commission, the Commodity Futures Trading
   Commission, or a state securities regulator of a violation of federal or state securities




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Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 11 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 55 of 256 PageID 290



   or commodities law, which finding or judgment has not been reversed, suspended,
   or vacated; or

Not Applicable

4. The entry of an order by a self-regulatory organization that permanently or
   temporarily barred, suspended or otherwise limited such person’s involvement in any
   type of business or securities activities.

Not Applicable

       C. Disclosure of Family Relationships. Describe any family relationships4 among
       and between the issuer’s directors, officers, persons nominated or chosen by the
       issuer to become directors or officers, or beneficial owners of more than five
       percent (5%) of the any class of the issuer’s equity securities.

Not Applicable

       D. Disclosure of Related Party Transactions. Describe any transaction during the
       issuer’s last two full fiscal years and the current fiscal year or any currently
       proposed transaction, involving the issuer, in which (i) the amount involved
       exceeds the lesser of $120,000 or one percent of the average of the issuer’s total
       assets at year-end for its last three fiscal years and (ii) any related person had or
       will have a direct or indirect material interest. Disclose the following information
       regarding the transaction:
              1. The name of the related person and the basis on which the person is
                      related to the issuer;
              2. The related person’s interest in the transaction;
              3. The approximate dollar value involved in the transaction (in the case of
                      indebtedness, disclose the largest aggregate amount of principal
                      outstanding during the time period for which disclosure is required,
                      the
              5 “Immediate family members” means any child, stepchild, parent,
                      stepparent, spouse, sibling, mother-in-law, father-in-law, son-in-law,
                      daughter-in-law, brother-in-law, or sister-in-law.
              amount thereof outstanding as of the latest practicable date, the amount of
                      principal and interest paid during the time period for which
                      disclosure is required, and the rate or amount of interest payable on
                      the indebtedness);
              4. The approximate dollar value of the related person’s interest in the
                      transaction; and
              5. Any other information regarding the transaction or the related person in
                      the context of the transaction that is material to investors in light of
                      the circumstances of the particular transaction.




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Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 12 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 56 of 256 PageID 291


      The Company, on November 30th 2010 entered into a Loan Agreement with The Barclay Group
      (TGB). TBG loaned the Company $30,000. The Note Payable is at 12% daily compounding
      interest. The Note was due December 30,th 2009. The Note is Unsecured.
      The Company is currently in default. No repayment has been made

      The Company, on January 8th 2010 entered into a Loan Agreement with The Barclay Group.
      TBG loaned the Company $10,000. The Note is payable at 12% interest. It is due March 8 th
      2010. The Note is Unsecured No payment has been made

      The Company, on January 15th 2010 the Company entered into a loan agreement with The
      Barclay Group. It loaned the company 50,000 at 12%. The Note is Unsecured.
      The Company has a Note Payable at 9.14% with monthly payments of $1,078 due August 2013
      secured by vehicles. Payments are being made.

      The Company has a Note Payable at 3.90% with monthly payments of $738 due June 2015
      secured by vehicles. Payments are being made.
      Certain officers have advanced monies to the company on an unsecured basis and non-interest
      bearing. Payment will be made out of cash flows once the Company begins operations.


      Instruction to paragraph D of Item XI:
             1. For the purposes of paragraph D of this Item XI, the term “related
                     person” means any director, executive officer, nominee for director,
                     or beneficial owner of more than five percent (5%) of any class of
                     the issuer’s equity securities, immediate family members5 of any
                     such person, and any person (other than a tenant or employee)
                     sharing the household of any such person.
             2. For the purposes of paragraph D of this Item XI, a “transaction”
                     includes, but is not limited to, any financial transaction,
                     arrangement or relationship (including any indebtedness or
                     guarantee of indebtedness) or any series of similar transactions,
                     arrangements or relationships.
             3. The “amount involved in the transaction” shall be computed by
                     determining the dollar value of the amount involved in the
                     transaction in question, which shall include:
                     a. In the case of any lease or other transaction providing for
                        periodic payments or installments, the aggregate amount of all
                        periodic payments or installments due on or after the beginning
                        of the issuer’s last fiscal year, including any required or optional
                        payments due during or at the conclusion of the lease or other
                        transaction providing for periodic payments or installments; and
                     b. In the case of indebtedness, the largest aggregate amount of all
                        indebtedness outstanding at any time since the beginning of the
                        issuer’s last fiscal year and all amounts of interest payable on it
                        during the last fiscal year.
             4. In the case of a transaction involving indebtedness:
             a. The following items of indebtedness may be excluded from the
             calculation of the amount of indebtedness and need not be disclosed:



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Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 13 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 57 of 256 PageID 292



                 amounts due from the related person for purchases of goods and services
                 subject to usual trade terms, for ordinary business travel and expense
                 payments and for other transactions in the ordinary course of business;
                 and
Not Applicable
                        b. Disclosure need not be provided of any indebtedness transaction
                            for beneficial owners of more than five percent (5%) of any class
                            of the issuer’s equity securities or such person’s family
                            members.
Not Applicable

                 5. Disclosure of an employment relationship or transaction involving an
                        executive officer and any related compensation solely resulting
                        from that employment relationship or transaction need not be
                        provided. Disclosure of compensation to a director also need not be
                        provided.
Not Applicable

                 6. A person who has a position or relationship with a firm, corporation, or
                        other entity that engages in a transaction with the issuer shall not
                        be deemed to have an indirect material interest for purposes of
                        paragraph D of this Item XI where:
Not Applicable

                        a. The interest arises only:
                                  i. From such person’s position as a director of another
                                  corporation or organization that is a party to the transaction; or
                                ii. From the direct or indirect ownership by such person and all
                                other related persons, in the aggregate, of less than a ten
                                percent (10%) equity interest in another entity (other than a
                                partnership) which is a party to the transaction; or
                              iii. From both such position and ownership; or
                        b. The interest arises only from such person’s position as a limited
                        partner in a partnership in which the person and all other related
                        persons have an interest of less than ten percent (10%), and the
                        person is not a general partner of and does not hold another position
                        in the partnership.
Not Applicable

                 7. Disclosure need not be provided pursuant to paragraph D of this Item XI
                        if:
                        a. The transaction is one where the rates or charges involved in the
                            transaction are determined by competitive bids, or the
                            transaction involves the rendering of services as a common or
                            contract carrier, or public utility, at rates or charges fixed in
                            conformity with law or governmental authority;
Not Applicable




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      Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 14 of 24
       Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 58 of 256 PageID 293



                              b. The transaction involves services as a bank depositary of funds,
                                  transfer agent, registrar, trustee under a trust indenture, or
                                  similar services; or
      Not Applicable

                              c. The interest of the related person arises solely from the
                                  ownership of a class of equity securities of the issuer and all
                                  holders of that class of equity securities of the issuer received
                                  the same benefit on a pro rata basis.
      Not Applicable

                       8. Include information for any material underwriting discounts and
                               commissions upon the sale of securities by the issuer where any of
                               the specified persons was or is to be a principal underwriter or is a
                               controlling person or member of a firm that was or is to be a
                               principal underwriter.

      Not Applicable

             E. Disclosure of Conflicts of Interest. Describe any conflicts of interest. Describe
             the circumstances, parties involved and mitigating factors for any executive
             officer or director with competing professional or personal interests.

      Not Applicable


Item XII Financial information for the issuer’s most recent fiscal period.
      Instruction to Item XII: The issuer shall post the financial statements required by this
      Item XII through the OTC Disclosure and News Service under the appropriate report
      name for the applicable period end. (If the financial statements relate to a fiscal year
      end, publish it as an “Annual Report,” or if the financial statements relate to a quarter
      end, publish it as a “Quarterly Report” or “Interim Report”) The issuer must state in its
      disclosure statement that such financial statements are incorporated by
      reference. The issuer must also (i) provide a list in the disclosure statement describing
      the financial statements that are incorporated by reference, (ii) clearly explain where the
      incorporated documents can be found, and (iii) provide a clear cross-reference to the
      specific location where the information requested by this Item can be found in the
      incorporated documents.
      The issuer shall provide the following financial statements for the most recent fiscal
      period (whether fiscal quarter or fiscal year).
      1) balance sheet;
      2) statement of income;
      3) statement of cash flows;
      4) statement of changes in stockholders’ equity;
      5) financial notes; and
      6) audit letter, if audited




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      Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 15 of 24
       Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 59 of 256 PageID 294




      Annual report has been posted to PinkSheets.com



      7) Foreign private issuers that have furnished financial statements pursuant to Rule
      12g3-2(b) under the Exchange Act can provide those same financial statements as an
      alternative to U.S. GAAP. For information regarding U.S. GAAP, see
      http://cpaclass.com/gaap/gaap-us-01a.htm.
      The financial statements requested pursuant to this item shall be prepared in
      accordance with generally accepted accounting principles (GAAP)6 by persons with
      sufficient financial skills.
      Information contained in annual financial statements will not be considered current more
      than 90 days after the end of the issuer’s fiscal year immediately following the fiscal
      year for which such statement are provided, or with respect to quarterly financial
      statements, more than 45 days after the end of the quarter immediately following the
      quarter for which such statements are provided.

Item XIII Similar financial information for such part of the two preceding fiscal years as
      the issuer or its predecessor has been in existence.
        Please provide the financial statements described in Item XII above for the issuer’s
        two preceding fiscal years.
        Instruction to Item XIII: The issuer shall either (i) attach the financial statements
        required by this Item XIII to its initial disclosure statement or (ii) post such financial
        statements through the OTC Disclosure and News Service as a separate report under
        the name of “Annual Report” for the applicable fiscal year end. The issuer must state
        in its disclosure statement that such financial statements are incorporated by
        reference. The issuer must also (x) provide a list in the disclosure statement
        describing the financial statements that are incorporated by reference, (y) clearly
        explain where the incorporated documents can be found, and (z) provide a clear
        cross-reference to the specific location where the information requested by this Item
        can be found in the incorporated documents.

      Financial Information has been posted to PinkSheets.com


      Item XIV Beneficial Owners.
          Provide a list of the name, address and shareholdings of all persons beneficially
          owning more than five percent (5%) of any class of the issuer’s equity securities.
          To the extent not otherwise disclosed, if any of the above shareholders are
          corporate shareholders, provide the name and address of the person(s) owning or
          controlling such corporate shareholders and the resident agents of the corporate
          shareholders.

      Not Applicable




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      Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 16 of 24
       Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 60 of 256 PageID 295



Item XV The name, address, telephone number, and email address of each of the
      following outside providers that advise the issuer on matters relating to
      operations, business development and disclosure:
      1. Investment Banker

      CJ Comu – The Barclay Group
      14999 Preston Road,
      Dallas, TX 75254-9116
      (972) 386-3686

      2. Promoters

      Not Applicable

      3. Counsel
      Steve Block
      BLOCK & GARDEN, LLP
      Sterling Plaza
      5949 Sherry Lane, Suite 900
      Dallas, TX 75225
      P: 214-866-0990
      F: 214-866-0991


      4. Accountant or Auditor - the information shall clearly (i) describe if an outside
         accountant provides audit or review services, (ii) state the work done by the outside
         accountant and (iii) describe the responsibilities of the accountant and the
         responsibilities of management (i.e. who audits, prepares or reviews the issuer’s
         financial statements, etc.). The information shall include the accountant’s phone
         number and email address and a description of the accountant’s licensing and
         qualifications to perform such duties on behalf of the issuer.


      Fred V. Schiemann, CPA
      Biz2Biz.Com
      429 W. Plumb Lane
      Reno, NV 89509
      (o)775-324-2012 Ext. 11
      Accountant provided review services
      Accountant assisted in putting together annual report
      Management provided all information and assembled disclosure and report


      5. Public Relations Consultant(s)

      Not Applicable


      6. Investor Relations Consultant



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      Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 17 of 24
       Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 61 of 256 PageID 296




       Not Applicable


       7. Any other advisor(s) that assisted, advised, prepared or provided information with respect to
          this disclosure statement - the information shall include the telephone number and email
          address of each advisor.

       Not Applicable



Item XVI Management’s Discussion and Analysis or Plan of Operation.
       Instructions to Item XVI
       Issuers that have not had revenues from operations in each of the last two fiscal
       years, or the last fiscal year and any interim period in the current fiscal year for which
       financial statements are furnished in the disclosure statement, shall provide the
       information in paragraphs A and C of this item. All other issuers shall provide the
       information in paragraphs B and C of this item.
       The discussion and analysis shall focus specifically on material events and
       uncertainties known to management that would cause reported financial information
       not to be necessarily indicative of future operating results or of future financial
       condition.
       Issuers are not required to supply forward-looking information. This is distinguished
       from presently known data that will impact upon future operating results, such as
       known future increases in costs of labor or materials. This latter data may be required
       to be disclosed.
             A. Plan of Operation.
                    1. Describe the issuer’s plan of operation for the next twelve months. This
                    description should include such matters as:

       The company plans to distribute Zoyte automobiles in North America.

             i. a discussion of how long the issuer can satisfy its cash requirements and
       whether It will have to raise additional funds in the next twelve months;

       The company will immediately need to raise funds to execute its business plan. The continuation of the
       business is a going concern.

               ii. a summary of any product research and development that the issuer will
               perform for the term of the plan;

       Not Applicable

               iii. any expected purchase or sale of plant and significant equipment; and

       In accordance with business plan, the company intends to raise capital for 10 vehicles to be used for crash
       testing.




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Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 18 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 62 of 256 PageID 297




        iv. any expected significant changes in the number of employees.

May hire 5-10 employees

        B. Management’s Discussion and Analysis of Financial Condition and Results of
        Operations.
               1. Full fiscal years. Discuss the issuer's financial condition, changes in
               financial condition and results of operations for each of the last two fiscal
               years. This discussion should address the past and future financial
               condition and results of operation of the issuer, with particular emphasis
               on the prospects for the future. The discussion should also address those
               key variable and other qualitative and quantitative factors that are
               necessary to an understanding and evaluation of the issuer. If material,
               the issuer should disclose the following:
        i. Any known trends, events or uncertainties that have or are reasonably likely to
        have a material impact on the issuer's short-term or long-term liquidity;

The company is dependent on additional financing for operations. If there is a lack of financing
operations will not continue. The company is currently in default of an unsecured note from The
Barclay Group. The TBG can attempt to attain capital from the Company. The continuation of
the business is a going concern.


        ii. Internal and external sources of liquidity;

The company will make sales and sell dealership rights. The company is also seeking
growth capital to fund internal growth.

        iii. Any material commitments for capital expenditures and the expected sources
        of funds for such expenditures;

The company is expected to raise and spend Five Million Dollars in executing its business plan. This
calls for getting Department of Transportation and EPA approval for its cars. Also the marketing of the
vehicles to existing dealerships.

        iv. Any known trends, events or uncertainties that have had or that are reasonably
        expected to have a material impact on the net sales or revenues or income from
        continuing operations;

General economy will have impact on sales.

v. Any significant elements of income or loss that do not arise from the issuer's
continuing operations;

Non Applicable




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Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 19 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 63 of 256 PageID 298



vi. The causes for any material changes from period to period in one or more line items
of the issuer's financial statements; and

Not Applicable

vii. Any seasonal aspects that had a material effect on the financial condition or results
of operation.

Not Applicable

                 2. Interim Periods. Provide a comparable discussion that will enable the
                 reader to assess material changes in financial condition and results of
                 operations since the end of the last fiscal year and for the comparable
                 interim period in the preceding year.

The company has acquired assets and taken on debt for those assets. The company has also secured a
material agreement to be a distributor for Zoyte.



       C. Off-Balance Sheet Arrangements.
              1. In a separately-captioned section, discuss the issuer’s off-balance sheet
              arrangements that have or are reasonably likely to have a current or future
              effect on the issuer's financial condition, changes in financial condition,
              revenues or expenses, results of operations, liquidity, capital expenditures
              or capital resources that is material to investors. The disclosure shall
              include the items specified in paragraphs C(1)(i), (ii), (iii) and (iv) of this
              Item XVI to the extent necessary to an understanding of such
              arrangements and effect and shall also include such other information that
              the issuer believes is necessary for such an understanding.

Not Applicable


       i. The nature and business purpose to the issuer of such off-balance sheet
       arrangements;

Not Applicable

       ii. The importance to the issuer of such off-balance sheet arrangements in
       respect of its liquidity, capital resources, market risk support, credit risk support
       or other benefits;

Not Applicable

       iii. The amounts of revenues, expenses and cash flows of the issuer arising from
       such arrangements; the nature and amounts of any interests retained, securities
       issued and other indebtedness incurred by the issuer in connection with such



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Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 20 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 64 of 256 PageID 299



       arrangements; and the nature and amounts of any other obligations or liabilities
       (including contingent obligations or liabilities) of the issuer arising from such
       arrangements that are or are reasonably likely to become material and the
       triggering events or circumstances that could cause them to arise; and

Not Applicable

       iv. Any known event, demand, commitment, trend or uncertainty that will result in
       or is reasonably likely to result in the termination, or material reduction in
       availability to the issuer, of its off-balance sheet arrangements that provide
       material benefits to it, and the course of action that the issuer has taken or
       proposes to take in response to any such circumstances.

               2. As used in paragraph C of this Item XVI, the term off-balance sheet
               arrangement means any transaction, agreement or other contractual
               arrangement to which an entity unconsolidated with the issuer is a party,
               under which the issuer has:
       i. Any obligation under a guarantee contract that has any of the characteristics
       identified in paragraph 3 of FASB Interpretation No. 45, Guarantor's Accounting
       and Disclosure Requirements for Guarantees, Including Indirect Guarantees of
       Indebtedness of Others (November 2002) ("FIN 45"), as may be modified or
       supplemented, and that is not excluded from the initial recognition and
       measurement provisions of FIN 45 pursuant to paragraphs 6 or 7 of that
       Interpretation;
       ii. A retained or contingent interest in assets transferred to an unconsolidated
       entity or similar arrangement that serves as credit, liquidity or market risk support
       to such entity for such assets;
       iii. Any obligation, including a contingent obligation, under a contract that would
       be accounted for as a derivative instrument, except that it is both indexed to the
       issuer's own stock and classified in stockholders' equity in the issuer's statement
       of financial position, and therefore excluded from the scope of FASB Statement
       of Financial Accounting Standards No. 133, Accounting for Derivative
       Instruments and Hedging Activities (June 1998), pursuant to paragraph 11(a) of
       that Statement, as may be modified or supplemented; or
       iv. Any obligation, including a contingent obligation, arising out of a variable
       interest (as referenced in FASB Interpretation No. 46, Consolidation of Variable
       Interest Entities (January 2003), as may be modified or supplemented) in an
       unconsolidated entity that is held by, and material to, the issuer, where such
       entity provides financing, liquidity, market risk or credit risk support to, or
       engages in leasing, hedging or research and development services with, the
       issuer.

       Instructions to paragraph C of Item XVI
       i. No obligation to make disclosure under paragraph C of this Item XVI shall arise
       in respect of an off-balance sheet arrangement until a definitive agreement that is
       unconditionally binding or subject only to customary closing conditions exists or,
       if there is no such agreement, when settlement of the transaction occurs.



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Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 21 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 65 of 256 PageID 300



       ii. Issuers should aggregate off-balance sheet arrangements in groups or
       categories that provide material information in an efficient and understandable
       manner and should avoid repetition and disclosure of immaterial information.
       Effects that are common or similar with respect to a number of off-balance sheet
       arrangements must be analyzed in the aggregate to the extent the aggregation
       increases understanding. Distinctions in arrangements and their effects must be
       discussed to the extent the information is material, but the discussion should
       avoid repetition and disclosure of immaterial information.
       iii. For purposes of paragraph C of this Item XVI only, contingent liabilities arising
       out of litigation, arbitration or regulatory actions are not considered to be off-
       balance sheet arrangements.
iv. Generally, the disclosure required by paragraph C of this Item XVI shall cover the
most recent fiscal year. However, the discussion should address changes from the
previous year where such discussion is necessary to an understanding of the
disclosure.

       In satisfying the requirements of paragraph C of this Item XVI, the discussion of
       off-balance sheet arrangements need not repeat information provided in the
       footnotes to the financial statements, provided that such discussion clearly cross-
       references to specific information in the relevant footnotes and integrates the
       substance of the footnotes into such discussion in a manner designed to inform
       readers of the
       significance of the information that is not included within the body of such
       discussion.

Part E Issuance History
Item XVII List of securities offerings and shares issued for services in the past
two years.
  List below any events, in chronological order, that resulted in changes in total shares
  outstanding by the issuer (1) within the two-year period ending on the last day of the
  issuer’s most recent fiscal year and (2) since the last day of the issuer’s most recent
  fiscal year.
  The list shall include all offerings of securities, whether private or public, and shall
  indicate:

Not Applicable

       (i) The nature of each offering (e.g., Securities Act Rule 504, intrastate, etc.);
       (ii) Any jurisdictions where the offering was registered or qualified;
       (iii) The number of shares offered;
       (iv) The number of shares sold;
       (v) The price at which the shares were offered, and the amount actually paid to
       the issuer;
       (vi) The trading status of the shares; and




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Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 22 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 66 of 256 PageID 301



       (vii) Whether the certificates or other documents that evidence the shares contain
       a legend

Not Applicable

  (1) stating that the shares have not been registered under the Securities Act and (2)
setting forth or referring to the restrictions on transferability and sale of the shares under
the Securities Act.

 The list shall also include all shares or any other securities or options to acquire such
 securities issued for services in the past two fiscal years and any interim periods,
 describing (1) the securities, (2) the persons or entities to whom such securities were
 issued and (3) the services provided by such persons or entities.
 With respect to private offerings of securities, the list shall also indicate the identity of
 the persons who purchased securities in such private offering; provided, however, that
 in the event that any such person is an entity, the list shall also indicate (a) the identity
 of each natural person beneficially owning, directly or indirectly, more than five percent
 (5%) of any class of equity securities of such entity and (b) to the extent not otherwise
 disclosed, the identity of each natural person who controlled or directed, directly or
 indirectly, the purchase of such securities for such entity.

Not Applicable




Part F Exhibits
The following exhibits must be either described in or attached to the disclosure
statement:

Item XVIII Material Contracts.
      A. Every material contract, not made in the ordinary course of business, that will
      be performed after the disclosure statement is posted through the OTC
      Disclosure and News Service or was entered into not more than two years before
      such posting. Also include the following contracts:

                 1) Any contract to which directors, officers, promoters, voting trustees,
                 security holders named in the disclosure statement, or the Designated
                 Advisor for Disclosure are parties other than contracts involving only the
                 purchase or sale of current assets having a determinable market price, at
                 such market price;

Not Applicable

                 2) Any contract upon which the issuer’s business is substantially
                 dependent, including but not limited to contracts with principal customers,
                 principal suppliers, and franchise agreements;




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Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 23 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 67 of 256 PageID 302


Not Applicable

                 3) Any contract for the purchase or sale of any property, plant or
                 equipment for consideration exceeding 15 percent of such assets of the
                 issuer; or

Not Applicable

                 4) Any material lease under which a part of the property described in the
                 disclosure statement is held by the issuer.

Not Applicable

       B. Any management contract or any compensatory plan, contract or
       arrangement, including but not limited to plans relating to options, warrants or
       rights, pension, retirement or deferred compensation or bonus, incentive or profit
       sharing (or if not set forth in any formal document, a written description thereof)
       in which any director or any executive officer of the issuer participates shall be
       deemed material and shall be included; and any other management contract or
       any other compensatory plan, contract, or arrangement in which any other
       executive officer of the issuer participates shall be filed unless immaterial in
       amount or significance.

Not Applicable

       C. The following management contracts or compensatory plans need not be
       included:

       All material contracts have:

                 1) Ordinary purchase and sales agency agreements;

Not Applicable

                 2) Agreements with managers of stores in a chain organization or similar
                 organization;

Not Applicable

                 3) Contracts providing for labor or salesmen’s bonuses or payments to a
                 class of security holders, as such; and

Not Applicable

                 4) Any compensatory plan that is available to employees, officers or
                 directors generally and provides for the same method of allocation of
                 benefits between management and non-management participants




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Case 10-03269-sgj Doc 8-4 Filed 11/08/10 Entered 11/08/10 13:58:30 Page 24 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 68 of 256 PageID 303


Not Applicable

Item XIX Articles of Incorporation and Bylaws.
      A. A complete copy of the issuer’s articles of incorporation or in the event that the
      issuer is not a corporation, the issuer’s certificate of organization. Whenever
      amendments to the articles of incorporation or certificate of organization are filed, a
      complete copy of the articles of incorporation or certificate of organization as
      amended shall be filed.

         Articles of Incorporation and Amendment to Articles of Incorporation have been
         posted on pink sheets

         B. A complete copy of the issuer’s bylaws. Whenever amendments to the bylaws
         are filed, a complete copy of the bylaws as amended shall be filed.

Not Applicable


Item XX Purchases of Equity Securities by the Issuer and Affiliated Purchasers.
 A. In the following tabular format, provide the information specified in paragraph (B) of this Item XX
  with respect to any purchase made by or on behalf of the issuer or any "Affiliated Purchaser” (as
 defined in paragraph (C) of this Item XX) of shares or other units of any class of the issuer's equity
       securities. Version 9.7 Updated on 07/22/2009 Page 23 of 39 ISSUER PURCHASES OF EQUITY
                                                    SECURITIES
 Period                                  Column (a)      Column (b)       Column (c)         Column (d)
                                         Total Number of Average Price    Total Number of    Maximum
                                         Shares (or      Paid per Share   Shares (or         Number (or
                                         Units)          (or Unit)        Units)             Approximate
                                         Purchased                        Purchased as       Dollar Value) of
                                                                          Part of Publicly   Shares (or
                                                                          Announced          Units) that May
                                                                          Plans or           Yet Be
                                                                          Programs           Purchased
                                                                                             Under the Plans
                                                                                             or Programs
 Month #1
 (identify beginning and ending dates)
 Month #2
 (identify beginning and ending dates)
 Month #3
 (identify beginning and ending dates)
 Total




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Case 10-03269-sgj Doc 9 Filed 11/08/10 Entered 11/08/10 14:02:12 Page 1 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 69 of 256 PageID 304



                            UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                §
IN RE:                                          §       CHAPTER 7
                                                §
CENGIZ J. COMU a/k/a CJ COMU,                   §       CASE NO. 09-38820-sgj7
                                                §
                                                §
         Debtor.                                §


KING LOUIE MINING, LLC, KING                    §
LOUIE ENTERPRISES, LLC, AND                     §
RONALD KATZ,                                    §
                                                §
         Plaintiffs,                            §
                                                §
v.                                              §       ADVERSARY NO. 10-03269-sgj
                                                §
CENGIZ J. COMU a/k/a CJ COMU,                   §
                                                §
         Defendant.                             §

           PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION TO DISMISS
                            AND SUPPORTING BRIEF

TO THE HONORABLE STACEY G.C. JERNIGAN, UNITED STATES BANKRUPTCY JUDGE:

         King Louie Mining, LLC, King Louie Enterprises, LLC, and Ronald Katz, Plaintiffs, hereby

file this Response to Defendant’s Motion to Dismiss, and in support thereof would show as follows:

                               MOTION FOR LEAVE TO AMEND

         Although Plaintiffs vigorously dispute Defendant’s claims that their allegations are deficient,

Plaintiffs are simultaneously filing their Motion for Leave to Amend their Complaint by filing their

proposed First Amended Complaint, to which reference is made. Although Plaintiffs dispute that



PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
TO DISMISS AND SUPPORTING BRIEF–                                                                Page 1



                                                                                          000263
Case 10-03269-sgj Doc 9 Filed 11/08/10 Entered 11/08/10 14:02:12 Page 2 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 70 of 256 PageID 305



all the detail set forth therein is necessary to state a claim under 11 U.S.C. §727(d), rather than

allowing any argument whatsoever, Plaintiffs would prefer to add the detail set forth therein because

the same will in any event be detailed in discovery and disclosure responses.

                                     BACKGROUND FACTS

       Plaintiffs brought this action for relief under Section 727(d) of the United States Bankruptcy

Code, seeking an immediate revocation of the bankruptcy discharge. As set forth in Plaintiffs'

complaint, the Defendant achieved the discharge by fraudulently concealing and failing to disclose

assets and sources of income that he was required by law to disclose, and has obtained a discharge

by fraud upon the Court, the Trustee, and the Creditors herein.

       Defendant was the managing partner of Sunset Pacific, L.P.1 until he transferred his

controlling interest in said entity to his wife for no consideration, and began utilizing his wife as a

front for continuation of his management of assets which he indirectly owns and controls, in an effort

to hide the same from his creditors. This no-consideration transfer of the controlling interest by

Defendant in Sunset Pacific, L.P. was fraudulent. Amended Complaint at 6-7.

       Sunset Pacific was the entity into which Comu paid the $500,000 kickback that he received

from the transaction in 2004, while he was CEO of a public company, Humitech International Group,

Inc. (“Humitech International”), as a part of a $2 million purchase of worthless mining claims.

Amended Complaint at 4-5. Sunset Pacific holds interests in various entities, including, but not

limited to, The Barclay Group, Inc. Defendant is the current CEO of The Barclay Group and The



       1
         See “Confidential Memorandum”, attached as Exhibit “B”, to Plaintiffs’ Proposed First
Amended Complaint (hereafter “Amended Complaint”), sent from CJ Comu as the Managing
Director of Sunset Pacific, L.P.”.

PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
TO DISMISS AND SUPPORTING BRIEF–                                                               Page 2



                                                                                         000264
Case 10-03269-sgj Doc 9 Filed 11/08/10 Entered 11/08/10 14:02:12 Page 3 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 71 of 256 PageID 306



Barclay Group has substantial assets, having recently loaned ninety-thousand dollars to a third-party.2

        A limited ownership interest in Sunset Pacific, and indirectly owned interest in the Barclay

Group, was disclosed in Comu’s Schedules. At the First Meeting of Creditors herein, Defendant

testified that he had fully disclosed his assets and liabilities on the Schedules he filed with the Court.

He further claimed that his interest in certain corporations, partnerships, and other entities was

correctly disclosed in these Schedules.

        Subsequent investigation, however, following the First Meeting and the automatic entry of

discharge, has disclosed the following. Plaintiffs have subsequently discovered numerous fraudulent

transfers, hidden assets and employment positions of Comu which existed prior to the Order of

Discharge herein, which were required to be disclosed, and which were not disclosed. Such assets

and fraudulent transfers were material and materially impacted the true net worth of the Defendant.

As such, Defendant fraudulently concealed eligible bankruptcy assets in violation of the Bankruptcy

Code. As the Plaintiffs are Bankruptcy Creditors, Plaintiffs have been harmed by this fraud.

                                            ARGUMENT

                                                   I.

                             THE COMPLAINT STATES A CLAIM
                              FOR RELIEF UNDER RULE 12(b)(6)

        Motions to dismiss for failure to state a claim under Rule 12(b)(6)3 are viewed with disfavor



        2
          See “Offering Disclosure Sheet” attached as Exhibit “C”, to Amended Complaint, which
identifies The Barclay Group, represented by CJ Comu, as the “Investment Banker” for a stock
offering. Further, this offering sheet states that The Barclay Group recently loaned Green
Automotive Company, Inc. ninety-thousand dollars.
        3
            USCS Fed. Rules Civ. Proc. R. 12(b)(6).

PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
TO DISMISS AND SUPPORTING BRIEF–                                                                  Page 3



                                                                                            000265
Case 10-03269-sgj Doc 9 Filed 11/08/10 Entered 11/08/10 14:02:12 Page 4 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 72 of 256 PageID 307



and are rarely granted.4 Accordingly, the Court must take all factual allegations in the Plaintiff’s

pleading as true.5 In evaluating a motion to dismiss for failure to state a claim, “all questions of fact

and any ambiguities in the current controlling substantive law must be resolved in the plaintiff's

favor."6

        “Given the Federal Rules' simplified standard for pleading, [a] court may dismiss a complaint

only if it is clear that no relief could be granted under any set of facts that could be proved consistent

with the allegations."7 And unless it appears "beyond a doubt that the plaintiff can prove no set of

facts in support of his claim which would entitle him to relief," the complaint should not be

dismissed for failure to state a claim .8

        Defendant’s Motion to Dismiss contends that Plaintiff’s Complaint failed to state a claim for

relief. In support of this contention, Defendants assert that the Plaintiffs’ claims are based on vague

and conclusory allegations and that, Plaintiffs have not alleged a single fact that Defendant engaged

in fraud in obtaining his bankruptcy discharge.

        On the contrary, Plaintiffs have alleged the following facts:

                  •      Defendant transferred substantial assets, including a
                         controlling interest in Sunset Pacific, L.P., to his wife for little


        4
         Southern Christian Leadership Conference v. Supreme Court, 252 F.3d 781, 786 (5th
Cir. 2001).
        5
           Lewis v. Fresne, 252 F.3d 352, 357 (5th Cir. 2001); accord McKinney v. Irving Indep.
Sch. Dist., 309 F.3d 308, 310 (5th Cir. 2002).
        6
            Id.
        7
            Swierkiewicz v. Sorema N.A., 534 U.S. 506, 514 (2002) (quotation omitted)
        8
            Conley v. Gibson, 355 U.S. 41, 45-46 (1957).

PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
TO DISMISS AND SUPPORTING BRIEF–                                                                  Page 4



                                                                                                000266
Case 10-03269-sgj Doc 9 Filed 11/08/10 Entered 11/08/10 14:02:12 Page 5 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 73 of 256 PageID 308



                            or no consideration.9

                  •         Defendant executed such transfers in order to shield the assets
                            from judgments or bankruptcy proceedings.10

                  •         Defendant’s wife is a front for Sunset Pacific, L.P. and
                            Defendant remains in control of the company.11

                  •         Sunset Pacific, L.P. was the benefactor of at least five-
                            hundred thousand dollars ($500,000) in fraudulently obtained
                            funds.12

                  •         Defendant failed to disclose his interests in Sunset Pacific,
                            L.P. to the Bankruptcy Creditors.13

                  •         Sunset Pacific, L.P. presently controls substantial assets,
                            including an ownership interest in The Barclay Group, Inc.14

                  •         Defendant controls The Barclay Group, Inc.15

                  •         The Barclay Group, Inc. has substantial assets.16

       As Defendant’s transfer of his control in Sunset Pacific, L.P. to his wife was for no




       9
        See Plaintiffs’ “Complaint to Revoke Discharge Pursuant to Section 727(d) of the
United States Bankruptcy Code”, page 5.
       10
            Id.
       11
            Id.
       12
            Id.
       13
            Id. at 5 - 7.
       14
            Id. at 6.
       15
            Id.
       16
            Id.

PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
TO DISMISS AND SUPPORTING BRIEF–                                                                Page 5



                                                                                              000267
Case 10-03269-sgj Doc 9 Filed 11/08/10 Entered 11/08/10 14:02:12 Page 6 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 74 of 256 PageID 309



consideration, it was fraudulent.17 At the time of the transfer, Comu was fully aware of not only the

claims of Plaintiffs that as CEO he had taken an illegal kickback (see Amended Complaint at 4-5

and Exhibit “A” thereto), but he was also a defendant in a lawsuit alleging fraud filed by a former

investor in an earlier public company of which he had served as CEO. 18 As the transfer of Comu’s

controlling interest in Sunset Pacific for no consideration and as a sham was fraudulent and subject

to revocation, Defendant had a duty to disclose such transaction, and all assets of Sunset Pacific, to

the Bankruptcy Creditors. By failing to disclose his interests in these assets, Defendant fraudulently

obtained a discharge from this Court. As Creditors herein, Plaintiffs were direct victims of the fraud.

       Plaintiffs have discovered that Comu failed to disclose all of the assets he indirectly owned

through Sunset Pacific and The Barclay Group, including but not limited to the following:

               <       Consulting services and disguised ownership interest in Partners National
                       Real Estate, LLC, and subsidiaries;

               <       Ownership rights for Artfest International, Inc., and/or Artfest Overseas;

               <       Consulting services and other interests in Art Channel, Inc.;

               <       Valuable sports memorabilia actually owned by Sun Sports Entertainment,


       17
         11 U.S.C. §544(b)(1) and the Texas Uniform Fraudulent Transfer Act (“TUFTA”),
§24.005(a)(1), TEX . BUS. AND COMM . CODE; see, Faulkner v. Kornman, 413 B. R. 438, 468
(Bankr. N. D. Tex. 2009).
       18
          In New Millennium Capital Partners II, LLC and AJW Partners LLC v. Humitech
International Group Inc., and CJ Comu, Case No: 3:06-CV-1180-L, formerly pending in the
United States District Court for the Northern District of Texas, Dallas Division, Comu was
accused of fraudulent transfers and diversion of corporate opportunities from the company of
which he was CEO, Airtech International Group, Inc., to form Humitech International Group,
Inc. This case, the third making substantially identical allegations, was the refiling of claims
made years earlier, but dismissed by agreement tolling the statute of limitations. Such allegations
had been pending, therefore, against Comu since approximately May, 2003. Amended
Complaint at 4.

PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
TO DISMISS AND SUPPORTING BRIEF–                                                               Page 6



                                                                                         000268
Case 10-03269-sgj Doc 9 Filed 11/08/10 Entered 11/08/10 14:02:12 Page 7 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 75 of 256 PageID 310



                       Inc., a public company of which Comu was CEO, which mysteriously
                       disappeared when Sun Sports ceased doing business, and which are believed
                       to have been concealed from creditors by Comu;

               <       On information and belief, Comu has a practice of receiving restricted stock
                       in companies for whom he consults through The Barclay Group, and washes
                       such stock through affiliated relationships in the French Riviera, selling the
                       same, and concealing the illegal proceeds overseas;

               <       While in bankruptcy, Comu, through The Barclay Group, loaned $90,000 to
                       Green Automotive Company, Inc., and, on information and belief, obtained
                       certain stock or stock options as part of the consideration (see, Exhibit “C”
                       attached hereto);

               <       Consulting services and other involvement with Eller Industries, Inc.;

               <       Dealings with Mars Orbit Fund, Ltd.;

               <       Dealings with Capital Management Group, Inc.;

               <       Dealings with I.R.A. Oil & Gas, Inc.,;

               <       Dealings with JL Media Services LLC;

               <       Dealings with Temeku Financial;

               <       Dealings with various entities, referred to as “ARTI, AL, USR, VOIP, SR,
                       MetiScan, Med Tech, Cool It, Donson, Houston, and Nano,” none of which
                       were listed; and

               <       Dealings with Ultimate Sports Resort, and receipt of $100,000 payment
                       relating thereto.

Amended Complaint at 7-8.

       Plaintiffs have stated a claim upon which relief may be granted and the Court must deny this

motion to dismiss for failure to state a claim under Rule 12(b)(6).




PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
TO DISMISS AND SUPPORTING BRIEF–                                                             Page 7



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Case 10-03269-sgj Doc 9 Filed 11/08/10 Entered 11/08/10 14:02:12 Page 8 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 76 of 256 PageID 311



                                                   II.

                           THE COMPLAINT SATISFIES RULE 9(b)

       Plaintiff s have pleaded with particularity in their original Complaint, and have included

actual details of the fraudulent conduct; therefore the Court must deny this motion to dismiss under

Rule 9(b)19. “Put simply, Rule 9(b) requires ‘the who, what, when, where, and how’ to be laid out.”20

Plaintiffs have alleged that Defendant CJ Comu (who) knowingly or recklessly misrepresented his

assets to this Court in order to obtain a discharge (what) during this bankruptcy proceeding (when

and where) by not including various assets, including his true extent of interests in Sunset Pacific,

L.P. and The Barclay Group, Inc., and all assets indirectly owned and controlled through those

entities (how).

       In reliance upon Defendant’s representations, this Court granted Defendant a bankruptcy

discharge. As Creditors in the Bankrupty proceedings, Plaintiffs suffered direct injury when the

discharge was granted. As under Rule 12(b)(6), in a Rule 9(b) motion to dismiss, “the court must

accept the factual allegations set forth in the complaint as true and must draw all reasonable

inferences in favor of the plaintiff.”21 Accordingly, Plaintiffs have satisfied every requirement of

Rule 9(b).


       19
             USCS Fed. Rules Civ. Proc. R. 9(b).
       20
           Benchmark Elecs. v. J.M. Huber Corp., 343 F.3d 719, 724 (5th Cir. Tex. 2003) (citing
Williams v. WMX Techs., Inc., 112 F.3d 175, 177 (5th Cir. 1997)); see also Herrmann Holdings,
Ltd. v. Lucent Techs., Inc., 302 F.3d 552, 564-65 (5th Cir. 2002) (holding that 9(b) requires "a
plaintiff pleading fraud to specify the statements contended to be fraudulent, identify the speaker,
state when and where the statements were made, and explain why the statements were
fraudulent.”)
       21
            See Baker v. Putnal, 75 F.3d 190, 196 (5th Cir. 1996).

PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
TO DISMISS AND SUPPORTING BRIEF–                                                             Page 8



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Case 10-03269-sgj Doc 9 Filed 11/08/10 Entered 11/08/10 14:02:12 Page 9 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 77 of 256 PageID 312



                                                III.

    ALTERNATIVELY, PLAINTIFFS SHOULD BE GRANTED LEAVE TO AMEND

       In the event that the Court agrees with any of Defendant’s arguments that greater specificity

is required than presently in the Original Complaint, Plaintiffs alternatively request that they be

granted leave to amend by filing their First Amended Complaint, which adds much greater detail

concerning assets not fully disclosed.

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that, Defendant Debtor’s Motion

to Dismiss be denied, and that Plaintiffs recover their reasonable attorney’s fees incurred defending

the Motion, and for general relief.

                                               Respectfully submitted,

                                               LAW OFFICES OF LIPPE & ASSOCIATES



                                         By:    /s/ Emil Lippe, Jr.
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                                               ATTORNEYS FOR PLAINTIFFS KING LOUIE
                                               MINING, LLC, KING LOUIE ENTERPRISES, LLC,
                                               AND RONALD KATZ




PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
TO DISMISS AND SUPPORTING BRIEF–                                                             Page 9



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Case 10-03269-sgj Doc 9 Filed 11/08/10 Entered 11/08/10 14:02:12 Page 10 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 78 of 256 PageID 313




                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 8th day of November, 2010, I electronically

submitted the foregoing document with the Clerk of the Court for the U.S. Bankruptcy Court,

Northern District of Texas, using the electronic case filing system of the Court, which will then send

a notification of such filing to the following:

       Dennis Olson
       Olson, Nicoud & Gueck, L.L.P.
       1201 Main St., Ste 2470
       Dallas, TX 75202


                                                   /s/ Emil Lippe, Jr.
                                                  Emil Lippe, Jr.




PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
TO DISMISS AND SUPPORTING BRIEF–                                                             Page 10



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     Case 10-03269-sgj Doc 10 Filed 01/10/11 Entered 01/10/11 09:34:37 Page    1 of 2
                                                                          U.S. BANKRUPTCY  COURT
     Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 79 of 256 PageID
                                                                        NORTHERN314DISTRICT OF TEXAS

                                                                                           ENTERED
                                                                                          TAWANA C. MARSHALL, CLERK
                                                                                             THE DATE OF ENTRY IS
                                                                                            ON THE COURT'S DOCKET




The following constitutes the ruling of the court and has the force and effect therein described.



                                                                  United States Bankruptcy Judge
Signed January 07, 2011
                              UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                 §
    IN RE:                                       §       CHAPTER 7
                                                 §
    CENGIZ J. COMU a/k/a CJ COMU,                §       CASE NO. 09-38820-sgj7
                                                 §
                                                 §
             Debtor.                             §


    KING LOUIE MINING, LLC, KING                 §
    LOUIE ENTERPRISES, LLC, AND                  §
    RONALD KATZ,                                 §
                                                 §
             Plaintiffs,                         §
                                                 §
    v.                                           §       ADVERSARY NO. 10-03269-sgj
                                                 §
    CENGIZ J. COMU a/k/a CJ COMU,                §
                                                 §
             Defendant.                          §

                   ORDER ON MOTION TO DISMISS AND MOTION TO AMEND

             On the 9th day of November, 2010, came on for hearing Defendant CJ Comu’s Motion to

    Dismiss Complaint, pursuant to Fed. Rules Civil Procedure 12(b)(6). After hearing the arguments

    of counsel, and upon consideration of the matters on file herein, and upon other due consideration,



    ORDER ON MOTION TO DISMISS AND MOTION TO AMEND - PAGE 1



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Case 10-03269-sgj Doc 10 Filed 01/10/11 Entered 01/10/11 09:34:37 Page 2 of 2
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 80 of 256 PageID 315



the Court is of the opinion that the following Order should be entered.

       IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Plaintiff is given leave

to amend, and the proposed First Amended Complaint in the form previously tendered shall be

received by the Clerk and deemed filed as of the date of entry of this Order. Defendant shall answer

or otherwise respond to Plaintiffs’ First Amended Complaint within ten (10) days after the filing of

the Amended Complaint.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Motion to Dismiss

is DENIED as moot.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the case is removed from

the docket of this Court for the week of January 11, 2011. Counsel for the parties are ORDERED

to confer and submit a proposed amended scheduling order for the trial of this case, to be submitted

within ten (10) days from the date of this Order.

       IT IS SO ORDERED.

                                    ###END OF ORDER###




ORDER ON MOTION TO DISMISS AND MOTION TO AMEND - PAGE 2



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  Case 10-03269-sgj Doc 12 Filed 01/20/11        Entered 01/20/11 11:10:36       Page 1 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14                Page 81 of 256 PageID 316




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  ATTORNEYS FOR CJ COMU

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

  IN RE:                                     §
                                             §
  CENGIZ J. COMU a/k/a                       §            CASE NO. 09-38820-sgj-7
  CJ COMU,                                   §
        Debtor.                              §            CHAPTER 7
  _________________________________          §
                                             §
  KING LOUIE MINING, LLC,                    §
  KING LOUIE ENTERPRISES, LLC,               §
  and RONALD KATZ,                           §
        Plaintiffs,                          §
                                             §
  v.                                         §            Adversary Case no. 10-03269-sgj
                                             §
  CENGIZ J. COMU a/k/a                       §
  CJ COMU                                    §
       Defendant.                            §

              DEFENDANT CJ COMU S SECOND MOTION TO DISMISS
           COMPLAINT, PURSUANT TO FED. RULES CIV. PROC. RULE 12(b)(6)

           NOW COMES Defendant CJ Comu, and in response to the Plaintiffs’ First Amended

  Complaint to Revoke Discharge Pursuant to Section 727 (d) of the United States Bankruptcy

  Code (“Complaint”), files this his Second Motion to Dismiss the Complaint, Pursuant to Fed.

  Rules Civ. Proc. Rule 12(b)(6) (“Motion”) and in support thereof would respectfully show the


  DEFENDANT CJ COMU S SECOND MOTION TO DISMISS
  COMPLAINT, PURSUANT TO FED. RULES CIV. PROC. RULE 12(b)(6)                           Page - 1




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  Case 10-03269-sgj Doc 12 Filed 01/20/11                Entered 01/20/11 11:10:36        Page 2 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14                       Page 82 of 256 PageID 317




  Court as follows:

         1.      The Plaintiffs’ allegations are fairly succinctly set forth in Plaintiff s’ Complaint.

         2.      Basically, the Complaint seeks to revoke the discharge of this individual Debtor

  because his discharge was obtained by fraud.

         3.      Assuming, arguendo, that Plaintiff can introduce evidence to support the

  allegations in the Complaint, Defendant files this Motion pursuant to Fed. Rules Civ. Proc. Rule

  12(b)(6), to dismiss the Complaint for failure to state a claim upon which relief can be granted.

  Defendant reurges his Brief (Docket Entry #6) and incorporates it by reference in support of this

  Motion.

         4.      The Plaintiffs’ allegations do not establish that the Debtor’s discharge was

  obtained by fraud in fact, nor do the allegations establish that the fraud in fact was not discovered

  by Plaintiffs until after the discharge was entered.

         5.      Plaintiffs have not pled with sufficient specificity, as required to do, in order to

  state a cause of action against the individual Debtor for fraud in obtaining a discharge under

  Section 727 (d) of the Bankruptcy Code.

         6.      Indeed, Plaintiff cannot show any act by the individual Debtor that would

  constitute such fraud.

         7.      All that has happened in this case is that the Plaintiffs rehash allegations that are

  years old, allegations that Plaintiffs have heard about and raised for years.

         8.      Plaintiffs had actual notice of this bankruptcy, and their attorney of record for

  them did in fact attend the meeting of creditors in this case and reviewed additional documents


  DEFENDANT CJ COMU S SECOND MOTION TO DISMISS
  COMPLAINT, PURSUANT TO FED. RULES CIV. PROC. RULE 12(b)(6)                                     Page - 2




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  Case 10-03269-sgj Doc 12 Filed 01/20/11               Entered 01/20/11 11:10:36         Page 3 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14                        Page 83 of 256 PageID 318




  produced by the Debtor to the Trustee after the meeting of creditors.

         9.      Neither the Trustee nor the Plaintiffs requested any additional documents, nor did

  they request a Rule 2004 examination, nor did they file an exception or objection to discharge.

         10.     Plaintiffs’ Complaint does not establish, with the requisite specificity, what it is, if

  anything, that has been discovered since entry of the discharge that constitutes fraud in fact in

  obtaining the Debtor’s discharge.

         WHEREFORE, PREMISES CONSIDERED, Defendant CJ Comu prays that the Court,

  after notice and hearing, will dismiss the Complaint by Plaintiffs, deny all relief sought by the

  Plaintiffs, grant the Defendant his costs incurred, and grant Defendant CJ Comu such other and

  further relief as to which he may be justly entitled, either at law or in equity.

                                                 Respectfully submitted,

                                                 OLSON NICOUD & GUECK, L.L.P.
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                                                 By: /s/ Dennis Olson
                                                        Dennis Olson
                                                        State Bar No. 15273500

                                                 ATTORNEYS FOR CJ COMU




  DEFENDANT CJ COMU S SECOND MOTION TO DISMISS
  COMPLAINT, PURSUANT TO FED. RULES CIV. PROC. RULE 12(b)(6)                                     Page - 3




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  Case 10-03269-sgj Doc 12 Filed 01/20/11            Entered 01/20/11 11:10:36   Page 4 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14                    Page 84 of 256 PageID 319




                                  CERTIFICATE OF SERVICE

         The undersigned certifies that a true and correct copy of the foregoing Defendant CJ
  Comu s Second Motion to Dismiss Complaint, Pursuant to Fed. Rules Civ. Proc. Rule 12(b)(6)
  was served upon:

  Emil Lippe, Jr.
  Plaza of the Americas, South Tower
  600 N. Pearl Street, Suite S 2460
  Dallas, Texas 75201

  via electronic means and by cm,rrr, on the 20th day of January, 2011.


                                                       /s/ Dennis Olson
                                                      Dennis Olson




  DEFENDANT CJ COMU S SECOND MOTION TO DISMISS
  COMPLAINT, PURSUANT TO FED. RULES CIV. PROC. RULE 12(b)(6)                          Page - 4




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Case 10-03269-sgj Doc 16 Filed 02/11/11 Entered 02/11/11 15:00:41 Page 1 of 8
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 85 of 256 PageID 320



                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                              §
IN RE:                                        §      CHAPTER 7
                                              §
CENGIZ J. COMU a/k/a CJ COMU,                 §      CASE NO. 09-38820-sgj7
                                              §
                                              §
         Debtor.                              §


KING LOUIE MINING, LLC, KING                  §
LOUIE ENTERPRISES, LLC, AND                   §
RONALD KATZ,                                  §
                                              §
         Plaintiffs,                          §
                                              §
v.                                            §      ADVERSARY NO. 10-03269-sgj
                                              §
CENGIZ J. COMU a/k/a CJ COMU,                 §
                                              §
         Defendant.                           §

                     PLAINTIFFS’ RESPONSE TO DEFENDANT’S
                 SECOND MOTION TO DISMISS AND SUPPORTING BRIEF

TO THE HONORABLE STACEY G.C. JERNIGAN, UNITED STATES BANKRUPTCY JUDGE:

         King Louie Mining, LLC, King Louie Enterprises, LLC, and Ronald Katz, Plaintiffs, hereby

file this Response to Defendant’s Motion to Dismiss, and in support thereof would show as follows:

                                BRIEF BACKGROUND FACTS

         1.      Plaintiffs have alleged that Defendant CJ Comu has concealed the existence of, or

misrepresented the value and extent of, assets which he owns and controls, primarily through a

complex corporate structure involving Sunset Pacific, L.P. , and a company that he controls through

his control of Sunset Pacific, known as The Barclay Group, Inc. (“The Barclay Group”), either

PLAINTIFFS’ RESPONSE TO DEFENDANT’S
SECOND M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 1




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Case 10-03269-sgj Doc 16 Filed 02/11/11 Entered 02/11/11 15:00:41 Page 2 of 8
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 86 of 256 PageID 321



failing to disclose or purposely undervaluing, numerous business interests, valuable stock, and other

assets.1 Although other people, including Comu’s wife, are listed as having controlling interests in

Sunset Pacific and The Barclay Group, such entities are mere alter egos of Defendant Comu that

exist for his personal use and benefit.

        2.       A limited ownership interest in Sunset Pacific, and an indirectly owned interest in the

Barclay Group, was disclosed in Comu’s Schedules. At the First Meeting of Creditors herein,

Defendant testified that he had fully disclosed his assets and liabilities on the Schedules he filed with

the Court. He further claimed that his interest in certain corporations, partnerships, and other entities

was correctly disclosed in these Schedules.

        3.       Investigation by the Plaintiffs after the discharge was granted revealed that Defendant

Comu’s true interests in Sunset Pacific and The Barclay Group, Inc. were grossly misrepresented to

the Creditors herein. Plaintiffs have determined that in fact Comu is exercising complete control and

dominance of such companies and their assets, that Comu has been receiving an ongoing influx of

new opportunities and business through such entities, and even somehow loaned $50,000 to a

company in which he indirectly had an interest at the same time that he was allegedly bankrupt.

Accordingly, Plaintiffs have alleged that the discharge was obtained by the fraud under Section

727(d) of the United States Bankruptcy Code.

        4.       Defendant Comu now seeks to dismiss Plaintiffs’ First Amended Complaint under

Rule 12(b)(6) of the Federal Rules of Civil Procedure, having filed his second motion to dismiss in




        1
            See PLAINTIFFS’ FIRST AMENDED COMPLAINT , Filed November 8, 2010, Docket No. 8.

PLAINTIFFS’ RESPONSE TO DEFENDANT’S
SECOND M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 2




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 Case 10-03269-sgj Doc 16 Filed 02/11/11 Entered 02/11/11 15:00:41 Page 3 of 8
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 87 of 256 PageID 322



an attempt to continue forestalling the need to answer Plaintiffs’ allegations on the merits.2



                                            ARGUMENT

                                                   I.

                              THE COMPLAINT STATES A CLAIM
                               FOR RELIEF UNDER RULE 12(b)(6)

        5.        Motions to dismiss for failure to state a claim under Rule 12(b)(6) are viewed with

disfavor and are rarely granted.3 Accordingly, the Court must take all factual allegations in the

Plaintiff’s pleading as true.4 In evaluating a motion to dismiss for failure to state a claim, “all

questions of fact and any ambiguities in the current controlling substantive law must be resolved in

the plaintiff's favor."5

        6.        "To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’"6 And unless it appears

"beyond a doubt that the plaintiff can prove no set of facts in support of his claim which would




        2
            USCS FED . RULES CIV . PROC. R. 12(b)(6).
        3
         Southern Christian Leadership Conference v. Supreme Court, 252 F.3d 781, 786 (5th
Cir. 2001).
        4
           Lormand v. US Unwired, Inc., 565 F.3d 228, 232 (5th Cir. 2009); Lewis v. Fresne, 252
F.3d 352, 357 (5th Cir. 2001); accord McKinney v. Irving Indep. Sch. Dist., 309 F.3d 308, 310
(5th Cir. 2002).
        5
            Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009).
        6
            Iqbal, 129 S. Ct. at 1949 (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570
(2007)).

PLAINTIFFS’ RESPONSE TO DEFENDANT’S
SECOND M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 3




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Case 10-03269-sgj Doc 16 Filed 02/11/11 Entered 02/11/11 15:00:41 Page 4 of 8
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 88 of 256 PageID 323



entitle him to relief," the complaint should not be dismissed for failure to state a claim .7 While

much has been said about the recent decisions of the Supreme Court which supposedly have

tightened the pleading requirements, it is still clear that specific allegation of all facts is not

necessary. As the Supreme Court explained in Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007),

allegations simply need to set forth a plausible basis for relief, not mere formulaic recitations:

                While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need
                detailed factual allegations, ibid., a plaintiff's obligation to provide the "grounds" of
                his "entitle[ment] to relief" requires more than labels and conclusions, and a
                formulaic recitation of a cause of action's elements will not do. Factual allegations
                must be enough to raise a right to relief above the speculative level on the assumption
                that all of the complaint's allegations are true. Applying these general standards to
                a § 1 claim, stating a claim requires a complaint with enough factual matter to
                suggest an agreement. Asking for plausible grounds does not impose a probability
                requirement at the pleading stage; it simply calls for enough fact to raise a reasonable
                expectation that discovery will reveal evidence of illegal agreement.

Id. In applying these standards to Plaintiffs’ Amended Complaint, it is clear that the Complaint

adequately alleges specific facts, and sets forth a plausible basis for recovery.

       7.       Defendant’s Second Motion to Dismiss contends that Plaintiffs’ Complaint failed to

state a claim for upon which relief can be granted. In doing so, Defendant points to no specific defect

in the Plaintiffs’ complaint. Ironically, it is the Second Motion to Dismiss which violates the

proscription of Bell Atlantic Corp. v. Twombly, by resorting to conclusory allegations, labels and

conclusions, and a formulaic recital of boilerplate assertions.

       8.       Plaintiffs have alleged that Defendant Comu obtained a bankruptcy discharge by

failing to disclose his true interests in a variety of businesses and assets, primarily his alter egos

Sunset Pacific, L.P. and The Barclay Group, Inc. Plaintiffs have asserted a number of facts upon


       7
           Conley v. Gibson, 355 U.S. 41, 45-46 (1957).

PLAINTIFFS’ RESPONSE TO DEFENDANT’S
SECOND M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 4




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Case 10-03269-sgj Doc 16 Filed 02/11/11 Entered 02/11/11 15:00:41 Page 5 of 8
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 89 of 256 PageID 324



which said allegation is based.8 Plaintiffs have further asserted that the discovery of this alleged

fraud did not occur until after the discharge was granted.9 Because, for purposes of Rule 12(b)(6),

the Court must accept all of Plaintiffs’ factual allegations as true, Plaintiffs have absolutely stated

a claim upon which relief may be granted and Defendant’s motion must be denied.

                                                  II.

   PLAINTIFFS’ COMPLAINT DOES NOT LACK THE REQUIRED SPECIFICITY
   UNDER SECTION 727(d) AND EVEN IF IT DID, SUCH A DEFECT WOULD NOT
      MAKE THE COMPLAINT SUBJECT TO A RULE 12(b)(6) DISMISSAL

       9.        Additionally, Defendant argues that Plaintiffs’ Complaint lacks the specificity

required under Section 727(d) of the United States Bankruptcy Code. Though Defendant did not

reference Rule 9(b) of the Federal Rules of Civil Procedure in his motion, the “who, what, when,

where and why” standard for specificity and/or particularity used for Rule 9(b) is similarly used for

727(d).10 Plaintiffs have alleged that through fraudulent transfers, Defendant CJ Comu has hidden

and misrepresented the true nature of his holdings in multiple business entities, which he operates

as alter egos, and numerous other assets in order to obtain a bankruptcy discharge from this court.

Such allegations satisfy the “who, what, when, where and why” pleading standard for Section 727(d).

       10.       Further, so long as the circumstances constituting the fraud have been sufficiently set

forth, it is not necessary for the Plaintiffs to plead each fraudulent detail.11 Again, the overarching

requirement is that the “plausibility” standard of Bell Atlantic Corp. v. Twombly must be met.

       8
           See PLAINTIFFS’ FIRST AMENDED COMPLAINT , Filed November 8, 2010, Docket No. 8.
       9
           Id.
       10
            Rezin v. Barr (In re Barr), 207 B.R. 168, 173 (Bankr. N.D. Ill. 1997).
       11
            See e.g., Sutliff, Inc. v. Donovan Companies, Inc., 727 F.2d 648, 653 (7th Cir. 1984).

PLAINTIFFS’ RESPONSE TO DEFENDANT’S
SECOND M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 5




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Case 10-03269-sgj Doc 16 Filed 02/11/11 Entered 02/11/11 15:00:41 Page 6 of 8
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 90 of 256 PageID 325



Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009). In fact, because Plaintiff did not discover this fraud

until after the discharge, Plaintiffs did not have the ability to request additional documents or

conduct any discovery into the matter. Plaintiffs cannot plead the full extent of Defendant’s fraud

until they obtain discovery.12

       11.       As noted, Plaintiffs are confident that the present pleadings contain the required

specificity or particularity required under Section 727(d), but even if the pleadings did not, such a

defect would not support a Rule 12(b)(6) motion to dismiss:

       “ While the Amended Complaint-paragraphs 28 and 30 in particular-lack the required
       specificity, the Court cannot conclude that MEI has failed to state a claim under §
       727(d)(1) upon which relief can be granted. MEI has alleged fraudulent pre- and
       post-petition conduct which was not discovered until after entry of the discharge.
       These allegations are sufficient for Rule 12(b)(6) purposes, and the Court cannot
       conclude at this point in the proceeding that MEI is incapable of proving a set of facts
       upon which the discharge must be revoked.” 13

At this point in the proceedings, Plaintiffs are not required to plead the 727(d) claims with

particularity or specificity.14 Plaintiffs must merely satisfy Rule 12(b)(6) and state a claim upon

which relief may be granted. Even so, as discussed previously, Plaintiffs have pleaded with the

required 727(d) specificity and, more importantly, Plaintiffs allegations assuredly satisfy Rule

12(b)(6).




       12
           See Katz v. Household Inter., Inc., 91 F.3d 1036, 1040 (7th Cir. 1996)(holding that a
Plaintiff is not required to plead to fraudulent facts that they have yet to discover prior to
discovery).
       13
          Motor Enters., Inc. v. Gonzalez (In re Gonzalez), 2003 Bankr. LEXIS 2166 (Bankr.
S.D. Ind. Oct. 20, 2003)(internal citations removed).
       14
            See id.

PLAINTIFFS’ RESPONSE TO DEFENDANT’S
SECOND M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 6




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Case 10-03269-sgj Doc 16 Filed 02/11/11 Entered 02/11/11 15:00:41 Page 7 of 8
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 91 of 256 PageID 326



       WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that, Defendant Debtor’s Second

Motion to Dismiss be denied, and that Plaintiffs recover their reasonable attorney’s fees incurred

defending the Motion, and for general relief.

                                                Respectfully submitted,

                                                LAW OFFICES OF LIPPE & ASSOCIATES



                                     By:         /s/ Emil Lippe, Jr.
                                                Emil Lippe, Jr.
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                                                MINING, LLC, KING LOUIE ENTERPRISES, LLC,
                                                AND RONALD KATZ




PLAINTIFFS’ RESPONSE TO DEFENDANT’S
SECOND M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 7




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Case 10-03269-sgj Doc 16 Filed 02/11/11 Entered 02/11/11 15:00:41 Page 8 of 8
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 92 of 256 PageID 327



                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 11th day of February, 2011, I electronically

submitted the foregoing document with the Clerk of the Court for the U.S. Bankruptcy Court,

Northern District of Texas, using the electronic case filing system of the Court, which will then send

a notification of such filing to the following:

       Dennis Olson
       Olson, Nicoud & Gueck, L.L.P.
       1201 Main St., Ste 2470
       Dallas, TX 75202


                                                   /s/ Emil Lippe, Jr.
                                                  Emil Lippe, Jr.




PLAINTIFFS’ RESPONSE TO DEFENDANT’S
SECOND M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 8




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     Case 10-03269-sgj Doc 17 Filed 02/24/11 Entered 02/24/11 11:25:35 Page    1 of 3
                                                                          U.S. BANKRUPTCY  COURT
     Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 93 of 256 PageID
                                                                        NORTHERN328DISTRICT OF TEXAS

                                                                                     ENTERED
                                                                                    TAWANA C. MARSHALL, CLERK
                                                                                       THE DATE OF ENTRY IS
                                                                                      ON THE COURT'S DOCKET




The following constitutes the ruling of the court and has the force and effect therein described.



                                                             United States Bankruptcy Judge
Signed February 24, 2011




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

    IN RE:                                     §
                                               §
    CENGIZ J. COMU a/k/a                       §                   CASE NO. 09-38820-sgj-7
    CJ COMU,                                   §
          Debtor.                              §            CHAPTER 7
    _________________________________          §
                                               §
    KING LOUIE MINING, LLC,                    §
    KING LOUIE ENTERPRISES, LLC,               §
    and RONALD KATZ,                           §
          Plaintiffs,                          §
                                               §
    v.                                         §            Adversary Case no. 10-03269-sgj
                                               §
    CENGIZ J. COMU a/k/a                       §
    CJ COMU                                    §
         Defendant.                            §

             ORDER CONDITIONALLY DENYING SECOND MOTION TO DISMISS

             On February 14, 2011, the Court heard Defendant C.J. Comu’s Second Motion to

    Dismiss Complaint, Pursuant to Fed. Rules Civ. Proc. 12(b)(6) (“Defendant’s Second Motion”).

    Plaintiffs and Defendant were represented by their respective attorneys of record.     After



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Case 10-03269-sgj Doc 17 Filed 02/24/11 Entered 02/24/11 11:25:35 Page 2 of 3
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 94 of 256 PageID 329



reviewing the pleadings and arguments of Plaintiffs and Defendant, the Court finds that, for the

reasons stated and the cases cited by the Court on the record, Plaintiffs should be given one more

chance to amend their complaint and plead with sufficient specificity their allegations against

Defendant. The Court further finds that Plaintiffs’ next amended complaint must particularly

identify the subsection(s) of Section 727(d) that Plaintiffs rely upon, and state when and how

Plaintiffs learned the facts which are the basis for their complaint. The Court further finds that,

if Plaintiffs are alleging that part of their Complaint is based upon one or more fraudulent

transfers, Plaintiffs must in each instance state, to the best of their present ability without

obtaining discovery, when the transfer was made and explain the standing of Plaintiffs to

prosecute the fraudulent transfer claim.

       Therefore, it is ORDERED that Defendant’s Second Motion is conditionally Denied.

Plaintiffs are ORDERED to file their next amended complaint within twenty days of the entry of

this order. Defendant is ORDERED to file an answer or other responsive pleading within twenty

days of the filing of Plaintiffs’ next amended complaint. If Plaintiffs do not timely file their next

amended complaint, the Court will enter an Order dismissing this adversary proceeding.

                                     # # # End of Order # # #




APPROVED AS TO FORM:




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Case 10-03269-sgj Doc 17 Filed 02/24/11 Entered 02/24/11 11:25:35 Page 3 of 3
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 95 of 256 PageID 330



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                                   /s/ Emil Lippe, Jr.
                                   Emil Lippe, Jr.
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 Case 10-03269-sgj Doc 19 Filed 03/02/11 Entered 03/02/11 17:09:52 Page 1 of 3
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 96 of 256 PageID 331


                                       UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION

                                                      §
IN RE:                                                §   CHAPTER 7
                                                      §
CENGIZ J. COMU a/k/a CJ COMU,                         §   CASE NO. 09-38820-sgj7
                                                      §
                                                      §
           Debtor.                                    §



KING LOUIE MINING, LLC, KING                          §
LOUIE ENTERPRISES, LLC, AND                               §
RONALD KATZ,                                          §
                                                      §
           Plaintiffs,                                §
                                                      §
v.                                                    §   ADVERSARY NO. 10-03269-sgj
                                                      §
CENGIZ J. COMU a/k/a CJ COMU,                         §
                                                      §
           Defendant.                                 §

                                             MOTION OF PLAINTIFFS FOR
                                            LEAVE TO PROSECUTE ACTION

TO THE HONORABLE STACEY G.C. JERNIGAN, UNITED STATES BANKRUPTCY JUDGE:

           Plaintiffs, King Louie Mining, LLC, and King Louie Enterprises, LLC, and Ronald Katz,

hereby file, this their motion for leave to prosecute action, seeking leave to file their Second

Amended Complaint to Revoke Discharge, in the form which is being simultaneously filed herein,

and state the following.

           1.         Pursuant to In re Louisiana World Exposition, Inc., 832 F.2d 1391 (5th Cir.1987),

Plaintiffs hereby seek leave of Court to prosecute the causes of action in their Second Amended

Complaint for fraudulent transfers, pursuant to 11 U.S.C. §544(b)(1) and the Texas Uniform


MOTION OF PLAINTIFFS FOR
LEAVE TO PROSECUTE ACTION– Page 1
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 Case 10-03269-sgj Doc 19 Filed 03/02/11 Entered 03/02/11 17:09:52 Page 2 of 3
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 97 of 256 PageID 332



Fraudulent Transfer Act (“TUFTA”), §24.005(a)(1), TEX. BUS. AND COMM. CODE, for the following

reasons. Plaintiffs have presented the Complaint to the Bankruptcy Trustee and requested that the

Trustee join in and prosecute such action, and the Trustee has unreasonably refused to join the

action. Attached hereto and incorporated by this reference as Exhibit “A” is the letter whereby

Plaintiffs have requested that the Trustee take such action. No response has been received thereto.

The claims presented in Plaintiffs’ Second Amended complaint are colorable and Plaintiffs stand

prepared to see the action through to its conclusion.

           2.         In the interest of justice, Plaintiffs should be allowed leave to prosecute claims for

fraudulent transfers, so that the they may pursue their Second Amended Complaint and so that the

merits of this case may be properly presented to the Court.

           WHEREFORE, Plaintiffs pray that the Court grant them leave to prosecute all claims as set

forth in their Second Amended Complaint on file herein for fraudulent transfers, pursuant to 11

U.S.C. §544(b)(1) and the Texas Uniform Fraudulent Transfer Act (“TUFTA”), §24.005(a)(1), TEX.

BUS. AND COMM. CODE, and grant them general relief.

                                                     Respectfully submitted,

                                                     LAW OFFICES OF LIPPE & ASSOCIATES



                                             By:      /s/ Emil Lippe, Jr.
                                                     Emil Lippe, Jr.
                                                     State Bar No. 12398300
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MOTION OF PLAINTIFFS FOR
LEAVE TO PROSECUTE ACTION– Page 2
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 Case 10-03269-sgj Doc 19 Filed 03/02/11 Entered 03/02/11 17:09:52 Page 3 of 3
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 98 of 256 PageID 333



                                                            Facsimile:     (214) 720-6074
                                                            Email:         emil@texaslaw.com

                                                            ATTORNEYS FOR PLAINTIFFS KING LOUIE
                                                            MINING, LLC, KING LOUIE ENTERPRISES, LLC,
                                                            AND RONALD KATZ


                                            CERTIFICATE OF CONFERENCE

           The undersigned certifies that he has attempted to confer with the Trustee and has received

no response. Signed this                    2nd      day of March, 2011.



                                                            /s/ Emil Lippe, Jr.



                                                  CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on this 2nd                day of March, 2011, I electronically

submitted the foregoing document with the Clerk of the Court for the U.S. Bankruptcy Court,

Northern District of Texas, using the electronic case filing system of the Court, which will then send

a notification of such filing to the following:

           Dennis Olson
           Olson, Nicoud & Gueck, L.L.P.
           1201 Main St., Ste 2470
           Dallas, TX 75202


                                                             /s/ Emil Lippe, Jr.
                                                            Emil Lippe, Jr.




MOTION OF PLAINTIFFS FOR
LEAVE TO PROSECUTE ACTION– Page 3
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Case 10-03269-sgj Doc 20 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 1 of 16
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 99 of 256 PageID 334



                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

                                            §
IN RE:                                      §       CHAPTER 7
                                            §
CENGIZ J. COMU a/k/a CJ COMU,               §       CASE NO. 09-38820-sgj7
                                            §
                                            §
         Debtor.                            §


KING LOUIE MINING, LLC, KING                §
LOUIE ENTERPRISES, LLC, AND                 §
RONALD KATZ,                                §
                                            §
         Plaintiffs,                        §
                                            §
v.                                          §       ADVERSARY NO. 10-03269-sgj
                                            §
CENGIZ J. COMU a/k/a CJ COMU,               §
                                            §
         Defendant.                         §

   PLAINTIFFS’ SECOND AMENDED COMPLAINT TO REVOKE DISCHARGE
 PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE

TO THE HONORABLE STACEY G.C. JERNIGAN, UNITED STATES BANKRUPTCY JUDGE:

          King Louie Mining, LLC, King Louie Enterprises, LLC, and Ronald Katz, Plaintiffs,

pursuant to Section 727(d) of the United States Bankruptcy Code (11 U.S.C.§§101, et seq., the

“Bankruptcy Code”) and Sections 544, 547, and 550 of the United States Bankruptcy Code, and

Rules 7001, et seq. of the Federal Bankruptcy Rules, complain of Debtor, Cengiz J. Comu a/k/a CJ

Comu(“Debtor”), as Defendant, and hereby file this their First Amended Complaint to Revoke

Discharge Pursuant to Section 727(d) of the United States Bankruptcy Code, and in support thereof


PLAINTIFFS’ SECOND AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                      - PAGE 1




                                                                                    000293
Case 10-03269-sgj Doc 20 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 2 of 16
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 100 of 256 PageID 335



would respectfully show as follows:

                         A. PARTIES, JURISDICTION AND VENUE

       1.      Plaintiff King Louie Mining, LLC, is a Delaware limited liability company with

principal offices and place of business at 8 Wheatley Avenue, Albertson, New York 11507. Plaintiff

King Louie Mining is, among other things, asserting herein complaints for fraudulent transfers

pursuant to 11 U.S.C. §§544, 547, and 550, on behalf of all creditors herein because the Trustee has

failed and refused to prosecute this cause of action.

       2.      Plaintiff King Louie Enterprises, LLC, is a Delaware limited liability company with

principal offices and place of business at 8 Wheatley Avenue, Albertson, New York 11507. Plaintiff

King Louie Enterprises is, among other things, asserting herein complaints for fraudulent transfers

pursuant to 11 U.S.C. §§544, 547, and 550, on behalf of all creditors herein because the Trustee has

failed and refused to prosecute this cause of action.

       3.      Ronald Katz is a resident of the State of New York and is a creditor herein. Plaintiff

Ronald Katz is, among other things, asserting herein complaints for fraudulent transfers pursuant to

11 U.S.C. §§544, 547, and 550, on behalf of all creditors herein because the Trustee has failed and

refused to prosecute this cause of action.

       4.      Pursuant to In re Louisiana World Exposition, Inc., 832 F.2d 1391 (5th Cir.1987),

Plaintiffs have made demand upon Diane G. Reed, Trustee, to pursue the causes of action set forth

herein, and the Trustee has unjustifiably failed and refused to pursue these claims. The claims

asserted herein are colorable and substantial. Plaintiffs therefore seek leave, to the extent required

by law, to bring these causes of action on behalf of themselves and the other creditors herein.


PLAINTIFFS’ SECOND AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                          - PAGE 2




                                                                                        000294
Case 10-03269-sgj Doc 20 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 3 of 16
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 101 of 256 PageID 336



        5.      Debtor, Cengiz Jan Comu a/k/a C.J. Comu, is an individual residing in Dallas County,

Texas. Debtor filed a voluntary petition under Chapter 7 of the Bankruptcy Code on December 31,

2009 (the “Petition Date”), in the United States Bankruptcy Court for the Northern District of Texas,

Dallas Division (the “Bankruptcy Court”), and was granted a discharge on April 14, 2010.

        6.      Debtor may be served with process by serving his attorney of record in this

bankruptcy case, Dennis Oliver Olson, Olson, Nicoud & Gueck, LLP, 1201 Main Street, Suite 2470,

Dallas, TX 75202.

        7.      This Court has jurisdiction over the parties and this controversy under 28 U.S.C.

§§157 and 1334. Although Debtor has been granted a discharge, his discharge must be set aside

pursuant to 11 U.S.C. §§727(d)(1) and (2). This adversary proceeding is a core proceeding under

28 U.S.C.§157(b)(2)(J).

        8.      Venue of this proceeding is proper under 28 U.S.C.§1409.

                                 B. FACTUAL BACKGROUND

        9.      On January 15, 2010, Debtor filed his Schedules, Statement of Financial Affairs,

Chapter 7 Individual Debtor’s Statement of Intention, and Chapter 7 Statement of Current Monthly

Income and Means-Test Calculation(collectively, the “Bankruptcy Filings”). On April 14, 2010, in

reliance upon the schedules filed by the Debtor, the Court granted a discharge. On information and

belief, the Trustee likewise relied upon the schedules filed by the Debtor in failing to file any actions

contesting discharge. Plaintiffs bring this action to revoke the discharge because the same was

procured through a fraud upon the Court.

        10.     Comu has a long prior record of white-collar crimes and nefarious business practices,


PLAINTIFFS’ SECOND AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                             - PAGE 3




                                                                                           000295
Case 10-03269-sgj Doc 20 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 4 of 16
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 102 of 256 PageID 337



and is subject to a permanent injunction issued by the United States Securities and Exchange

Commission (“SEC”). On November 1, 1989, the SEC entered an Order of Permanent Injunction

against Comu based on his dealings with a company called Oreo Mines, Inc., prohibiting him from

selling unregistered securities. The SEC order also demanded that Comu disgorge $80,000, but

waived this demand because of his inability to pay.

       11.     On April 9, 1999, the State of Wisconsin – Division of Securities found that Comu

had sold unregistered securities in violation of Wisconsin securities law and entered a permanent

injunction barring Comu from selling unregistered securities in Wisconsin. Also, Comu was placed

on criminal probation for two years in Texas in or around the early 1990s in connection with a car

leasing operation he started under the name of Transworld Leasing. In or around 2002, Comu was

investigated by the SEC in connection with his activities as chief executive officer in a company

called AirTech International Group, Inc., and he invoked his Fifth Amendment right against self-

incrimination during testimony taken by the SEC.

       12.     Comu was the founder and CEO of a company known as Humitech International

Group, Inc. (“Humitech”). Humitech was a publicly-owned company. Comu was previously the

CEO of another public-owned company, Airtech International Group, Inc.(“Airtech”). Comu

obtained the idea and business opportunity to found Humitech while CEO of Airtech, and diverted

such opportunity to the new company, which he controlled.

       13.     Ever since at least May, 2003, the lenders of Airtech had been pursuing claims against

Comu for such diversion of corporate opportunity, fraud, and fraudulent transfer. The claims were

twice dismissed under stipulations that the dismissals would be without prejudice and the statutes


PLAINTIFFS’ SECOND AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                         - PAGE 4




                                                                                       000296
Case 10-03269-sgj Doc 20 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 5 of 16
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 103 of 256 PageID 338



of limitations were tolled. Ultimately, Comu was a Defendant in New Millennium Capital Partners

II, LLC and AJW Partners LLC v. Humitech International Group Inc., and CJ Comu, Case No: 3:06-

CV-1180-L, formerly pending in the United States District Court for the Northern District of Texas,

Dallas Division, in which case a judgment was ultimately obtained against him.

       14.     While the New Millenium claims were pending against him, Comu conducted the

fraudulent kickback scheme discussed below involving Humitech, and caused the illegal proceeds

of such scheme to be paid to his alter ego, Sunset Pacific, L.P.

       15.     Humitech was in the business of selling humidity control products for refrigeration

units to regulate humidity, reduce temperatures, and absorb odors. The principal component of

Humitech’s products was a type of diatomaceous earth, which Humitech referred to as “Sorbite,”

contained in panels installed in the refrigeration units.

       16.     In 2003, through an introduction by a mutual acquaintance, Comu approached

Ronald Katz (“Katz”) to obtain funds for Humitech to purchase the Defendants’ purported mining

rights. This ultimately led to Katz’s company, King Louie Mining, LLC (“KLM”), lending money

to Humitech for this purpose.

       17.     On May 21, 2004, in a simultaneous closing, KLM loaned $3,000,000 to Humitech,

and HDC purchased certain worthless mining rights for $1,940,000, and Comu received a $500,000

kickback from the seller. Although Comu owed fiduciary duties to his employer, Humitech, and its

lender, KLM, to fully disclose such kickback, he fraudulently withheld such information.

       18.     Katz did not discover the kickback scheme until over two years later, when Humitech

defaulted on the loan from KLM, and KLM foreclosed on the stock of HDC. Investigation of the


PLAINTIFFS’ SECOND AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                       - PAGE 5




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Case 10-03269-sgj Doc 20 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 6 of 16
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 104 of 256 PageID 339



files left behind by Comu, after the foreclosure, disclosed this illegal scheme. Comu had arranged

with the seller to receive such kickback by a payment to his alter ego, a partnership known as Sunset

Pacific, LP, (“Sunset Pacific”).

        19.     Throughout his tenure at Humitech, Comu diverted monies from the company for his

own use and benefit, causing substantial damages to the corporation and its shareholders. As a result

of his fraudulent conduct and mismanagement of Humitech, it defaulted on its obligations to King

Louie Mining, causing over $2,000,000 in damages to KLM. As stated above, after KLM foreclosed

on the stock of HDC and took control thereof, and investigated the company and its financial

dealings, the kickback scheme was discovered.

        20.     On April 30, 2009, KLM obtained a Judgment in New York state court against Comu

for a total of $2,279,265.16, a true and correct copy of which is attached hereto as Exhibit “A” and

incorporated herein by reference. KLM subsequently domesticated this as a Texas judgment, and

was pressing for postjudgment discovery from Comu when he filed this bankruptcy proceeding.

        21.     For years, Comu has operated Sunset Pacific, as his alter ego, to shield his assets from

creditors, being aware of existing and potential claims of victims of his ongoing fraudulent activities.

Comu caused the $500,000 kickback to be paid to Sunset Pacific, thereby diverting the fruits of his

illegal actions into this alter ego of his to shield it from those whom he had defrauded. Plaintiffs

have learned, through information and belief obtained through various sources after April 14, 2010,

that in truth and in fact, despite such conveyance, Comu has continued to operate Sunset Pacific on

his own as his own personal entity, with no active involvement or assistance from his wife, and that

the conveyance to her was done for the purposes of defrauding creditors. On information and belief,


PLAINTIFFS’ SECOND AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                            - PAGE 6




                                                                                          000298
Case 10-03269-sgj Doc 20 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 7 of 16
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 105 of 256 PageID 340



although in form the conveyance to his wife occurred more than a year prior to January 15, 2010, in

truth the so-called “conveyance” was done less than six months prior to such date, and back-dated

to attempt to avoid having such conveyance set aside in bankruptcy.

        22.     Comu filed this Bankruptcy Proceeding at a time when Plaintiffs were pressing their

efforts in Texas State Court to collect upon the judgment against Comu, and had filed a motion to

compel production of financial information to assist in collecting the judgment. Comu filed his

Bankruptcy Schedules, claiming a small minority interest in Sunset Pacific, and a business owned

by Sunset Pacific, known as The Barclay Group. Reference is hereby made to the Schedules on file

with this Court.

        23.     At the First Meeting of Creditors herein, Comu testified that he had fully disclosed

his assets and liabilities on his Schedules. He further claimed that his interest in certain corporations,

partnerships, and other entities was correctly disclosed in his Schedules. Comu did not testify,

however, that he in fact dominated and controlled Sunset Pacific despite his apparent minority

interest.

        24.     In truth and in fact, however, Plaintiffs have determined that Comu has hidden,

through a complex corporate structure involving Sunset Pacific, and a company that he controls

through his control of Sunset Pacific, known as The Barclay Group, Inc. (“The Barclay Group”),

numerous business interests, valuable stock, and other assets. Although other people, including

Comu’s wife, are listed as having controlling interests in Sunset Pacific and The Barclay Group,

Comu actually directs and controls such entities for his personal use and benefit.

        25.     Among other things, Comu transferred nominal controlling interests in Sunset Pacific,

L.P., to his wife for no consideration, and has utilized his wife as a front for continuation of his

PLAINTIFFS’ SECOND AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                              - PAGE 7



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Case 10-03269-sgj Doc 20 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 8 of 16
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 106 of 256 PageID 341



management of assets which he indirectly owns and controls, in an effort to hide the same from his

creditors. On information and belief, although such “transfer” was dated more than a year prior to

the filing of the Bankruptcy Petition herein, in truth and in fact it occurred, on paper, within six

months of the filing of bankruptcy herein. Further, such “transfer” was in fact a sham, sin Comu’s

wife does not truly operate Sunset Pacific, and is only a figurehead “owner” thereof, to facilitate

Comu’s concealment of assets. On information and belief, both prior to, during the pendency of, and

after, the bankruptcy proceedings herein, Comu has dominated and controlled Sunset Pacific.

       26.     At the time of such sham “transfer” to Comu’s wife, there were numerous claims

pending against Comu, including both the claims of Plaintiffs herein, and the claims of New

Millenium described in paragraph 13 above. The interests in Sunset Pacific were “transferred” to

his wife, on information and belief, for no value, and within six (6) months of the filing of the

Bankruptcy Petition herein, and were for the purpose and intent of defrauding creditors, in violation

of 11 U.S.C. §544(b)(1) and the Texas Uniform Fraudulent Transfer Act (“TUFTA”), specifically

§24.005(a)(1), TEX . BUS. AND COMM . CODE.

       27.     Plaintiffs have standing to bring these causes of action pursuant to the doctrine of In

re Louisiana World Exposition, Inc., 832 F.2d 1391 (5th Cir.1987), because they are asserting

colorable claims, they have made demand upon the Trustee to prosecute these causes of action and

the Trustee has unjustifiably failed and refused to pursue these claims.

       28.     Plaintiffs were not aware of these fraudulent transfers, hidden assets and employment

positions of Comu prior to the Discharge herein, as set forth below in greater detail. Instead,

Plaintiffs first learned of information concerning such concealed assets and fraudulent transfers

beginning around June, 2010, from informants who had dealt personally with Comu Upon

PLAINTIFFS’ SECOND AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                          - PAGE 8



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Case 10-03269-sgj Doc 20 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 9 of 16
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 107 of 256 PageID 342



information and belief, these fraudulent transfers occurred within one year of the bankruptcy filing

but were backdated in order to shield the assets from bankruptcy. Such assets and fraudulent

transfers were material and materially impacted the true net worth of the Debtor, and were

fraudulently concealed in violation of law.

       29.     Plaintiffs have been hindered in obtaining full disclosure of all facts relating to the

illegal conduct of Comu by his repeated refusal to produce discovery prior to the filing of the

bankruptcy petition herein, his wilful concealment of assets and misrepresentation of ownership on

his schedules, and his failure and refusal to produce disclosures as required by Scheduling Orders

herein. Plaintiffs cannot, without discovery, fully set forth all details of Comu’s illegal schemes, and

all dates on which his illegal conduct occurred.

       30.     To the extent that Comu disclosed any assets owned by Sunset Pacific, he

fraudulently misrepresented his interest therein by asserting that he only owned 1% of Sunset Pacific,

since in truth and in fact he dominates and controls such entity exclusively. To the extent that Comu

disclosed any assets owned by The Barclay Group, he fraudulently misrepresented his interest therein

by asserting that he only owned 1% of Sunset Pacific, and only indirectly owns a minority interest

in The Barclay Group, since in truth and in fact he dominates and controls The Barclay Group

exclusively.

       31.     On information and belief, which Plaintiffs learned from informants beginning in

June, 2010, and through at least September, 2010, through his control of The Barclay Group, Comu

has hidden substantial assets and has failed properly and fully to disclose the full extent of such

assets, and the fact that he actually controls The Barclay Group for his own use and benefit.

Although Comu has claimed that Bernard Brown is the officer actually controlling The Barclay

PLAINTIFFS’ SECOND AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                            - PAGE 9



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Case 10-03269-sgj Doc 20 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 10 of 16
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 108 of 256 PageID 343



Group, he is actually dealing with Brown as a broker in European markets to wash his illegal sales

of restricted stock. Comu has concealed interests in various business enterprises owned through The

Barclay Group which should have been fully disclosed herein. These business interests, assets, and

opportunities include but are not limited to the following:

               <       Consulting services and disguised ownership interest in Partners National
                       Real Estate, LLC, and subsidiaries;

               <       Ownership rights for Artfest International, Inc., and/or Artfest Overseas;

               <       Income from The Barclay Group and Sunset Pacific earned or accrued before
                       the filing of the bankruptcy, the receipt of which was deferred until after the
                       Discharge.

               <       Consulting services and other interests in Art Channel, Inc.;

               <       Valuable sports memorabilia actually owned by Sun Sports Entertainment,
                       Inc., a public company of which Comu was CEO, which mysteriously
                       disappeared when Sun Sports ceased doing business, and which are believed
                       to have been concealed from creditors by Comu;

               <       On information and belief, Comu has a practice of receiving restricted stock
                       in companies for whom he consults through The Barclay Group, and washes
                       such stock through affiliated relationships in the French Riviera, selling the
                       same, and concealing the illegal proceeds overseas;

               <       While in bankruptcy, Comu, through The Barclay Group, loaned $90,000 to
                       Green Automotive Company, Inc., and, on information and belief, obtained
                       certain stock or stock options as part of the consideration (see, Exhibit “B”
                       attached hereto);

               <       Consulting services and other involvement with Eller Industries, Inc.;

               <       Dealings with Mars Orbit Fund, Ltd.;

               <       Dealings with Capital Management Group, Inc.;

               <       Dealings with I.R.A. Oil & Gas, Inc.,;



PLAINTIFFS’ SECOND AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                         - PAGE 10



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Case 10-03269-sgj Doc 20 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 11 of 16
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 109 of 256 PageID 344



                <       Dealings with JL Media Services LLC;

                <       Dealings with Temeku Financial;

                <       Dealings with various entities, referred to as “ARTI, AL, USR, VOIP, SR,
                        MetiScan, Med Tech, Cool It, Donson, Houston, and Nano,” none of which
                        were listed; and

                <       Dealings with Ultimate Sports Resort, and receipt of $100,000 payment
                        relating thereto.

All of such information should have been disclosed to the creditors herein, so that the Court and the

creditors were fully advised of Comu’s true financial condition.

        32.     Over a period of years prior to filing for bankruptcy, Comu caused the public

company which he was then controlling, Sun Sports Entertainment, to make numerous payments

totalling tens of thousands of dollars to Sunset Pacific, for no apparent consideration. The purposes

of such payments, and ultimate use and benefit therefrom, were not disclosed to this Court and the

creditors of this Bankruptcy Proceeding, and were likely to be material to Comu’s financial

condition. Plaintiffs did not learn of such payments until June-September, 2010, from various

informants.

        33.     In addition, on information and belief, Comu owns or controls an interest in an entity

known as Grey Point Partners, LLC, which claims rights to broadcasting and presentation of Mixed

Martial Arts (“MMA”) programming. Comu has claimed that such rights actually exist and have

substantial value, but has failed to disclose his interest in such entity.

        34.     On information and belief, Comu owns or controls an interest in an entity known as

Marathon Management, the value of which has not been disclosed.

        35.     On information and belief, Comu owns or controls an interest in an entity known as


PLAINTIFFS’ SECOND AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                         - PAGE 11



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Case 10-03269-sgj Doc 20 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 12 of 16
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 110 of 256 PageID 345



New Edge Consulting, the value of which has not been disclosed.

        36.     For all these reasons, Plaintiffs have determined that Comu owns or controls, through

Sunset Pacific and otherwise, substantial assets and sources of income which have been concealed

from the Court and creditors herein, which were material to his financial condition and which were

required by law to be disclosed.

                                               COUNT I.

        37.     Plaintiffs incorporate by reference the allegations of paragraphs 1 through 36 above

as if the same were fully set forth herein.

        38.     Debtor has committed fraud by concealing and failing to disclose assets and sources

of income which he was required by law to disclose, and has obtained a discharge by fraud in

violation of 11 USC 727(d)(1).

        39.     On information and belief, Debtor was the managing partner of Sunset Pacific until

Debtor fraudulently transferred his controlling interest to his wife for no consideration. This

fraudulent transfer was executed within a year of the bankruptcy filing in order to shield the assets

of Sunset Pacific from the bankruptcy proceeding. Further, such “transfer” was a sham because

Comu continued to control and dominate such entity as if it were exclusively his own.

        40.     On further information and belief, Sunset Pacific, LP holds interests in various

entities, including but not limited to The Barclay Group, Inc. Comu is the current CEO of The

Barclay Group, Inc. The Barclay Group has substantial assets, and recently loaned $90,000.00 to

Green Automotive Company Inc. The full extent of the assets owned indirectly through Sunset

Pacific was not fully disclosed to the creditors herein, as set forth above in greater detail, and the true



PLAINTIFFS’ SECOND AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                              - PAGE 12



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Case 10-03269-sgj Doc 20 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 13 of 16
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 111 of 256 PageID 346



ownership interest of Comu was not accurately disclosed herein. Further, the full extent of assets

owned or controlled by Comu, as set forth above, was not fully and properly disclosed herein.

        41.     Despite the fraudulent transfer of his interest in Sunset Pacific to his wife, Sunset

Pacific and its subsidiary, The Barclay Group, are Comu’s alter egos. Comu is conducting business

through Sunset Pacific and The Barclay Group, and such entities have substantial assets. Further,

upon information and belief, Comu earned income before the bankruptcy filing, payment of which

was deferred until after the Discharge herein, to conceal the same from the Court, the Trustee, and

the creditors. Because Comu misrepresented his property to the Trustee, he has committed fraud. As

the Plaintiffs are bankruptcy creditors, Plaintiffs have been harmed by this fraud.

        42.     Plaintiffs discovered these frauds after the bankruptcy discharge, beginning around

June, 2010, and on various occasions until September, 2010, and even occurring in January, 2011,

from informants. This information was not previously known to Plaintiffs, and was fraudulently

concealed from the Court, the Trustee, and the creditors.

        43.     This Complaint is being filed within one year after the date of discharge. Plaintiffs

are, therefore, entitled to an Order of this Court revoking the Debtor’s discharge, pursuant to 11

U.S.C. §727(e)(1), and declaring that all assets of fraudulently concealed by the debtor, including

but not limited to the assets of Sunset Pacific and The Barclay Group, shall be considered assets of

the Debtor. Plaintiffs further pray for an order revoking all fraudulent transfers of the Debtor’s assets

that occurred within the statute of limitations, pursuant to 11 U.S.C. §544(b)(1) and the Texas

Uniform Fraudulent Transfer Act (“TUFTA”), §24.005(a)(1), TEX . BUS. AND COMM . CODE.

        44.     Plaintiffs further request recovery of their reasonable and necessary attorney fees,



PLAINTIFFS’ SECOND AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                            - PAGE 13



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Case 10-03269-sgj Doc 20 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 14 of 16
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 112 of 256 PageID 347



expert witness fees, costs for copies of depositions, and costs of court for all proceedings in the

Bankruptcy Court, the District Court, the Court of Appeals, and the Supreme Court.

                                              COUNT II.

       45.     Plaintiffs incorporate by reference the allegations of paragraphs 1 through 44 above

as if the same were fully set forth herein.

       46.     Upon information and belief, Comu earned income from Sunset Pacific and the

Barclay Group before filing the bankruptcy petition. Upon further information and belief, this

income was deferred until after the filing in order to shield it from the bankruptcy proceeding and

defraud the trustee herein in violation of 11 USC 727(d)(2).

       47.     Also, as described in further detail above, Comu acquired rights or entitlement to

other property that properly belonging to the Estate, disclosure of which was fraudulently withheld

from the trustee and the Court in further violation of 11 USC 727(d)(2).

       48.     Accordingly, as this action is filed within one year of the discharge, Plaintiffs are

entitled to an Order of this Court revoking the Debtor’s discharge, pursuant to 11 U.S.C. §727(e)(2),

and declaring all assets acquired by Comu properly belonging to the estate that were fraudulently

withheld from the Court and/or the Trustee to be property of the Estate.

       49.     Plaintiffs further request recovery of their reasonable and necessary attorney fees,

expert witness fees, costs for copies of depositions, and costs of court for all proceedings in the

Bankruptcy Court, the District Court, the Court of Appeals, and the Supreme Court.

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that, upon final judgment of the

Court herein, that judgment be entered against Defendant Debtor revoking his discharge, that all



PLAINTIFFS’ SECOND AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                        - PAGE 14



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Case 10-03269-sgj Doc 20 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 15 of 16
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 113 of 256 PageID 348



fraudulent transfers be revoked, and that Plaintiffs recover their reasonable attorney’s fees for all

proceedings in the Bankruptcy Court, the District Court, the Court of Appeals, and the Supreme

Court, and that Plaintiffs recover their costs of court, and general relief.



                                               Respectfully submitted,

                                               LAW OFFICES OF LIPPE & ASSOCIATES



                                       By:      /s/ Emil Lippe, Jr.
                                               Emil Lippe, Jr.
                                               State Bar No. 12398300
                                               Law Offices of Lippe & Associates
                                               Plaza of the Americas, South Tower
                                               600 N. Pearl Street, Suite S2460
                                               Dallas, Texas 75201
                                               Telephone:      (214) 855-1850
                                               Facsimile:      (214) 720-6074
                                               Email:          emil@texaslaw.com

                                               ATTORNEYS FOR PLAINTIFFS KING LOUIE
                                               MINING, LLC, KING LOUIE ENTERPRISES, LLC,
                                               AND RONALD KATZ




PLAINTIFFS’ SECOND AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                        - PAGE 15



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Case 10-03269-sgj Doc 20 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 16 of 16
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 114 of 256 PageID 349




                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 3rd        day of March, 2011, I electronically

submitted the foregoing document with the Clerk of the Court for the U.S. Bankruptcy Court,

Northern District of Texas, using the electronic case filing system of the Court, which will then send

a notification of such filing to the following:

       Dennis Olson
       Olson, Nicoud & Gueck, L.L.P.
       1201 Main St., Ste 2470
       Dallas, TX 75202


                                                   /s/ Emil Lippe, Jr.
                                                  Emil Lippe, Jr.




PLAINTIFFS’ SECOND AM ENDED COM PLAINT TO
REVOKE DISCHARGE PURSUANT TO SECTION 727(d)
OF THE UNITED STATES BANKRUPTCY CODE                                                         - PAGE 16



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Case 10-03269-sgj Doc 20-1 Filed 03/02/11   Entered 03/02/11 17:13:55   Page 1 of 7




                        BY THE GRACE OF GOD FREE AND INDEPENDENT

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                       I(mnn 11', That we having examined the record! and files in the office of
            the Clerk of the County of New York and Clerk of the Supreme Court of said State
            for said County, do find a certain   if~               -



             there remaining, in the words and figUres following, to wit:
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          Case 10-03269-sgj Doc 20-1 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 2 of 7
          Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 116 of 256 PageID 351
                                                                (OVER)




SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK
------------------------------------------------------------------)(
HUMITECH DEVELOPMENT CORPORATION,
KING LOUIE MINING, LLC, KING LOUIE                                                Index No. 06-602567
ENTERPRISES, LLC, and RONALD KATZ,
Individually, and as a Shareholder of Humitech
International Group., Inc., Suing in the Right of
Humitech International Group, Inc.,

                                        Plaintiffs,                               JUDGMENT
                     - against-

 CENGIZ JAN COMU alkJa C,J. COMU and NAN
 GATI,                           )


                                         Defendants,

                         and

  HUMITECH INTERNATIONAL                        GROUP, INC.,

                                          Nominal Defendant.
  --------------------------------------------------~---------------)(
            This action having been scheduled for trial on February 23,2009,9:30              A.M. in Part 40;

  and the Court having made February 23, 2009 a final trial date; and Plaintiffs having been

   granted leave to serve a Verified Second Amended Complaipt; and Defendant Cengiz Jan Cornu

   ("Cornu") having been initially served with a Summons and Verified Complaint, the Verified

   Amended Complaint and then the Verified Second Amended Complaint; and the causes of action

   against defendant Ivan Gati having been severed from this action pursuant to the October 30,

    2008 order of Ron. Doris Ling-Cohan, lS.C.;                    and Defendant Cornu having appeared and

    answered the Verified Second Amended Complaint; and Defendant Cornu having failed to

    appear enter individually or by counsel for tlial on February 23,2009; the answer of Defendant

     Cornu having been stricken by the February 23, 2009 order of the Court; and upon the taking of




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         Case 10-03269-sgj Doc 20-1 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 3 of 7
         Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 117 of 256 PageID 352
        an inquest on February23, 2009; and upon the February 23,2009 order of Han. Joan B. Carey,

        J.S.C. directing the Judgment Clerk to enter judgment in the amounts set forth below, it is;
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                   ADJUDGED that the PlaintiffK.ing Louie Mining, LLClecover                                    from defelldant,...Comu &t'~fA C .-r-~
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        $1,386,748 and interest at the rate of9% per annum accruing from May 21,2004                                              iI' _----



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        has execution therefore.                                                                                                                   _
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                   ADJUDGED that ~laintiffKing Louie Enterprises LLC,lecover frOOidefendalltj\.Comu tAl ((('- C. J ~
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        the amount of$135,000             and interest at the rate of9% per annum accruing from December 31,

        2003 ii'                    '   •..   of$
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                   ADJUDGED that Plaintiff Ronald Katz,[ecover from defendant,..ComuJl,theamount of

        $50,000 and interest at the rate of9% per annum accruing from August 31, 2003 ii' ._._.

                                                      , aggregating the sum of$

        that plaintiff has execution therefore.



        Judgment entered this ~ 0""'-;:-            day of     A-e""          I , 2009,
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                 Humitech Development Corporation v. Cornu (Index No. 602567)


                , Interest Calculations at 9% Per Annum

                                          No. of days        interest at   interest     princiRal
  Amount         date from     date to    outstanding      9% per annum    per day    plus interest


$1,386,748.00     OS/21/04     04/30/09       1805          $617,197.84    $341.94    $2,003,945.84


$135,000.00       12/31/03     04/30/09       1947          $64,811.10     $33.29      $199,811.10


 $50,000.00       08/31/03     04/30109       2069          $25,508.22     $12.33       $75,508.22
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          Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 119 of 256 PageID 354

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         Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 121 of 256 PageID 356
                              ~RD H. LEHNER a Justice                        of the Supreme
                    New York     for the County           of New York,         the   ']0 i«-
day of                           in the year         of our Lord         two thousand      and

                          , and of our         independence        the two hundred         and



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                                                County    'Clerk       and   Clerk   of the

                                               Supreme        Court,     New York     County




             Supreme Court of the State of New York for the County of New York,
           . a CoUrt of Record, do hereby certify that the foregoing attestation is
            per form. and by the proper officer.

                                MAY -12009




                     ~ 55.:


                     1, NORMAN GOODMAN, County Clerk and Clerk of the
                     Supreme Court of the State of New Yorlc, Co'D.ltY _~~ ;N~",,-
                     York, do hereby certify that Hon.Eri'J;,~'{';S:'L~.:.              _.:=~~
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                     whose name' is subscribed to the preceding certilicate is
                     a Justice of the Supreme Court of said State in and for
                      the County of New York, duly elected and qualified, and
                      that the signature of said Justice to said certificate is genuine .
                     .IN TESTIMONY WHEREOF, I have hereunto set my
                      hand and affixed the Seal of said County and Court this
                           50 day of ~                                 2001 .

                                                         ~~
                                                      County Clerk and Clerk of' the
                                                      Supreme Court, New York County.

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Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 1 of 24
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 122 of 256 PageID 357




                       Green Automotive Company Inc. (GACR.PK)
                  15851 Dallas Parkway Suite 540 Addison, Texas 75001 USA
                             Tel: 972.770.5048 Fax: 972.770.5051
                                   www.usaelectricauto.com


                       “We previously were a shell company, therefore
                       the exemption offered pursuant to Rule 144 is not
                       available. Anyone who purchased securities
                       directly or indirectly from us or any of our
                       affiliates in a transaction or chain of transactions
                       not involving a Version 9.7 Updated on 07/22/2009
                       public offering cannot sell such securities in an
                       open market transaction.”



Part A General Company Information
Item I The exact name of the issuer and its predecessor (if any).
   Green Automotive Company Inc.
   Previously (Ganas Corporation)

Item II The address of the issuer’s principal executive offices.
        Green Automotive Company Inc. (GACR.PK)
        15851 Dallas Parkway Suite 540 Addison, Texas 75001 USA
        Tel: 972.770.5048 Fax: 972.770.5051
        www.usaelectricauto.com



Item III The jurisdiction(s) and date of the issuer’s incorporation or organization.
   Provide the issuer’s jurisdiction(s) of incorporation or jurisdiction(s) of organization (if
   the issuer is not a corporation) and the date on which it was incorporated or
   organized.

12-96 State of incorporation New Jersey changed to Delaware

Formerly Royal Finance Corp. until 2-98

Formerly Royal Acceptance Corp. until 3-2008

Formerly Ganas Corp. until 1-2010

Part B Share Structure




                                                                                  000316
      Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 2 of 24
      Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 123 of 256 PageID 358



      Item IV The exact title and class of securities outstanding.
        In answering this item, provide the exact title and class of each class of outstanding
        securities. In addition, please provide the CUSIP and trading symbol.

      Common Stock                             Cusip #39260A GACR
      Class A Convertible Preferred Stock     Cusip #

      Item V Par or stated value and description of the security.
            A. Par or Stated Value. Provide the par or stated value for each class of
            outstanding securities.
      Common - $.001
      Preferred - $.001

              B. Common or Preferred Stock.

      1. For common equity, describe any dividend, voting and preemption rights.

      Each Shareholder is allowed 1 vote per share.
      Common stock holders have first rights to dividends.
      Board of directors can be voted out via majority share holder vote at any time with out cause, at a meeting
      held for that purpose. Each board of director serves one year. No poison pills.
      The Barclay Group Holds an Anti-duilion provision that it will have always 40% of outstanding common
      stock until November 2010

      2. For preferred stock, describe the dividend, voting, conversion and liquidation rights
         as well as redemption or sinking fund provisions.

      The share entitles holder to 51% voting majority of stock
      It is convertible to 4 common shares
      Preferred stock is not entitled to dividends

      3. Describe any other material rights of common or preferred stockholders.

      Not Applicable

      4. Describe any provision in issuer’s charter or by-laws that would delay, defer or
         prevent a change in control of the issuer.

      Not Applicable

Item VI The number of shares or total amount of the securities outstanding for each class
      of securities authorized.
         In answering this item, provide the information below for each class of securities
         authorized. Please provide this information (i) as of the end of the issuer’s most recent
         fiscal quarter and (ii) as of the end of the issuer’s last two fiscal years.
      (i) Period end date;
      (ii) Number of shares authorized;




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Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 3 of 24
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 124 of 256 PageID 359



(iii) Number of shares outstanding;
(iv) Freely tradable shares (public float);
(v) Total number of beneficial shareholders; and
(vi) Total number of shareholders of record.

Common - Last Fiscal Quarter:/Year End
(i) Period end date; 12.31.09
(ii) Number of shares authorized; 699,999,999
(iii) Number of shares outstanding; 239,367,042
(iv) Freely tradable shares (public float); 3,600,000
(v) Total number of beneficial shareholders; 156
(vi) Total number of shareholders of record. 156

Common - Last Fiscal Year (2nd year)

(i) Period end date; 12.31.08
(ii) Number of shares authorized; 699,999,999
(iii) Number of shares outstanding; 95,746,817
(iv) Freely tradable shares (public float); 3,600,000
(v) Total number of beneficial shareholders; 156
(vi) Total number of shareholders of record. 156


Preferred - Last Fiscal Quarter:/Year End
(i) Period end date; 12.31.09
(ii) Number of shares authorized; 1
(iii) Number of shares outstanding; 1
(iv) Freely tradable shares (public float); 1
(v) Total number of beneficial shareholders; 1
(vi) Total number of shareholders of record. 1

Common - Last Fiscal Year (2nd year)

(i) Period end date; 12.31.08
(ii) Number of shares authorized; 1
(iii) Number of shares outstanding; 1
(iv) Freely tradable shares (public float); 1
(v) Total number of beneficial shareholders; 1


Part C Business Information
Item VII The name and address of the transfer agent*.
Old Monmouth Stock Transfer Co, Inc
200 Memorial Parkway
Atlantic Heights, NJ 07716
732.872.2727
Registered under the Exchange Act? Yes




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Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 4 of 24
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 125 of 256 PageID 360



In answering this item, please also provide the telephone number of the transfer agent,
indicate whether or not the transfer agent is registered under the Exchange Act, and
state the appropriate regulatory authority of the transfer agent.
    *To be included in OTCQX or the Current Information OTC Market Tier, the issuer’s
    transfer agent must be registered under the Exchange Act.

Item VIII The nature of the issuer’s business.
   In describing the issuer’s business, please provide the following information:
       A. Business Development. Describe the development of the issuer and material
       events during the last three years so that a potential investor can clearly
       understand the history and development of the business. If the issuer has not
       been in business for three years, provide this information for any predecessor
       company. This business development description must also include:

GNAS Corp company was formerly a shell company after it ceased operations and has been laying
dormant for years. No bank accounts. Fees for transfer agents were paid by third parties. In September
2009 the majority of shares were purchased by The Barclay Group, Inc. GNAS Corp. then purchased Go
Green USA, LLC (Go), a Nevada Limited Liability Company, organized April 28 th, 2009, on November
4,th 2009 in exchange for the issuance of shares of common stock. For each 1% membership interest in
Go, the company issued 1,436,202.25 shares of common stock, par value of $.001 of GNAS. Effective in
2009, Go entered into a business importing and distributing automobiles manufactured by or for Zoyte
with the territory of the United States through the Zotye Memorandum Dated August 21, 2009 that was
contractually ratified on January 29, 2010. GNAS Corp changed its name in January to Green Automotive
to reflect the material change in business.


1. the form of organization of the issuer (e.g., corporation, partnership, limited liability
   company, etc.);

Corporation

2. the year that the issuer (or any predecessor) was organized;

1996

3. the issuer’s fiscal year end date;

December 31st

4. Whether the issuer (or any predecessor) has been in bankruptcy, receivership or any
   similar proceeding;

Not Applicable

5. any material reclassification, merger, consolidation, or purchase or sale of a
   significant amount of assets;

The Company completed an acquisition and reclassification as of November 2009




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Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 5 of 24
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 126 of 256 PageID 361




6. any default of the terms of any note, loan, lease, or other indebtedness or financing
   arrangement requiring the issuer to make payments;

       Company is currently in default of a $30,000, 60 day note to the Barclay Group: The terms are:
12% Interest. And a 100,000 shares per day late fee. The note has been in default since Jan 20th 2010.

7. any change of control;

       As of November 2009, control has gone from The Barclay Group Inc, to the management
team of Green Automotive


8. any increase of 10% or more of the same class of outstanding equity securities;

Yes, common due to the acquisition of Go Green USA in November 2009

9. any past, pending or anticipated stock split, stock dividend, recapitalization, merger,
   acquisition, spin-off, or reorganization;

Anticipating a reverse stock split

10. any delisting of the issuer’s securities by any securities exchange or deletion from
    the OTC Bulletin Board; and

Not Applicable

11. any current, past, pending or threatened legal proceedings or administrative actions
    either by or against the issuer that could have a

3 For the purpose of this section a “shell company” means an issuer, other than a
business combination related shell company, as defined by Securities Act Rule 405, or
an asset-backed issuer, as defined by Item 1101(b) of Regulation AB, that has:
(1) No or nominal operations; and
(2) Either:
(A) No or nominal assets;
(B) Assets consisting solely of cash and cash equivalents; or
(C) Assets consisting of any amount of cash and cash equivalents and nominal other
assets.

material effect on the issuer’s business, financial condition, or operations and any
current, past or pending trading suspensions by a securities regulator. State the names
of the principal parties, the nature and current status of the matters, and the amounts
involved.

Not Applicable




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Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 6 of 24
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 127 of 256 PageID 362



       B. Business of Issuer. Describe the issuer’s business so a potential investor can
       clearly understand it. To the extent material to an understanding of the issuer,
       please also include the following:

The Company Seeks to Import Electric Vehicles.

1. the issuer’s primary and secondary SIC Codes;
5012 Automobiles

2. if the issuer has never conducted operations, is in the development stage, or is
   currently conducting operations;

Development Stage Company

3. whether the issuer is or has at any time been a “shell company”;3
Yes

       Instruction to paragraph B.3 of Item VIII:
       If the issuer discloses that it is or has at any time been a shell company, it must
       also include the following disclosure on the front page of its disclosure statement
       in boldface, 12 point type:
       If the issuer is currently a shell company:
                       “We are a shell company, therefore the exemption
                       offered pursuant to Rule 144 is not available.
                       Anyone who purchased securities directly or
                       indirectly from us or any of our affiliates in a
                       transaction or chain of transactions not involving
                       a public offering cannot sell such securities in an
                       open market transaction.”
       If the issuer was formerly a shell company:
                       “We previously were a shell company, therefore
                       the exemption offered pursuant to Rule 144 is not
                       available. Anyone who purchased securities
                       directly or indirectly from us or any of our
                       affiliates in a transaction or chain of transactions
                       not involving a Version 9.7 Updated on 07/22/2009
                       public offering cannot sell such securities in an
                       open market transaction.”

4. the names of any parent, subsidiary, or affiliate of the issuer, and its business
   purpose, its method of operation, its ownership, and whether it is included in the
   financial statements attached to this disclosure statement;

Not Applicable

5. the effect of existing or probable governmental regulations on the business;




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Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 7 of 24
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 128 of 256 PageID 363




The EPA, Department of Transportation as well as State Regulations have jurisdiction over our products.
We must get their approval before selling vehicles in the US.

6. an estimate of the amount spent during each of the last two fiscal years on research
   and development activities, and, if applicable, the extent to which the cost of such
   activities are borne directly by customers;

The management team has spent a year prior to the merger research and negotiating the exclusive contract
with the vehicle manufacturer. There will not be much expenses that need to be recouped, the vehicle
production is done in China.

7. costs and effects of compliance with environmental laws (federal, state and local);
   and

The costs of Compliance with US law, US Federal regulation and State regulation is expected to be 1.5
million.

8. the number of total employees and number of full-time employees.

There are currently 5 employees.

        For issuers engaged in mining, oil and gas production and real estate activities,
        substantial additional disclosure of the issuer’s business is required. Contact Pink
        OTC Markets for more information.

Item IX The nature of products or services offered.
   In responding to this item, please describe the following so that a potential investor
   can clearly understand the products and services of the issuer:
A. principal products or services, and their markets;

The company offers imported electric cars for sale to dealerships in the US

B. distribution methods of the products or services;

Distribution will be through existing and new Car Dealerships

C. status of any publicly announced new product or service;

The company has signed a 3 year distribution contract and looks to sign dealerships. There is a risk that
dealers may not be interested in selling the Zotye product

D. competitive business conditions, the issuer’s competitive position in the industry, and
methods of competition;

Competitors are 1 year away and include BYD,GM,NISSAN,FORD AND CODA. Investors must know
that there is significant competition in the market.




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      Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 8 of 24
      Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 129 of 256 PageID 364



      E. sources and availability of raw materials and the names of principal suppliers;

      Zotye will be our principle supplier, we plan to add additional over time. We are completely dependent
      on the Zoyte and they will be our exclusive

      F. dependence on one or a few major customers;

      We will have many dealerships and therefore will not be dependent on any one or group.


      G. patents, trademarks, licenses, franchises, concessions, royalty agreements or labor
      contracts, including their duration; and

      The company holds the agreement with Zotye to distribute their vehicle. As far other important
      agreements, are the agreements between Green Automotive and dealerships which will be negotiated on a
      case by case basis.

      H. the need for any government approval of principal products or services and the
      status of any requested government approvals.

      The company must get EPA/DOT approval before it’s cars can be sold in the US. The car is expected to
      pass but investors must be aware there is significant risk of failing. Before the car can sell more than
      10,000 units the cars must pass federal crash testing and test at least 10 vehicles. Investors must know
      that there is significant risk of failing crash testing.


      Item X The nature and extent of the issuer’s facilities.
         The goal of this section is to provide a potential investor with a clear understanding of all
         assets, properties or facilities owned, used or leased by the issuer.
         In responding to this item, please clearly describe the assets, properties or facilities of
         the issuer, give the location of the principal plants and other property of the issuer and
         describe the condition of the properties. If the issuer does not have complete ownership
         or control of the property (for example, if others also own the property or if there is a
         mortgage on the property), describe the limitations on the ownership.
         If the issuer leases any assets, properties or facilities, clearly describe them as above
         and the terms of their leases.


      The company has no major facilities. It is currently leasing office space, owns general office
      materials, holds two vehicles for promotion and two electric vehicles for demo/sales purposes.
      GACR primary business activity is an importer and not a manufacture. It plans to hold inventory but
      only after is it paid for in orders from its dealership/clients.


      Part D Management Structure and Financial Information
Item XI The name of the chief executive officer, members of the board of directors, as
      well as control persons.




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Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 9 of 24
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 130 of 256 PageID 365



  The goal of this section is to provide an investor with a clear understanding of the
  identity of all the persons or entities that are involved in managing, controlling or
  advising the operations, business development and disclosure of the issuer, as well as
  the identity of any significant shareholders.
        A. Officers and Directors. In responding to this item, please provide the following
        information for each of the issuer’s executive officers, directors, general partners
        and control persons, as of the date of this information statement:
1. Full name;

Please see below

2. Business address;

Please see below

3. Employment history (which must list all previous employers for the past 5 years,
   positions held, responsibilities and employment dates);

Please see below

1. Board memberships and other affiliations;

Not Applicable

2. Compensation by the issuer; and
3. Number and class of the issuer’s securities beneficially owned by each such person.

Steve Fly – Chairman & CEO:

Shares owned:
Compensation:
5 year Employment History with dates:
Works out of company HQ


Steve Wells - President:

Shares owned:
Compensation:
5 year Employment History with dates:
Works out of company HQ



Steve Evans, Vice-President of Dealership Business Development:
Shares owned:
Compensation:
5 year Employment History with dates:
Works out of company HQ




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Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 10 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 131 of 256 PageID 366




David Sheedy - Director of Parts and Service:
Shares owned:
Compensation:
5 year Employment History with dates:
Works out of company HQ


Fredrick Lockhart- National Sales Director:

Shares owned:
Compensation:
5 year Employment History with dates:
Works out of company HQ


Nancy Painter - Controller:
Shares owned:
Compensation:
5 year Employment History with dates:
Works out of company HQ

There are no other shareholders with more than 5%


   4 The term “family relationship” means any relationship by blood, marriage or
adoption, not more remote than first cousin.

Not Applicable


      B. Legal/Disciplinary History. Please identify whether any of the foregoing
      persons have, in the last five years, been the subject of:
1. A conviction in a criminal proceeding or named as a defendant in a pending criminal
   proceeding (excluding traffic violations and other minor offenses);

2. The entry of an order, judgment, or decree, not subsequently reversed, suspended
   or vacated, by a court of competent jurisdiction that permanently or temporarily
   enjoined, barred, suspended or otherwise limited such person’s involvement in any
   type of business, securities, commodities, or banking activities;

Not Applicable

3. A finding or judgment by a court of competent jurisdiction (in a civil action), the
   Securities and Exchange Commission, the Commodity Futures Trading
   Commission, or a state securities regulator of a violation of federal or state securities




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Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 11 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 132 of 256 PageID 367



   or commodities law, which finding or judgment has not been reversed, suspended,
   or vacated; or

Not Applicable

4. The entry of an order by a self-regulatory organization that permanently or
   temporarily barred, suspended or otherwise limited such person’s involvement in any
   type of business or securities activities.

Not Applicable

       C. Disclosure of Family Relationships. Describe any family relationships4 among
       and between the issuer’s directors, officers, persons nominated or chosen by the
       issuer to become directors or officers, or beneficial owners of more than five
       percent (5%) of the any class of the issuer’s equity securities.

Not Applicable

       D. Disclosure of Related Party Transactions. Describe any transaction during the
       issuer’s last two full fiscal years and the current fiscal year or any currently
       proposed transaction, involving the issuer, in which (i) the amount involved
       exceeds the lesser of $120,000 or one percent of the average of the issuer’s total
       assets at year-end for its last three fiscal years and (ii) any related person had or
       will have a direct or indirect material interest. Disclose the following information
       regarding the transaction:
              1. The name of the related person and the basis on which the person is
                      related to the issuer;
              2. The related person’s interest in the transaction;
              3. The approximate dollar value involved in the transaction (in the case of
                      indebtedness, disclose the largest aggregate amount of principal
                      outstanding during the time period for which disclosure is required,
                      the
              5 “Immediate family members” means any child, stepchild, parent,
                      stepparent, spouse, sibling, mother-in-law, father-in-law, son-in-law,
                      daughter-in-law, brother-in-law, or sister-in-law.
              amount thereof outstanding as of the latest practicable date, the amount of
                      principal and interest paid during the time period for which
                      disclosure is required, and the rate or amount of interest payable on
                      the indebtedness);
              4. The approximate dollar value of the related person’s interest in the
                      transaction; and
              5. Any other information regarding the transaction or the related person in
                      the context of the transaction that is material to investors in light of
                      the circumstances of the particular transaction.




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Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 12 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 133 of 256 PageID 368


      The Company, on November 30th 2010 entered into a Loan Agreement with The Barclay Group
      (TGB). TBG loaned the Company $30,000. The Note Payable is at 12% daily compounding
      interest. The Note was due December 30,th 2009. The Note is Unsecured.
      The Company is currently in default. No repayment has been made

      The Company, on January 8th 2010 entered into a Loan Agreement with The Barclay Group.
      TBG loaned the Company $10,000. The Note is payable at 12% interest. It is due March 8 th
      2010. The Note is Unsecured No payment has been made

      The Company, on January 15th 2010 the Company entered into a loan agreement with The
      Barclay Group. It loaned the company 50,000 at 12%. The Note is Unsecured.
      The Company has a Note Payable at 9.14% with monthly payments of $1,078 due August 2013
      secured by vehicles. Payments are being made.

      The Company has a Note Payable at 3.90% with monthly payments of $738 due June 2015
      secured by vehicles. Payments are being made.
      Certain officers have advanced monies to the company on an unsecured basis and non-interest
      bearing. Payment will be made out of cash flows once the Company begins operations.


      Instruction to paragraph D of Item XI:
             1. For the purposes of paragraph D of this Item XI, the term “related
                     person” means any director, executive officer, nominee for director,
                     or beneficial owner of more than five percent (5%) of any class of
                     the issuer’s equity securities, immediate family members5 of any
                     such person, and any person (other than a tenant or employee)
                     sharing the household of any such person.
             2. For the purposes of paragraph D of this Item XI, a “transaction”
                     includes, but is not limited to, any financial transaction,
                     arrangement or relationship (including any indebtedness or
                     guarantee of indebtedness) or any series of similar transactions,
                     arrangements or relationships.
             3. The “amount involved in the transaction” shall be computed by
                     determining the dollar value of the amount involved in the
                     transaction in question, which shall include:
                     a. In the case of any lease or other transaction providing for
                        periodic payments or installments, the aggregate amount of all
                        periodic payments or installments due on or after the beginning
                        of the issuer’s last fiscal year, including any required or optional
                        payments due during or at the conclusion of the lease or other
                        transaction providing for periodic payments or installments; and
                     b. In the case of indebtedness, the largest aggregate amount of all
                        indebtedness outstanding at any time since the beginning of the
                        issuer’s last fiscal year and all amounts of interest payable on it
                        during the last fiscal year.
             4. In the case of a transaction involving indebtedness:
             a. The following items of indebtedness may be excluded from the
             calculation of the amount of indebtedness and need not be disclosed:



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Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 13 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 134 of 256 PageID 369



                 amounts due from the related person for purchases of goods and services
                 subject to usual trade terms, for ordinary business travel and expense
                 payments and for other transactions in the ordinary course of business;
                 and
Not Applicable
                        b. Disclosure need not be provided of any indebtedness transaction
                            for beneficial owners of more than five percent (5%) of any class
                            of the issuer’s equity securities or such person’s family
                            members.
Not Applicable

                 5. Disclosure of an employment relationship or transaction involving an
                        executive officer and any related compensation solely resulting
                        from that employment relationship or transaction need not be
                        provided. Disclosure of compensation to a director also need not be
                        provided.
Not Applicable

                 6. A person who has a position or relationship with a firm, corporation, or
                        other entity that engages in a transaction with the issuer shall not
                        be deemed to have an indirect material interest for purposes of
                        paragraph D of this Item XI where:
Not Applicable

                        a. The interest arises only:
                                  i. From such person’s position as a director of another
                                  corporation or organization that is a party to the transaction; or
                                ii. From the direct or indirect ownership by such person and all
                                other related persons, in the aggregate, of less than a ten
                                percent (10%) equity interest in another entity (other than a
                                partnership) which is a party to the transaction; or
                              iii. From both such position and ownership; or
                        b. The interest arises only from such person’s position as a limited
                        partner in a partnership in which the person and all other related
                        persons have an interest of less than ten percent (10%), and the
                        person is not a general partner of and does not hold another position
                        in the partnership.
Not Applicable

                 7. Disclosure need not be provided pursuant to paragraph D of this Item XI
                        if:
                        a. The transaction is one where the rates or charges involved in the
                            transaction are determined by competitive bids, or the
                            transaction involves the rendering of services as a common or
                            contract carrier, or public utility, at rates or charges fixed in
                            conformity with law or governmental authority;
Not Applicable




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      Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 14 of 24
       Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 135 of 256 PageID 370



                              b. The transaction involves services as a bank depositary of funds,
                                  transfer agent, registrar, trustee under a trust indenture, or
                                  similar services; or
      Not Applicable

                              c. The interest of the related person arises solely from the
                                  ownership of a class of equity securities of the issuer and all
                                  holders of that class of equity securities of the issuer received
                                  the same benefit on a pro rata basis.
      Not Applicable

                       8. Include information for any material underwriting discounts and
                               commissions upon the sale of securities by the issuer where any of
                               the specified persons was or is to be a principal underwriter or is a
                               controlling person or member of a firm that was or is to be a
                               principal underwriter.

      Not Applicable

             E. Disclosure of Conflicts of Interest. Describe any conflicts of interest. Describe
             the circumstances, parties involved and mitigating factors for any executive
             officer or director with competing professional or personal interests.

      Not Applicable


Item XII Financial information for the issuer’s most recent fiscal period.
      Instruction to Item XII: The issuer shall post the financial statements required by this
      Item XII through the OTC Disclosure and News Service under the appropriate report
      name for the applicable period end. (If the financial statements relate to a fiscal year
      end, publish it as an “Annual Report,” or if the financial statements relate to a quarter
      end, publish it as a “Quarterly Report” or “Interim Report”) The issuer must state in its
      disclosure statement that such financial statements are incorporated by
      reference. The issuer must also (i) provide a list in the disclosure statement describing
      the financial statements that are incorporated by reference, (ii) clearly explain where the
      incorporated documents can be found, and (iii) provide a clear cross-reference to the
      specific location where the information requested by this Item can be found in the
      incorporated documents.
      The issuer shall provide the following financial statements for the most recent fiscal
      period (whether fiscal quarter or fiscal year).
      1) balance sheet;
      2) statement of income;
      3) statement of cash flows;
      4) statement of changes in stockholders’ equity;
      5) financial notes; and
      6) audit letter, if audited




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     Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 15 of 24
      Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 136 of 256 PageID 371




      Annual report has been posted to PinkSheets.com



      7) Foreign private issuers that have furnished financial statements pursuant to Rule
      12g3-2(b) under the Exchange Act can provide those same financial statements as an
      alternative to U.S. GAAP. For information regarding U.S. GAAP, see
      http://cpaclass.com/gaap/gaap-us-01a.htm.
      The financial statements requested pursuant to this item shall be prepared in
      accordance with generally accepted accounting principles (GAAP)6 by persons with
      sufficient financial skills.
      Information contained in annual financial statements will not be considered current more
      than 90 days after the end of the issuer’s fiscal year immediately following the fiscal
      year for which such statement are provided, or with respect to quarterly financial
      statements, more than 45 days after the end of the quarter immediately following the
      quarter for which such statements are provided.

Item XIII Similar financial information for such part of the two preceding fiscal years as
      the issuer or its predecessor has been in existence.
        Please provide the financial statements described in Item XII above for the issuer’s
        two preceding fiscal years.
        Instruction to Item XIII: The issuer shall either (i) attach the financial statements
        required by this Item XIII to its initial disclosure statement or (ii) post such financial
        statements through the OTC Disclosure and News Service as a separate report under
        the name of “Annual Report” for the applicable fiscal year end. The issuer must state
        in its disclosure statement that such financial statements are incorporated by
        reference. The issuer must also (x) provide a list in the disclosure statement
        describing the financial statements that are incorporated by reference, (y) clearly
        explain where the incorporated documents can be found, and (z) provide a clear
        cross-reference to the specific location where the information requested by this Item
        can be found in the incorporated documents.

      Financial Information has been posted to PinkSheets.com


      Item XIV Beneficial Owners.
          Provide a list of the name, address and shareholdings of all persons beneficially
          owning more than five percent (5%) of any class of the issuer’s equity securities.
          To the extent not otherwise disclosed, if any of the above shareholders are
          corporate shareholders, provide the name and address of the person(s) owning or
          controlling such corporate shareholders and the resident agents of the corporate
          shareholders.

      Not Applicable




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     Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 16 of 24
      Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 137 of 256 PageID 372



Item XV The name, address, telephone number, and email address of each of the
      following outside providers that advise the issuer on matters relating to
      operations, business development and disclosure:
      1. Investment Banker

      CJ Comu – The Barclay Group
      14999 Preston Road,
      Dallas, TX 75254-9116
      (972) 386-3686

      2. Promoters

      Not Applicable

      3. Counsel
      Steve Block
      BLOCK & GARDEN, LLP
      Sterling Plaza
      5949 Sherry Lane, Suite 900
      Dallas, TX 75225
      P: 214-866-0990
      F: 214-866-0991


      4. Accountant or Auditor - the information shall clearly (i) describe if an outside
         accountant provides audit or review services, (ii) state the work done by the outside
         accountant and (iii) describe the responsibilities of the accountant and the
         responsibilities of management (i.e. who audits, prepares or reviews the issuer’s
         financial statements, etc.). The information shall include the accountant’s phone
         number and email address and a description of the accountant’s licensing and
         qualifications to perform such duties on behalf of the issuer.


      Fred V. Schiemann, CPA
      Biz2Biz.Com
      429 W. Plumb Lane
      Reno, NV 89509
      (o)775-324-2012 Ext. 11
      Accountant provided review services
      Accountant assisted in putting together annual report
      Management provided all information and assembled disclosure and report


      5. Public Relations Consultant(s)

      Not Applicable


      6. Investor Relations Consultant



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      Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 17 of 24
       Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 138 of 256 PageID 373




       Not Applicable


       7. Any other advisor(s) that assisted, advised, prepared or provided information with respect to
          this disclosure statement - the information shall include the telephone number and email
          address of each advisor.

       Not Applicable



Item XVI Management’s Discussion and Analysis or Plan of Operation.
       Instructions to Item XVI
       Issuers that have not had revenues from operations in each of the last two fiscal
       years, or the last fiscal year and any interim period in the current fiscal year for which
       financial statements are furnished in the disclosure statement, shall provide the
       information in paragraphs A and C of this item. All other issuers shall provide the
       information in paragraphs B and C of this item.
       The discussion and analysis shall focus specifically on material events and
       uncertainties known to management that would cause reported financial information
       not to be necessarily indicative of future operating results or of future financial
       condition.
       Issuers are not required to supply forward-looking information. This is distinguished
       from presently known data that will impact upon future operating results, such as
       known future increases in costs of labor or materials. This latter data may be required
       to be disclosed.
             A. Plan of Operation.
                    1. Describe the issuer’s plan of operation for the next twelve months. This
                    description should include such matters as:

       The company plans to distribute Zoyte automobiles in North America.

             i. a discussion of how long the issuer can satisfy its cash requirements and
       whether It will have to raise additional funds in the next twelve months;

       The company will immediately need to raise funds to execute its business plan. The continuation of the
       business is a going concern.

               ii. a summary of any product research and development that the issuer will
               perform for the term of the plan;

       Not Applicable

               iii. any expected purchase or sale of plant and significant equipment; and

       In accordance with business plan, the company intends to raise capital for 10 vehicles to be used for crash
       testing.




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Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 18 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 139 of 256 PageID 374




        iv. any expected significant changes in the number of employees.

May hire 5-10 employees

        B. Management’s Discussion and Analysis of Financial Condition and Results of
        Operations.
               1. Full fiscal years. Discuss the issuer's financial condition, changes in
               financial condition and results of operations for each of the last two fiscal
               years. This discussion should address the past and future financial
               condition and results of operation of the issuer, with particular emphasis
               on the prospects for the future. The discussion should also address those
               key variable and other qualitative and quantitative factors that are
               necessary to an understanding and evaluation of the issuer. If material,
               the issuer should disclose the following:
        i. Any known trends, events or uncertainties that have or are reasonably likely to
        have a material impact on the issuer's short-term or long-term liquidity;

The company is dependent on additional financing for operations. If there is a lack of financing
operations will not continue. The company is currently in default of an unsecured note from The
Barclay Group. The TBG can attempt to attain capital from the Company. The continuation of
the business is a going concern.


        ii. Internal and external sources of liquidity;

The company will make sales and sell dealership rights. The company is also seeking
growth capital to fund internal growth.

        iii. Any material commitments for capital expenditures and the expected sources
        of funds for such expenditures;

The company is expected to raise and spend Five Million Dollars in executing its business plan. This
calls for getting Department of Transportation and EPA approval for its cars. Also the marketing of the
vehicles to existing dealerships.

        iv. Any known trends, events or uncertainties that have had or that are reasonably
        expected to have a material impact on the net sales or revenues or income from
        continuing operations;

General economy will have impact on sales.

v. Any significant elements of income or loss that do not arise from the issuer's
continuing operations;

Non Applicable




                                                                                            000333
Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 19 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 140 of 256 PageID 375



vi. The causes for any material changes from period to period in one or more line items
of the issuer's financial statements; and

Not Applicable

vii. Any seasonal aspects that had a material effect on the financial condition or results
of operation.

Not Applicable

                 2. Interim Periods. Provide a comparable discussion that will enable the
                 reader to assess material changes in financial condition and results of
                 operations since the end of the last fiscal year and for the comparable
                 interim period in the preceding year.

The company has acquired assets and taken on debt for those assets. The company has also secured a
material agreement to be a distributor for Zoyte.



       C. Off-Balance Sheet Arrangements.
              1. In a separately-captioned section, discuss the issuer’s off-balance sheet
              arrangements that have or are reasonably likely to have a current or future
              effect on the issuer's financial condition, changes in financial condition,
              revenues or expenses, results of operations, liquidity, capital expenditures
              or capital resources that is material to investors. The disclosure shall
              include the items specified in paragraphs C(1)(i), (ii), (iii) and (iv) of this
              Item XVI to the extent necessary to an understanding of such
              arrangements and effect and shall also include such other information that
              the issuer believes is necessary for such an understanding.

Not Applicable


       i. The nature and business purpose to the issuer of such off-balance sheet
       arrangements;

Not Applicable

       ii. The importance to the issuer of such off-balance sheet arrangements in
       respect of its liquidity, capital resources, market risk support, credit risk support
       or other benefits;

Not Applicable

       iii. The amounts of revenues, expenses and cash flows of the issuer arising from
       such arrangements; the nature and amounts of any interests retained, securities
       issued and other indebtedness incurred by the issuer in connection with such



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Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 20 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 141 of 256 PageID 376



       arrangements; and the nature and amounts of any other obligations or liabilities
       (including contingent obligations or liabilities) of the issuer arising from such
       arrangements that are or are reasonably likely to become material and the
       triggering events or circumstances that could cause them to arise; and

Not Applicable

       iv. Any known event, demand, commitment, trend or uncertainty that will result in
       or is reasonably likely to result in the termination, or material reduction in
       availability to the issuer, of its off-balance sheet arrangements that provide
       material benefits to it, and the course of action that the issuer has taken or
       proposes to take in response to any such circumstances.

               2. As used in paragraph C of this Item XVI, the term off-balance sheet
               arrangement means any transaction, agreement or other contractual
               arrangement to which an entity unconsolidated with the issuer is a party,
               under which the issuer has:
       i. Any obligation under a guarantee contract that has any of the characteristics
       identified in paragraph 3 of FASB Interpretation No. 45, Guarantor's Accounting
       and Disclosure Requirements for Guarantees, Including Indirect Guarantees of
       Indebtedness of Others (November 2002) ("FIN 45"), as may be modified or
       supplemented, and that is not excluded from the initial recognition and
       measurement provisions of FIN 45 pursuant to paragraphs 6 or 7 of that
       Interpretation;
       ii. A retained or contingent interest in assets transferred to an unconsolidated
       entity or similar arrangement that serves as credit, liquidity or market risk support
       to such entity for such assets;
       iii. Any obligation, including a contingent obligation, under a contract that would
       be accounted for as a derivative instrument, except that it is both indexed to the
       issuer's own stock and classified in stockholders' equity in the issuer's statement
       of financial position, and therefore excluded from the scope of FASB Statement
       of Financial Accounting Standards No. 133, Accounting for Derivative
       Instruments and Hedging Activities (June 1998), pursuant to paragraph 11(a) of
       that Statement, as may be modified or supplemented; or
       iv. Any obligation, including a contingent obligation, arising out of a variable
       interest (as referenced in FASB Interpretation No. 46, Consolidation of Variable
       Interest Entities (January 2003), as may be modified or supplemented) in an
       unconsolidated entity that is held by, and material to, the issuer, where such
       entity provides financing, liquidity, market risk or credit risk support to, or
       engages in leasing, hedging or research and development services with, the
       issuer.

       Instructions to paragraph C of Item XVI
       i. No obligation to make disclosure under paragraph C of this Item XVI shall arise
       in respect of an off-balance sheet arrangement until a definitive agreement that is
       unconditionally binding or subject only to customary closing conditions exists or,
       if there is no such agreement, when settlement of the transaction occurs.



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Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 21 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 142 of 256 PageID 377



       ii. Issuers should aggregate off-balance sheet arrangements in groups or
       categories that provide material information in an efficient and understandable
       manner and should avoid repetition and disclosure of immaterial information.
       Effects that are common or similar with respect to a number of off-balance sheet
       arrangements must be analyzed in the aggregate to the extent the aggregation
       increases understanding. Distinctions in arrangements and their effects must be
       discussed to the extent the information is material, but the discussion should
       avoid repetition and disclosure of immaterial information.
       iii. For purposes of paragraph C of this Item XVI only, contingent liabilities arising
       out of litigation, arbitration or regulatory actions are not considered to be off-
       balance sheet arrangements.
iv. Generally, the disclosure required by paragraph C of this Item XVI shall cover the
most recent fiscal year. However, the discussion should address changes from the
previous year where such discussion is necessary to an understanding of the
disclosure.

       In satisfying the requirements of paragraph C of this Item XVI, the discussion of
       off-balance sheet arrangements need not repeat information provided in the
       footnotes to the financial statements, provided that such discussion clearly cross-
       references to specific information in the relevant footnotes and integrates the
       substance of the footnotes into such discussion in a manner designed to inform
       readers of the
       significance of the information that is not included within the body of such
       discussion.

Part E Issuance History
Item XVII List of securities offerings and shares issued for services in the past
two years.
  List below any events, in chronological order, that resulted in changes in total shares
  outstanding by the issuer (1) within the two-year period ending on the last day of the
  issuer’s most recent fiscal year and (2) since the last day of the issuer’s most recent
  fiscal year.
  The list shall include all offerings of securities, whether private or public, and shall
  indicate:

Not Applicable

       (i) The nature of each offering (e.g., Securities Act Rule 504, intrastate, etc.);
       (ii) Any jurisdictions where the offering was registered or qualified;
       (iii) The number of shares offered;
       (iv) The number of shares sold;
       (v) The price at which the shares were offered, and the amount actually paid to
       the issuer;
       (vi) The trading status of the shares; and




                                                                                 000336
Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 22 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 143 of 256 PageID 378



       (vii) Whether the certificates or other documents that evidence the shares contain
       a legend

Not Applicable

  (1) stating that the shares have not been registered under the Securities Act and (2)
setting forth or referring to the restrictions on transferability and sale of the shares under
the Securities Act.

  The list shall also include all shares or any other securities or options to acquire such
  securities issued for services in the past two fiscal years and any interim periods,
  describing (1) the securities, (2) the persons or entities to whom such securities were
  issued and (3) the services provided by such persons or entities.
  With respect to private offerings of securities, the list shall also indicate the identity of
  the persons who purchased securities in such private offering; provided, however, that
  in the event that any such person is an entity, the list shall also indicate (a) the identity
  of each natural person beneficially owning, directly or indirectly, more than five percent
  (5%) of any class of equity securities of such entity and (b) to the extent not otherwise
  disclosed, the identity of each natural person who controlled or directed, directly or
  indirectly, the purchase of such securities for such entity.

Not Applicable




Part F Exhibits
The following exhibits must be either described in or attached to the disclosure
statement:

Item XVIII Material Contracts.
      A. Every material contract, not made in the ordinary course of business, that will
      be performed after the disclosure statement is posted through the OTC
      Disclosure and News Service or was entered into not more than two years before
      such posting. Also include the following contracts:

                 1) Any contract to which directors, officers, promoters, voting trustees,
                 security holders named in the disclosure statement, or the Designated
                 Advisor for Disclosure are parties other than contracts involving only the
                 purchase or sale of current assets having a determinable market price, at
                 such market price;

Not Applicable

                 2) Any contract upon which the issuer’s business is substantially
                 dependent, including but not limited to contracts with principal customers,
                 principal suppliers, and franchise agreements;




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Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 23 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 144 of 256 PageID 379


Not Applicable

                 3) Any contract for the purchase or sale of any property, plant or
                 equipment for consideration exceeding 15 percent of such assets of the
                 issuer; or

Not Applicable

                 4) Any material lease under which a part of the property described in the
                 disclosure statement is held by the issuer.

Not Applicable

       B. Any management contract or any compensatory plan, contract or
       arrangement, including but not limited to plans relating to options, warrants or
       rights, pension, retirement or deferred compensation or bonus, incentive or profit
       sharing (or if not set forth in any formal document, a written description thereof)
       in which any director or any executive officer of the issuer participates shall be
       deemed material and shall be included; and any other management contract or
       any other compensatory plan, contract, or arrangement in which any other
       executive officer of the issuer participates shall be filed unless immaterial in
       amount or significance.

Not Applicable

       C. The following management contracts or compensatory plans need not be
       included:

       All material contracts have:

                 1) Ordinary purchase and sales agency agreements;

Not Applicable

                 2) Agreements with managers of stores in a chain organization or similar
                 organization;

Not Applicable

                 3) Contracts providing for labor or salesmen’s bonuses or payments to a
                 class of security holders, as such; and

Not Applicable

                 4) Any compensatory plan that is available to employees, officers or
                 directors generally and provides for the same method of allocation of
                 benefits between management and non-management participants




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Case 10-03269-sgj Doc 20-2 Filed 03/02/11 Entered 03/02/11 17:13:55 Page 24 of 24
 Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 145 of 256 PageID 380


Not Applicable

Item XIX Articles of Incorporation and Bylaws.
      A. A complete copy of the issuer’s articles of incorporation or in the event that the
      issuer is not a corporation, the issuer’s certificate of organization. Whenever
      amendments to the articles of incorporation or certificate of organization are filed, a
      complete copy of the articles of incorporation or certificate of organization as
      amended shall be filed.

          Articles of Incorporation and Amendment to Articles of Incorporation have been
          posted on pink sheets

          B. A complete copy of the issuer’s bylaws. Whenever amendments to the bylaws
          are filed, a complete copy of the bylaws as amended shall be filed.

Not Applicable


Item XX Purchases of Equity Securities by the Issuer and Affiliated Purchasers.
  A. In the following tabular format, provide the information specified in paragraph (B) of this Item XX
   with respect to any purchase made by or on behalf of the issuer or any "Affiliated Purchaser” (as
  defined in paragraph (C) of this Item XX) of shares or other units of any class of the issuer's equity
        securities. Version 9.7 Updated on 07/22/2009 Page 23 of 39 ISSUER PURCHASES OF EQUITY
                                                     SECURITIES
  Period                                  Column (a)      Column (b)       Column (c)         Column (d)
                                          Total Number of Average Price    Total Number of    Maximum
                                          Shares (or      Paid per Share   Shares (or         Number (or
                                          Units)          (or Unit)        Units)             Approximate
                                          Purchased                        Purchased as       Dollar Value) of
                                                                           Part of Publicly   Shares (or
                                                                           Announced          Units) that May
                                                                           Plans or           Yet Be
                                                                           Programs           Purchased
                                                                                              Under the Plans
                                                                                              or Programs
  Month #1
  (identify beginning and ending dates)
  Month #2
  (identify beginning and ending dates)
  Month #3
  (identify beginning and ending dates)
  Total




                                                                                       000339
     Case 10-03269-sgj Doc 23 Filed 03/23/11 Entered 03/23/11 16:56:58 Page    1 of 2
                                                                          U.S. BANKRUPTCY  COURT
    Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 146 of 256 PageID
                                                                        NORTHERN 381
                                                                                   DISTRICT OF TEXAS

                                                                                             ENTERED
                                                                                            TAWANA C. MARSHALL, CLERK
                                                                                               THE DATE OF ENTRY IS
                                                                                              ON THE COURT'S DOCKET




The following constitutes the ruling of the court and has the force and effect therein described.



                                                                    United States Bankruptcy Judge
Signed March 23, 2011
                               UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

                                                   §
    IN RE:                                         §      CHAPTER 7
                                                   §
    CENGIZ J. COMU a/k/a CJ COMU,                  §      CASE NO. 09-38820-sgj7
                                                   §
                                                   §
             Debtor.                               §


    KING LOUIE MINING, LLC, KING                   §
    LOUIE ENTERPRISES, LLC, AND                    §
    RONALD KATZ,                                   §
                                                   §
             Plaintiffs,                           §
                                                   §
    v.                                             §      ADVERSARY NO. 10-03269-sgj
                                                   §
    CENGIZ J. COMU a/k/a CJ COMU,                  §
                                                   §
             Defendant.                            §

     ORDER DENYING MOTION WITHOUT PREJUDICE TO REFILING WITH PROPER
                   NOTICE TO TRUSTEE AND ALL PARTIES

             On this day, the Court considered the Motion of Plaintiffs to Leave to Prosecute Action. The

    Motion seeks approval/standing to prosecute certain Chapter 5 claims in the above-referenced

    adversary proceeding that would be property of the estate and the Trustee would have standing to


    ORDER - PAGE 1




                                                                                            000340
 Case 10-03269-sgj Doc 23 Filed 03/23/11 Entered 03/23/11 16:56:58 Page 2 of 2
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 147 of 256 PageID 382



pursue. The Motion represents that Movant has made a demand that Trustee pursue the claims and

she has unjustifiably refused. Although the Motion states that it attaches an Exhibit A demand letter

sent to the Trustee, no Exhibit A was attached to the Motion. Moreover, the Certificate of Service

does not reflect that the Motion was served on the Trustee. Moreover, the Motion should have been

filed in the main bankruptcy case with notice top creditors. WHEREFORE

       IT IS ORDERED, ADJUDGED, AND DECREED that the Motion of Plaintiffs for Leave

to Prosecute Action is hereby DENIED without prejudice to refiling in the main case, with notice to

the Trustee and creditors, and with the Exhibit A attached.

       IT IS SO ORDERED.

                                    ###END OF ORDER###




ORDER - PAGE 2




                                                                                        000341
   Case 10-03269-sgj Doc 24 Filed 03/24/11          Entered 03/24/11 10:55:35       Page 1 of 3
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14                  Page 148 of 256 PageID 383




   Dennis Olson
   State Bar No. 15273500
   OLSON NICOUD & GUECK, L.L.P.
   1201 Main Street, Suite 2470
   Dallas, Texas 75202
   (214) 979-7302 – Telephone
   (214) 979-7301 – Facsimile
   Email: denniso@dallas-law.com

   ATTORNEYS FOR CJ COMU

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

   IN RE:                                      §
                                               §
   CENGIZ J. COMU a/k/a                        §             CASE NO. 09-38820-sgj-7
   CJ COMU,                                    §
         Debtor.                               §             CHAPTER 7
   _________________________________           §
                                               §
   KING LOUIE MINING, LLC,                     §
   KING LOUIE ENTERPRISES, LLC,                §
   and RONALD KATZ,                            §
         Plaintiffs,                           §
                                               §
   v.                                          §             Adversary Case no. 10-03269-sgj
                                               §
   CENGIZ J. COMU a/k/a                        §
   CJ COMU                                     §
        Defendant.                             §

                DEFENDANT CJ COMU S THIRD MOTION TO DISMISS
            COMPLAINT, PURSUANT TO FED. RULES CIV. PROC. RULE 12(b)(6)

            NOW COMES Defendant CJ Comu, and in response to the Plaintiffs’ Second Amended

   Complaint to Revoke Discharge Pursuant to Section 727 (d) of the United States Bankruptcy

   Code (“Complaint”), files this Third Motion to Dismiss the Complaint, Pursuant to Fed. Rules

   Civ. Proc. Rule 12(b)(6) (“Motion”) and in support thereof would respectfully show the Court as


   DEFENDANT CJ COMU S THIRD MOTION TO DISMISS
   COMPLAINT, PURSUANT TO FED. RULES CIV. PROC. RULE 12(b)(6)                             Page - 1




                                                                                    000342
   Case 10-03269-sgj Doc 24 Filed 03/24/11             Entered 03/24/11 10:55:35       Page 2 of 3
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14                    Page 149 of 256 PageID 384




   follows:

          1.      This Court’s Order Conditionally Denying Second Motion to Dismiss, entered on

   February 24, 2011 has not been complied with by Plaintiffs.

          2.      Specifically, this Court’s Order entered March 23, 2011 denies Plaintiffs standing

   to pursue the Chapter 5 claims in the above-referenced adversary proceeding, and those claims

   should be deleted from Plaintiffs’ pleadings, so that Defendant need not respond to them.

          3.      A fair reading of Plaintiffs’ Second Amended Complaint does not particularly

   identify the subsections of Section 727(d) that Plaintiffs rely on, and state when and how

   Plaintiffs learned the facts which are the basis for their complaint, as required by this Court’s

   prior Order. Because the Plaintiffs do not have standing to prosecute the fraudulent transfer

   claims and have not complied with the remaining portions of this Court’s Order, Defendant

   reurges his Motion to Dismiss.

          4.      Defendant reurges his Second Motion to Dismiss (Docket Entry No. 12) and

   incorporates it by reference in support of this Motion.

          5.      Defendant reurges his Brief (Docket Entry No. 6) and incorporates it by reference

   in support of this Motion.

          6.      The Trustee, after this Court’s Order entered February 24, 2011, moved this Court

   for permission to employ an attorney, and by this Court’s Order entered March 14, 2011 (Docket

   Entry No. 31 in the main case), the Trustee has now retained counsel who has standing and

   authority to prosecute any fraudulent transfer claims under Chapter 5 in this bankruptcy case.




   DEFENDANT CJ COMU S THIRD MOTION TO DISMISS
   COMPLAINT, PURSUANT TO FED. RULES CIV. PROC. RULE 12(b)(6)                                  Page - 2




                                                                                        000343
   Case 10-03269-sgj Doc 24 Filed 03/24/11               Entered 03/24/11 10:55:35     Page 3 of 3
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14                        Page 150 of 256 PageID 385




          WHEREFORE, PREMISES CONSIDERED, Defendant CJ Comu prays that the Court,

   after notice and hearing, will dismiss the Complaint by Plaintiffs, deny all relief sought by the

   Plaintiffs, grant the Defendant his costs incurred, and grant Defendant CJ Comu such other and

   further relief as to which he may be justly entitled, either at law or in equity.

                                                  Respectfully submitted,

                                                  OLSON NICOUD & GUECK, L.L.P.
                                                  1201 Main Street, Suite 2470
                                                  Dallas, Texas 75202
                                                  (214) 979-7302 - Telephone
                                                  (214) 979-7301 – Facsimile
                                                  Email: denniso@dallas-law.com

                                                  By: /s/ Dennis Olson
                                                         Dennis Olson
                                                         State Bar No. 15273500

                                                  ATTORNEYS FOR CJ COMU

                                     CERTIFICATE OF SERVICE

          The undersigned certifies that a true and correct copy of the foregoing Defendant CJ
   Comu s Third Motion to Dismiss Complaint, Pursuant to Fed. Rules Civ. Proc. Rule 12(b)(6)
   was served upon:

   Emil Lippe, Jr.                                        Diane Reed, Trustee
   Plaza of the Americas, South Tower                     Reed & Elmquist, P.C.
   600 N. Pearl Street, Suite S 2460                      604 Water Street
   Dallas, Texas 75201                                    Waxahachie, Texas 75165-3361


   via electronic means and by cm,rrr, on the 24th day of March, 2011.

                                                           /s/ Dennis Olson
                                                          Dennis Olson




   DEFENDANT CJ COMU S THIRD MOTION TO DISMISS
   COMPLAINT, PURSUANT TO FED. RULES CIV. PROC. RULE 12(b)(6)                               Page - 3




                                                                                       000344
     Case 10-03269-sgj Doc 28 Filed 04/19/11 Entered 04/19/11 15:28:12 Page    1 of 2
                                                                          U.S. BANKRUPTCY  COURT
    Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 151 of 256 PageID
                                                                        NORTHERN 386
                                                                                   DISTRICT OF TEXAS

                                                                                         ENTERED
                                                                                       TAWANA C. MARSHALL, CLERK
                                                                                          THE DATE OF ENTRY IS
                                                                                         ON THE COURT'S DOCKET




The following constitutes the ruling of the court and has the force and effect therein described.



                                                                United States Bankruptcy Judge
Signed April 19, 2011
                              UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                §
    IN RE:                                      §    CHAPTER 7
                                                §
    CENGIZ J. COMU a/k/a CJ COMU, §             CASE NO. 09-38820-sgj7
                                                §
                                                §
             Debtor.                            §


    KING LOUIE MINING, LLC, KING                §
    LOUIE ENTERPRISES, LLC, AND                 §
    RONALD KATZ,                                §
                                                §
             Plaintiffs,                        §
                                                §
    v.                                          §      ADVERSARY NO. 10-03269-sgj
                                                §
    CENGIZ J. COMU a/k/a CJ COMU, §
                                                §
             Defendant.                         §

                                          AGREED ORDER

             On this day, the Court considered the Unopposed Motion for Extension of Time to File

    Response. Upon due consideration, the Court is of the opinion that the following order should be

    entered.

    AGREED ORDER - PAGE 1




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 Case 10-03269-sgj Doc 28 Filed 04/19/11 Entered 04/19/11 15:28:12 Page 2 of 2
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 152 of 256 PageID 387




       IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Plaintiffs’

Unopposed Motion for Extension of Time to File Response is hereby GRANTED. Plaintiffs’

response to C.J. Comu’s Third Motion to Dismiss Complaint is to be submitted on April 28, 2011.
       IT IS SO ORDERED.


AGREED:


/s/ Emil Lippe, Jr.
Emil Lippe, Jr., Counsel for Plaintiffs


/s/ Dennis Olson
Dennis Olson, Counsel for Defendant


                                     ###END OF ORDER###




AGREED ORDER - PAGE 2




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Case 10-03269-sgj Doc 30 Filed 04/28/11 Entered 04/28/11 15:57:00 Page 1 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 153 of 256 PageID 388



                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                              §
IN RE:                                        §      CHAPTER 7
                                              §
CENGIZ J. COMU a/k/a CJ COMU,                 §      CASE NO. 09-38820-sgj7
                                              §
                                              §
         Debtor.                              §


KING LOUIE MINING, LLC, KING                  §
LOUIE ENTERPRISES, LLC, AND                   §
RONALD KATZ,                                  §
                                              §
         Plaintiffs,                          §
                                              §
v.                                            §      ADVERSARY NO. 10-03269-sgj
                                              §
CENGIZ J. COMU a/k/a CJ COMU,                 §
                                              §
         Defendant.                           §

                       PLAINTIFFS’ RESPONSE TO DEFENDANT’S
                   THIRD MOTION TO DISMISS AND SUPPORTING BRIEF

TO THE HONORABLE STACEY G.C. JERNIGAN, UNITED STATES BANKRUPTCY JUDGE:

         King Louie Mining, LLC, King Louie Enterprises, LLC, and Ronald Katz, Plaintiffs, hereby

file this Response to Defendant’s Third Motion to Dismiss Complaint, and in support thereof would

show as follows:

                                         BACKGROUND

         1.      Plaintiffs have alleged that Defendant CJ Comu has concealed the existence of, or

misrepresented the value and extent of, assets that he owns and controls, primarily through a

complex corporate structure involving Sunset Pacific, L.P. , and a company that he controls through

PLAINTIFFS’ RESPONSE TO DEFENDANT’S
THIRD M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 1




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Case 10-03269-sgj Doc 30 Filed 04/28/11 Entered 04/28/11 15:57:00 Page 2 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 154 of 256 PageID 389



his control of Sunset Pacific, known as The Barclay Group, Inc. (“The Barclay Group”), either by

failing to disclose the assets or purposely undervaluing numerous business interests, valuable stock,

and other assets.1 Although other people, including Comu’s wife, are listed as having controlling

interests in Sunset Pacific and The Barclay Group, such entities are mere alter egos of Defendant

Comu that exist for his personal use and benefit. On information and belief, in at least one instance,

and likely more, the transfer of these controlling interests occurred shortly before Comu filed for

bankruptcy, but were postdated to shield the assets from the bankruptcy proceedings.

        2.       A limited ownership interest in Sunset Pacific, and an indirectly owned interest in the

Barclay Group, were disclosed in Comu’s Schedules. At the First Meeting of Creditors herein,

Defendant testified that he had fully disclosed his assets and liabilities on the Schedules he filed with

the Court. He further claimed that his interest in certain corporations, partnerships, and other entities

was correctly disclosed in these Schedules.

        3.       Investigation by the Plaintiffs after the discharge was granted revealed that Defendant

Comu’s true interests in Sunset Pacific and The Barclay Group, Inc., were grossly misrepresented

to the Creditors herein. Plaintiffs have determined that Comu is exercising complete control and

dominance of such companies and their assets, that Comu has been receiving an ongoing influx of

new opportunities and business through such entities, and even somehow loaned $50,000 to a

company in which he indirectly had an interest at the same time that he was allegedly bankrupt.

Defendant Comu has numerous other additional valuable interests, as identified in Plaintiffs’ Second

Amended Complaint, that were not disclosed to the creditors herein. Accordingly, Plaintiffs have



        1
            See PLAINTIFFS’ SECOND AMENDED COMPLAINT , Filed March 2, 2011, Docket No. 20.

PLAINTIFFS’ RESPONSE TO DEFENDANT’S
THIRD M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 2




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Case 10-03269-sgj Doc 30 Filed 04/28/11 Entered 04/28/11 15:57:00 Page 3 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 155 of 256 PageID 390



alleged that the discharge was obtained by fraud under Section 727(d)(1) of the United States

Bankruptcy Code, and further that Comu earned income and acquired interests in property that were

not reported to the trustee in violation of Section 727(d)(2) of the United States Bankruptcy Code.

        4.        Defendant Comu now seeks to dismiss Plaintiffs’ Second Amended Complaint,

having filed his third motion to dismiss, again attempting to forestall the need to answer Plaintiffs’

allegations on the merits.

                                            ARGUMENT

                                                   I.

             THE TRUSTEE HAS JOINED OR WILL JOIN THIS PROCEEDING

        5.        The Trustee was granted permission by this Court on March 14, 2011, to employ the

firm of Reed & Elmquist, P.C. On information and belief, the Trustee has employed the

aforementioned firm in order to represent the Trustee in the prosecution of this adversarial action.

Because the Trustee has joined or will join the proceeding, there is no question of standing related

to this action.

        6.        Further, although Defendant’s Third Motion to Dismiss asserts that this Court denied

standing for Plaintiffs in its March 23, 2011 Order, said Order merely denied Plaintiffs’ Motion for

Leave without prejudice so that Plaintiffs could refile the Motion in the main bankruptcy case to give

notice to top creditors. Plaintiffs have not refiled the Motion because the Trustee has joined or will

join this proceeding. In an abundance of caution, Plaintiffs incorporate and reurge their arguments

for standing found in their Motion for Leave filed herein at Docket No.19.




PLAINTIFFS’ RESPONSE TO DEFENDANT’S
THIRD M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 3




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Case 10-03269-sgj Doc 30 Filed 04/28/11 Entered 04/28/11 15:57:00 Page 4 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 156 of 256 PageID 391



                                                II.

            PLAINTIFFS HAVE SATISFIED THIS COURT’S PLEADING ORDER

       7.      This Court’s Order Conditionally Denying Second Motion to Dismiss, entered on

February 24, 2011, has been fully satisfied by the Plaintiffs. Plaintiffs’ Second Amended Complaint

clearly identifies the sections of 727(d) under which Plaintiffs seek relief. See PLAINTIFFS’ SECOND

AMENDED COMPLAINT , ¶ 38, 46-47 (identifying 727(d)(1) and 727(d)(2)). Further, Plaintiffs have

stated how and when they learned of the facts which serve the basis of the complaint:

       “Plaintiffs were not aware of these fraudulent transfers, hidden assets and
       employment positions of Comu prior to the Discharge herein, as set forth below in
       greater detail. Instead, Plaintiffs first learned of information concerning such
       concealed assets and fraudulent transfers beginning around June, 2010, from
       informants who had dealt personally with Comu ”

PLAINTIFFS’ SECOND AMENDED COMPLAINT , ¶ 28. Plaintiffs have acted reasonably prudent in their

discovery of the claims and the bringing of this proceeding. Plaintiffs’ investigation into the

fraudulent conduct of the Defendant continues to this day, but discovery is required to full discern

his elaborate, fraudulent scheme.

                                               III.

                      PLAINTIFFS’ COMPLAINT STATES A CLAIM
                          FOR RELIEF UNDER RULE 12(b)(6)

       8.      Motions to dismiss for failure to state a claim under Rule 12(b)(6) are viewed with

disfavor and are rarely granted.2 Accordingly, the Court must take all factual allegations in the




       2
         Southern Christian Leadership Conference v. Supreme Court, 252 F.3d 781, 786 (5th
Cir. 2001).

PLAINTIFFS’ RESPONSE TO DEFENDANT’S
THIRD M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 4




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Case 10-03269-sgj Doc 30 Filed 04/28/11 Entered 04/28/11 15:57:00 Page 5 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 157 of 256 PageID 392



Plaintiff’s pleading as true.3 In evaluating a motion to dismiss for failure to state a claim, “all

questions of fact and any ambiguities in the current controlling substantive law must be resolved in

the plaintiff's favor." 4

        9.        "To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’"5 And unless it appears

"beyond a doubt that the plaintiff can prove no set of facts in support of his claim which would

entitle him to relief," the complaint should not be dismissed for failure to state a claim.6 While much

has been said about the recent decisions of the Supreme Court which supposedly have tightened the

pleading requirements, it is still clear that specific allegation of all facts is not necessary. As the

Supreme Court explained in Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), allegations simply

need to set forth a plausible basis for relief, not mere formulaic recitations:

                  While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need
                  detailed factual allegations, ibid., a plaintiff's obligation to provide the "grounds" of
                  his "entitle[ment] to relief" requires more than labels and conclusions, and a
                  formulaic recitation of a cause of action's elements will not do. Factual allegations
                  must be enough to raise a right to relief above the speculative level on the assumption
                  that all of the complaint's allegations are true. Applying these general standards to
                  a § 1 claim, stating a claim requires a complaint with enough factual matter to
                  suggest an agreement. Asking for plausible grounds does not impose a probability
                  requirement at the pleading stage; it simply calls for enough fact to raise a reasonable
                  expectation that discovery will reveal evidence of illegal agreement.

        3
           Lormand v. US Unwired, Inc., 565 F.3d 228, 232 (5th Cir. 2009); Lewis v. Fresne, 252
F.3d 352, 357 (5th Cir. 2001); accord McKinney v. Irving Indep. Sch. Dist., 309 F.3d 308, 310
(5th Cir. 2002).
        4
            Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009).
        5
            Iqbal, 129 S. Ct. at 1949 (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570
(2007)).
        6
            Conley v. Gibson, 355 U.S. 41, 45-46 (1957).

PLAINTIFFS’ RESPONSE TO DEFENDANT’S
THIRD M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 5




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Case 10-03269-sgj Doc 30 Filed 04/28/11 Entered 04/28/11 15:57:00 Page 6 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 158 of 256 PageID 393



Id. In applying these standards to Plaintiffs’ Amended Complaint, it is clear that the Complaint

adequately alleges specific facts, and sets forth a plausible basis for recovery.

        10.       Defendant again contends that Plaintiffs’ Second Amended Complaint failed to state

a claim for which relief can be granted by reincorporating its previous motions to dismiss. In doing

so, Defendant relies upon previous motions that point to no specific defect in the Plaintiffs’

complaint. Ironically, it is the Second Motion to Dismiss which violates the spirit of Bell Atlantic

Corp. v. Twombly, by resorting to conclusory allegations, labels and conclusions, and a formulaic

recital of boilerplate assertions.

        11.       Plaintiffs have alleged that Defendant Comu obtained a bankruptcy discharge by

failing to disclose his true interests in a variety of businesses and assets, including but certainly not

limited to his alter egos Sunset Pacific, L.P. and The Barclay Group, Inc., in violation of 11 U.S.C.

§727(d)(1) and §727(d)(2). Plaintiffs have asserted a number of facts upon which said allegation is

based.7 Plaintiffs have further asserted that the discovery of this alleged fraud did not occur until

after the discharge was granted, beginning around June, 2010 with additional details and facts being

discovered continuously up to present.8 Because, for purposes of Rule 12(b)(6), the Court must

accept all of Plaintiffs’ factual allegations as true, Plaintiffs have absolutely stated a claim upon

which relief may be granted, clearly putting Defendant on notice of Plaintiffs’ claims, and

Defendant’s motion must be denied.




        7
            See PLAINTIFFS’ SECOND AMENDED COMPLAINT , Filed March 2, 2011, Docket No. 20.
        8
            Id.

PLAINTIFFS’ RESPONSE TO DEFENDANT’S
THIRD M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 6




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Case 10-03269-sgj Doc 30 Filed 04/28/11 Entered 04/28/11 15:57:00 Page 7 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 159 of 256 PageID 394



                                                   IV.

   PLAINTIFFS’ COMPLAINT DOES NOT LACK THE REQUIRED SPECIFICITY
   UNDER SECTION 727(d) AND EVEN IF IT DID, SUCH A DEFECT WOULD NOT
      MAKE THE COMPLAINT SUBJECT TO A RULE 12(b)(6) DISMISSAL

       12.        Additionally, Defendant, through incorporating his previous Motions in his latest

Motion to Dismiss, argues that Plaintiffs’ Second Amended Complaint lacks the specificity required

under Section 727(d)(1) of the United States Bankruptcy Code. Though Defendant did not reference

Rule 9(b) of the Federal Rules of Civil Procedure in his motion, the “who, what, when, where and

why” standard for specificity and/or particularity used for Rule 9(b) is similarly used for 727(d)(1).9

Plaintiffs have alleged that through fraudulent transfers, Defendant CJ Comu has hidden and

misrepresented the true nature of his holdings in multiple business entities, which he operates as alter

egos, and numerous other assets in order to obtain a bankruptcy discharge from this Court. Such

allegations satisfy the “who, what, when, where and why” pleading standard for Section 727(d)(1).

       13.        Further, so long as the circumstances constituting the fraud have been sufficiently set

forth, it is not necessary for the Plaintiffs to plead each fraudulent detail.10 Again, the overarching

requirement is that the “plausibility” standard of Bell Atlantic Corp. v. Twombly must be met.

Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009). In fact, because Plaintiff did not discover this fraud

until after the discharge, Plaintiffs did not have the ability to request additional documents or

conduct any discovery into the matter. Plaintiffs cannot plead the full extent of Defendant’s fraud




        9
            Rezin v. Barr (In re Barr), 207 B.R. 168, 173 (Bankr. N.D. Ill. 1997).
        10
             See e.g., Sutliff, Inc. v. Donovan Companies, Inc., 727 F.2d 648, 653 (7th Cir. 1984).

PLAINTIFFS’ RESPONSE TO DEFENDANT’S
THIRD M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 7




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Case 10-03269-sgj Doc 30 Filed 04/28/11 Entered 04/28/11 15:57:00 Page 8 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 160 of 256 PageID 395



until they obtain discovery.11

       14.       As noted, Plaintiffs are confident that the present pleadings contain the required

specificity or particularity required under Section 727(d)(1), but even if the pleadings did not, such

a defect would not support a Rule 12(b)(6) motion to dismiss:

       “ While the [complaints] lack the required specificity, the Court cannot conclude that
       MEI has failed to state a claim under §727(d)(1) upon which relief can be granted.
       MEI has alleged fraudulent pre- and post-petition conduct which was not discovered
       until after entry of the discharge. These allegations are sufficient for Rule 12(b)(6)
       purposes, and the Court cannot conclude at this point in the proceeding that MEI is
       incapable of proving a set of facts upon which the discharge must be revoked.” 12

At this point in the proceedings, Plaintiffs are not required to plead the 727(d)(1) claims with

particularity or specificity.13 Plaintiffs must merely satisfy Rule 12(b)(6) and state a claim upon

which relief may be granted. Even so, as discussed previously, Plaintiffs have pleaded with the

required fraud specificity and, more importantly, Plaintiffs allegations assuredly satisfy Rule

12(b)(6).

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that, Defendant Debtor’s Third

Motion to Dismiss be denied, and that Plaintiffs recover their reasonable attorney’s fees incurred

defending the Motion, and for general relief.

                                                Respectfully submitted,




       11
           See Katz v. Household Inter., Inc., 91 F.3d 1036, 1040 (7th Cir. 1996)(holding that a
Plaintiff is not required to plead to fraudulent facts that they have yet to discover prior to
discovery).
       12
          Motor Enters., Inc. v. Gonzalez (In re Gonzalez), 2003 Bankr. LEXIS 2166 (Bankr.
S.D. Ind. Oct. 20, 2003)(internal citations removed).
       13
            See id.

PLAINTIFFS’ RESPONSE TO DEFENDANT’S
THIRD M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 8




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Case 10-03269-sgj Doc 30 Filed 04/28/11 Entered 04/28/11 15:57:00 Page 9 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 161 of 256 PageID 396



                                       LAW OFFICES OF LIPPE & ASSOCIATES



                                 By:    /s/ Emil Lippe, Jr.
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                                       State Bar No. 12398300
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                                       ATTORNEYS FOR PLAINTIFFS KING LOUIE
                                       MINING, LLC, KING LOUIE ENTERPRISES, LLC,
                                       AND RONALD KATZ




PLAINTIFFS’ RESPONSE TO DEFENDANT’S
THIRD M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 9




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Case 10-03269-sgj Doc 30 Filed 04/28/11 Entered 04/28/11 15:57:00 Page 10 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 162 of 256 PageID 397



                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 28th        day of April, 2011, I electronically

submitted the foregoing document with the Clerk of the Court for the U.S. Bankruptcy Court,

Northern District of Texas, using the electronic case filing system of the Court, which will then send

a notification of such filing to the following:

       Dennis Olson
       Olson, Nicoud & Gueck, L.L.P.
       1201 Main St., Ste 2470
       Dallas, TX 75202


                                                   /s/ Emil Lippe, Jr.
                                                  Emil Lippe, Jr.




PLAINTIFFS’ RESPONSE TO DEFENDANT’S
THIRD M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 10




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 Case 10-03269-sgj Doc 31 Filed 05/04/11 Entered 05/04/11 16:58:54 Page 1 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 163 of 256 PageID 398




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 Case 10-03269-sgj Doc 31 Filed 05/04/11 Entered 05/04/11 16:58:54 Page 2 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 164 of 256 PageID 399




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 Case 10-03269-sgj Doc 31 Filed 05/04/11 Entered 05/04/11 16:58:54 Page 3 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 165 of 256 PageID 400




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 Case 10-03269-sgj Doc 31 Filed 05/04/11 Entered 05/04/11 16:58:54 Page 4 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 166 of 256 PageID 401




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     Case 10-03269-sgj Doc 32 Filed 05/06/11 Entered 05/06/11 16:04:57 Page    1 of 2
                                                                          U.S. BANKRUPTCY  COURT
    Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 167 of 256 PageID
                                                                        NORTHERN 402
                                                                                   DISTRICT OF TEXAS

                                                                                      ENTERED
                                                                                     TAWANA C. MARSHALL, CLERK
                                                                                        THE DATE OF ENTRY IS
                                                                                       ON THE COURT'S DOCKET




The following constitutes the ruling of the court and has the force and effect therein described.



                                                               United States Bankruptcy Judge
Signed May 06, 2011


                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

    IN RE:                              §     CASE NO. 09-38820-SGJ-7
                                        §
    CENGIZ J. COMU,                     §     CHAPTER 7
                                        §
    DEBTOR.                             §
    ____________________________________________________________________________

    KING LOUIE MINING, LLC,          §
    KING LOUIE ENTERPRISES, LLC, AND §
    RONALD KATZ,                     §
                                     §
         Plaintiffs,                 §
                                     §
    v.                               §                 ADV. NO. 10-03269-sgj
                                     §
    CENGIZ J. COMU a/k/a CJ COMU,    §
                                     §
         Defendant.                  §

          ORDER GRANTING UNOPPOSED MOTION FOR CONTINUANCE OF
       HEARING ON THIRD MOTION TO DISMISS COMPLAINT, OF DOCKET CALL
                     AND RELATED PRETRIAL DEADLINES

             On this date the Court considered the Unopposed Motion for Continuance of Hearing on

    Third Motion to Dismiss Complaint, of Docket Call and Related Pretrial Deadlines filed by

    Diane G. Reed, Chapter 7 Trustee of the estate of Cenzig J. Comu, Defendant herein (the

    "Trustee"), on May 4, 2011 (the "Motion"). Through the Motion, the Court has been informed

    ORDER GRANTING UNOPPOSED MOTION FOR CONTINUANCE OF HEARING ON THIRD MOTION TO DISMISS
    COMPLAINT, OF DOCKET CALL AND RELATED PRETRIAL DEADLINES - PAGE 1 OF 1
                                                                                     000361
 Case 10-03269-sgj Doc 32 Filed 05/06/11 Entered 05/06/11 16:04:57 Page 2 of 2
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 168 of 256 PageID 403

that the parties do not oppose the requested continuance of the hearing on the Third Motion to

Dismiss, currently set for May 9, 2011, or the trial docket call in this matter currently scheduled

for June 13, 2011, or the related discovery and other pretrial deadlines as provided in the

Amended Scheduling Order entered on February 1, 2011 (the "Scheduling Order"), and that

cause exists for granting the continuance extensions requested by the Trustee.

       It is therefore ORDERED that the Motion is granted.

       It is further ORDERED that the hearing on the Third Motion to Dismiss is continued

until July 11, 2011 at 10:30 a.m.

       It is further ORDERED that the trial docket call in this matter is continued until

September 12, 2011 at 1:30 p.m.

       It is further ORDERED that the discovery and other pretrial deadlines are extended as

provided in the Amended Scheduling Order.

                                    # # # END OF ORDER # # #




ORDER GRANTING UNOPPOSED MOTION FOR CONTINUANCE OF HEARING ON THIRD MOTION TO DISMISS
COMPLAINT, OF DOCKET CALL AND RELATED PRETRIAL DEADLINES - PAGE 2 OF 2
                                                                                      000362
 Case 10-03269-sgj Doc 36 Filed 07/06/11 Entered 07/06/11 13:35:22 Page 1 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 169 of 256 PageID 404




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 Case 10-03269-sgj Doc 36 Filed 07/06/11 Entered 07/06/11 13:35:22 Page 2 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 170 of 256 PageID 405




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 Case 10-03269-sgj Doc 36 Filed 07/06/11 Entered 07/06/11 13:35:22 Page 3 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 171 of 256 PageID 406




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 Case 10-03269-sgj Doc 36 Filed 07/06/11 Entered 07/06/11 13:35:22 Page 4 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 172 of 256 PageID 407




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     Case 10-03269-sgj Doc 37 Filed 07/08/11 Entered 07/08/11 08:53:08 Page    1 of 2
                                                                          U.S. BANKRUPTCY  COURT
    Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 173 of 256 PageID
                                                                        NORTHERN 408
                                                                                   DISTRICT OF TEXAS

                                                                                         ENTERED
                                                                                       TAWANA C. MARSHALL, CLERK
                                                                                          THE DATE OF ENTRY IS
                                                                                         ON THE COURT'S DOCKET




The following constitutes the ruling of the court and has the force and effect therein described.



                                                                United States Bankruptcy Judge
Signed July 07, 2011


                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

    IN RE:                              §     CASE NO. 09-38820-SGJ-7
                                        §
    CENGIZ J. COMU,                     §     CHAPTER 7
                                        §
    DEBTOR.                             §
    ____________________________________________________________________________

    KING LOUIE MINING, LLC,          §
    KING LOUIE ENTERPRISES, LLC, AND §
    RONALD KATZ,                     §
                                     §
         Plaintiffs,                 §
                                     §
    v.                               §                 ADV. NO. 10-03269-sgj
                                     §
    CENGIZ J. COMU a/k/a CJ COMU,    §
                                     §
         Defendant.                  §

       ORDER GRANTING SECOND UNOPPOSED MOTION FOR CONTINUANCE OF
       HEARING ON THIRD MOTION TO DISMISS COMPLAINT, OF DOCKET CALL
                     AND RELATED PRETRIAL DEADLINES

             On this date the Court considered the Second Unopposed Motion for Continuance of

    Hearing on Third Motion to Dismiss Complaint, of Docket Call and Related Pretrial Deadlines

    filed by Diane G. Reed, Chapter 7 Trustee of the estate of Cenzig J. Comu, Defendant herein (the

    "Trustee"), on July 6, 2011 (the "Motion"). Through the Motion, the Court has been informed

    ORDER GRANTING SECOND UNOPPOSED MOTION FOR CONTINUANCE OF HEARING ON THIRD MOTION TO
    DISMISS COMPLAINT, OF DOCKET CALL AND RELATED PRETRIAL DEADLINES - PAGE 1 OF 1
                                                                                       000367
 Case 10-03269-sgj Doc 37 Filed 07/08/11 Entered 07/08/11 08:53:08 Page 2 of 2
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 174 of 256 PageID 409

that the parties do not oppose the requested continuance of the hearing on the Third Motion to

Dismiss, currently set for July 11, 2011, or the trial docket call in this matter currently scheduled

for September 12, 2011, or the related discovery and other pretrial deadlines as provided in the

Amended Scheduling Order entered on February 1, 2011 (the "Scheduling Order"), and that

cause exists for granting the continuance extensions requested by the Trustee.

       It is therefore ORDERED that the Motion is granted.

       It is further ORDERED that the hearing on the Third Motion to Dismiss is continued

until September 15, 2011 at 9:30 a.m.

       It is further ORDERED that the trial docket call in this matter is continued until

December 12, 2011 at 1:30 p.m.

       It is further ORDERED that the discovery and other pretrial deadlines are extended as

provided in the Amended Scheduling Order.

                                   # # # END OF ORDER # # #




ORDER GRANTING SECOND UNOPPOSED MOTION FOR CONTINUANCE OF HEARING ON THIRD MOTION TO
DISMISS COMPLAINT, OF DOCKET CALL AND RELATED PRETRIAL DEADLINES - PAGE 2 OF 2
                                                                                        000368
 Case 10-03269-sgj Doc 39 Filed 08/24/11 Entered 08/24/11 11:30:56 Page 1 of 5
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 175 of 256 PageID 410




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 Case 10-03269-sgj Doc 39 Filed 08/24/11 Entered 08/24/11 11:30:56 Page 2 of 5
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 176 of 256 PageID 411




                                                                    000370
 Case 10-03269-sgj Doc 39 Filed 08/24/11 Entered 08/24/11 11:30:56 Page 3 of 5
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 177 of 256 PageID 412




                                                                    000371
 Case 10-03269-sgj Doc 39 Filed 08/24/11 Entered 08/24/11 11:30:56 Page 4 of 5
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 178 of 256 PageID 413




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 Case 10-03269-sgj Doc 39 Filed 08/24/11 Entered 08/24/11 11:30:56 Page 5 of 5
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 179 of 256 PageID 414




                                                                    000373
     Case 10-03269-sgj Doc 40 Filed 08/31/11 Entered 08/31/11 08:48:25 Page    1 of 3
                                                                          U.S. BANKRUPTCY  COURT
    Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 180 of 256 PageID
                                                                        NORTHERN 415
                                                                                   DISTRICT OF TEXAS

                                                                                         ENTERED
                                                                                       TAWANA C. MARSHALL, CLERK
                                                                                          THE DATE OF ENTRY IS
                                                                                         ON THE COURT'S DOCKET




The following constitutes the ruling of the court and has the force and effect therein described.



                                                                United States Bankruptcy Judge
Signed August 30, 2011



                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

    IN RE:                              §     CASE NO. 09-38820-SGJ-7
                                        §
    CENGIZ J. COMU,                     §     CHAPTER 7
                                        §
    DEBTOR.                             §
    ____________________________________________________________________________

    KING LOUIE MINING, LLC,          §
    KING LOUIE ENTERPRISES, LLC, AND §
    RONALD KATZ,                     §
                                     §
         Plaintiffs,                 §
                                     §
    v.                               §                 ADV. NO. 10-03269-sgj
                                     §
    CENGIZ J. COMU a/k/a CJ COMU,    §
                                     §
         Defendant.                  §

                             AGREED ORDER GRANTING
                   AGREED MOTION TO ABATE ADVERSARY PROCEEDING

             On this day came on for consideration the Agreed Motion to Abate Adversary Proceeding

    filed by Diane G. Reed, Chapter 7 Trustee of the estate of Cengiz J. Comu, Defendant herein (the

    "Trustee"), on August 5, 2011 (the "Motion"). The Court finds that the parties have agreed to

    abate the adversary proceeding pending the Trustee's determination of whether or not to

    AGREED ORDER GRANTING AGREED MOTION TO ABATE ADVERSARY PROCEEDING
    - Page 1 of 3
                                                                                       000374
 Case 10-03269-sgj Doc 40 Filed 08/31/11 Entered 08/31/11 08:48:25 Page 2 of 3
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 181 of 256 PageID 416

intervene in this adversary proceeding, as evidenced by their signatures on the Motion and this

Agreed Order. It is therefore

         ORDERED that Adversary Proceeding No. 10-03269-sgj, styled King Louie Mining,

LLC, King Louis Enterprises, LLC, and Ronald Katz, Plaintiffs v. Cengiz J. Comu, Defendant,

including any hearing on the Motion to Dismiss, is abated until further order of the Court.

         It is further ORDERED that all discovery and other pretrial deadlines as provided in the

Amended Scheduling Order are abated until such time as the Court terminates this abatement by

further order.

                                   # # # END OF ORDER # # #
AGREED:

REED & ELMQUIST, P.C.
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Waxahachie, TX 75165
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By:      /s/ David W. Elmquist
      David W. Elmquist – SBT #06591300

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FOR THE ESTATE OF CENGIZ J. COMU

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ATTORNEYS FOR PLAINTIFFS




AGREED ORDER GRANTING AGREED MOTION TO ABATE ADVERSARY PROCEEDING
- Page 2 of 3
                                                                                      000375
 Case 10-03269-sgj Doc 40 Filed 08/31/11 Entered 08/31/11 08:48:25 Page 3 of 3
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 182 of 256 PageID 417

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ATTORNEYS FOR DEFENDANT




AGREED ORDER GRANTING AGREED MOTION TO ABATE ADVERSARY PROCEEDING
- Page 3 of 3
                                                                    000376
     Case 10-03269-sgj Doc 48 Filed 05/24/12 Entered 05/24/12 11:38:52 Page    1 of 2
                                                                          U.S. BANKRUPTCY  COURT
    Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 183 of 256 PageID
                                                                        NORTHERN 418
                                                                                   DISTRICT OF TEXAS

                                                                                         ENTERED
                                                                                       TAWANA C. MARSHALL, CLERK
                                                                                          THE DATE OF ENTRY IS
                                                                                         ON THE COURT'S DOCKET




The following constitutes the ruling of the court and has the force and effect therein described.



                                                                United States Bankruptcy Judge
Signed May 15, 2012



                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

    IN RE:                              §     CASE NO. 09-38820-SGJ-7
                                        §
    CENGIZ J. COMU,                     §     CHAPTER 7
                                        §
    DEBTOR.                             §
    ____________________________________________________________________________

    KING LOUIE MINING, LLC,          §
    KING LOUIE ENTERPRISES, LLC, AND §
    RONALD KATZ,                     §
                                     §
         Plaintiffs,                 §
                                     §
    v.                               §                  ADV. NO. 10-03269-sgj
                                     §
    CENGIZ J. COMU a/k/a CJ COMU,    §
                                     §
         Defendant.                  §

                          SUPPLEMENTAL ORDER GRANTING
                   AGREED MOTION TO ABATE ADVERSARY PROCEEDING

             ON May 2, 2012, a status conference was held in this adversary proceeding during which

    the Court further considered the Agreed Motion to Abate Adversary Proceeding filed by Diane

    G. Reed, Chapter 7 Trustee of the estate of Cengiz J. Comu, Defendant herein (the "Trustee"), on

    August 24, 2011 (the "Motion"). The Court finds that the parties have agreed to continue to

    SUPPLEMENTAL ORDER GRANTING AGREED MOTION TO ABATE ADVERSARY PROCEEDING
    - Page 1 of 2
                                                                                       000377
 Case 10-03269-sgj Doc 48 Filed 05/24/12 Entered 05/24/12 11:38:52 Page 2 of 2
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 184 of 256 PageID 419

abate the adversary proceeding pending the Trustee's determination of whether or not to

intervene in this adversary proceeding. It is therefore

       ORDERED that Adversary Proceeding No. 10-03269-sgj, styled King Louie Mining,

LLC, King Louis Enterprises, LLC, and Ronald Katz, Plaintiffs v. Cengiz J. Comu, Defendant,

including any hearing on the Motion to Dismiss, is abated until August 1, 2012.

       It is further ORDERED that the parties shall appear for a status conference to be held

during the week of July 30, 2012, unless the Trustee has filed prior to the date of such status

conference a motion to intervene in this adversary proceeding. Upon the filing of such motion,

the Trustee shall promptly notify the Court, cancel the status conference and set the motion to

intervene for hearing.

       It is further ORDERED that all discovery and other pretrial deadlines as provided in the

Amended Scheduling Order are abated until further order of the Court.

                                   # # # END OF ORDER # # #




SUPPLEMENTAL ORDER GRANTING AGREED MOTION TO ABATE ADVERSARY PROCEEDING
- Page 2 of 2
                                                                                  000378
     Case 10-03269-sgj Doc 50 Filed 08/07/12 Entered 08/07/12 08:42:45 Page    1 of 2
                                                                          U.S. BANKRUPTCY  COURT
    Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 185 of 256 PageID
                                                                        NORTHERN 420
                                                                                   DISTRICT OF TEXAS

                                                                                 ENTERED
                                                                                TAWANA C. MARSHALL, CLERK
                                                                                   THE DATE OF ENTRY IS
                                                                                  ON THE COURT'S DOCKET




The following constitutes the ruling of the court and has the force and effect therein described.



                                                           United States Bankruptcy Judge
Signed August 06, 2012




                           UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

    In re:                        §
                                  §
    CENGIZ J. COMU a/k/a/ CJ COMU,§    Case No. 09-38820-SGJ-7
         Debtor.                  §
    _________________________________________________________________

    KING LOUIE MINING, et al.,    §
         Plaintiffs.              §
                                  §
    v.                            §                Adversary No. 10-03269-SGJ
                                  §
    CENGIZ J. COMU a/k/a CJ COMU, §
         Defendant.               §

          ORDER TERMINATING ABATEMENT OF ADVERSARY PROCEEDING AND
    REQUIRING: (A) TRUSTEE’S COMPLAINT IN INTERVENTION TO BE FILED BY
     8/31/2012; AND (B) PARTIES TO UPLOAD AGREED SCHEDULING ORDER, OR
       IN THE ALTERNATIVE, COURT WILL ENTER ITS OWN SCHEDULING ORDER

           The court conducted a status conference (the “Status

    Conference”) on July 31, 2012 in the above-referenced adversary

    proceeding (the “Adversary Proceeding”).                At the Status

    Conference, the court heard reports from counsel regarding

    ongoing Rule 2004 examinations as well as an intent by the



                                                                                000379
 Case 10-03269-sgj Doc 50 Filed 08/07/12 Entered 08/07/12 08:42:45 Page 2 of 2
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 186 of 256 PageID 421


chapter 7 trustee in the underlying bankruptcy case, Diane G.

Reed (the “Trustee”), to file a Complaint in Intervention.              Based

on these representations at the Status Conference, it is

     ORDERED that the abatement of this Adversary Proceeding is

terminated; it is further

     ORDERED that the Complaint in Intervention shall be filed by

the Trustee by August 31, 2012; it is further

     ORDERED that the parties in the Adversary Proceeding shall

upload an agreed form of scheduling order by September 14, 2012

(the “Agreed Scheduling Order”), which includes specific

deadlines pertaining to the pending Motion to Dismiss filed by

the defendant, Cengiz J. Comu [DE # 24] (the “Motion to

Dismiss”); and it is further

     ORDERED that if the parties do not upload the Agreed

Scheduling Order, the court will upload its own form of

scheduling order, which contemplates a January 2013 trial docket

call and certain specific deadlines pertaining to the Motion to

Dismiss.

                            ###END OF ORDER###




                                     -2-



                                                                    000380
Case 10-03269-sgj Doc 53 Filed 09/05/12 Entered 09/05/12 20:29:21 Page 1 of 14
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 187 of 256 PageID 422




                                                                    000381
Case 10-03269-sgj Doc 53 Filed 09/05/12 Entered 09/05/12 20:29:21 Page 2 of 14
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 188 of 256 PageID 423




                                                                    000382
Case 10-03269-sgj Doc 53 Filed 09/05/12 Entered 09/05/12 20:29:21 Page 3 of 14
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 189 of 256 PageID 424




                                                                    000383
Case 10-03269-sgj Doc 53 Filed 09/05/12 Entered 09/05/12 20:29:21 Page 4 of 14
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 190 of 256 PageID 425




                                                                    000384
Case 10-03269-sgj Doc 53 Filed 09/05/12 Entered 09/05/12 20:29:21 Page 5 of 14
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 191 of 256 PageID 426




                                                                    000385
Case 10-03269-sgj Doc 53 Filed 09/05/12 Entered 09/05/12 20:29:21 Page 6 of 14
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 192 of 256 PageID 427




                                                                    000386
Case 10-03269-sgj Doc 53 Filed 09/05/12 Entered 09/05/12 20:29:21 Page 7 of 14
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 193 of 256 PageID 428




                                                                    000387
Case 10-03269-sgj Doc 53 Filed 09/05/12 Entered 09/05/12 20:29:21 Page 8 of 14
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 194 of 256 PageID 429




                                                                    000388
Case 10-03269-sgj Doc 53 Filed 09/05/12 Entered 09/05/12 20:29:21 Page 9 of 14
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 195 of 256 PageID 430




                                                                    000389
Case 10-03269-sgj Doc 53 Filed 09/05/12 Entered 09/05/12 20:29:21 Page 10 of 14
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 196 of 256 PageID 431




                                                                    000390
Case 10-03269-sgj Doc 53 Filed 09/05/12 Entered 09/05/12 20:29:21 Page 11 of 14
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 197 of 256 PageID 432




                                                                    000391
Case 10-03269-sgj Doc 53 Filed 09/05/12 Entered 09/05/12 20:29:21 Page 12 of 14
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 198 of 256 PageID 433




                                                                    000392
Case 10-03269-sgj Doc 53 Filed 09/05/12 Entered 09/05/12 20:29:21 Page 13 of 14
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 199 of 256 PageID 434




                                                                    000393
Case 10-03269-sgj Doc 53 Filed 09/05/12 Entered 09/05/12 20:29:21 Page 14 of 14
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 200 of 256 PageID 435




                                                                    000394
     Case 10-03269-sgj Doc 54 Filed 09/06/12 Entered 09/06/12 10:18:57 Page    1 of 2
                                                                          U.S. BANKRUPTCY  COURT
    Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 201 of 256 PageID
                                                                        NORTHERN 436
                                                                                   DISTRICT OF TEXAS

                                                                                       ENTERED
                                                                                     TAWANA C. MARSHALL, CLERK
                                                                                        THE DATE OF ENTRY IS
                                                                                       ON THE COURT'S DOCKET




The following constitutes the ruling of the court and has the force and effect therein described.



                                                               United States Bankruptcy Judge
Signed September 04, 2012



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

    IN RE:                              §     CASE NO. 09-38820-SGJ-7
                                        §
    CENGIZ J. COMU,                     §     CHAPTER 7
                                        §
    DEBTOR.                             §
    ____________________________________________________________________________

    KING LOUIE MINING, LLC,          §
    KING LOUIE ENTERPRISES, LLC, AND §
    RONALD KATZ,                     §
                                     §
         Plaintiffs,                 §
                                     §
    v.                               §                ADV. NO. 10-03269-sgj
                                     §
    CENGIZ J. COMU a/k/a CJ COMU,    §
                                     §
         Defendant.                  §

      ORDER GRANTING TRUSTEE'S UNOPPOSED MOTION TO EXTEND DEADLINE
                   TO FILE A COMPLAINT IN INTERVENTION

             On this day came on for consideration the Trustee's Unopposed Motion to Extend

    Deadline to File a Complaint in Intervention filed by Diane G. Reed, Chapter 7 Trustee of the

    estate of Cengiz J. Comu, Defendant herein (the "Trustee"), on August 31, 2012 (the "Motion").

    The Court finds that the Plaintiffs and Defendant do not oppose the relief requested in the

    ORDER GRANTING TRUSTEE'S UNOPPOSED MOTION TO EXTEND DEADLINE TO FILE A
    COMPLAINT IN INTERVENTION - Page 1 of 2
                                                                                     000395
 Case 10-03269-sgj Doc 54 Filed 09/06/12 Entered 09/06/12 10:18:57 Page 2 of 2
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 202 of 256 PageID 437

Motion and that good cause exists for granting the extension of the deadline requested by the

Trustee. It is therefore

       ORDERED that the deadline of August 31, 2012 for the Trustee to file a complaint in

intervention established in this Court's Order Terminating Abatement of Adversary Proceeding

and Requiring: (A) Trustee's Complaint in Intervention to be Filed by 8/31/2012; and (B) Parties

to Upload Agreed Scheduling Order, or in the Alternative, Court Will Enter its Own Scheduling

Order [Docket No. 50], is hereby extended to September 5, 2012.

                                 # # # END OF ORDER # # #




ORDER GRANTING TRUSTEE'S UNOPPOSED MOTION TO EXTEND DEADLINE TO FILE A
COMPLAINT IN INTERVENTION - Page 2 of 2
                                                                                   000396
     Case 10-03269-sgj Doc 59 Filed 09/20/12 Entered 09/20/12 15:17:59 Page    1 of 4
                                                                          U.S. BANKRUPTCY  COURT
    Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 203 of 256 PageID
                                                                        NORTHERN 438
                                                                                   DISTRICT OF TEXAS

                                                                                 ENTERED
                                                                                TAWANA C. MARSHALL, CLERK
                                                                                   THE DATE OF ENTRY IS
                                                                                  ON THE COURT'S DOCKET




The following constitutes the ruling of the court and has the force and effect therein described.



                                                           United States Bankruptcy Judge
Signed September 19, 2012




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

    IN RE:                              §     CASE NO. 09-38820-SGJ-7
                                        §
    CENGIZ J. COMU,                     §     CHAPTER 7
                                        §
    DEBTOR.                             §
    ____________________________________________________________________________
    KING LOUIE MINING, LLC,             §
    KING LOUIE ENTERPRISES, LLC, AND §
    RONALD KATZ,                        §
          Plaintiffs,                   §
                                        §
    v.                                  §     ADV. NO. 10-03269-sgj
                                        §
    CENGIZ J. COMU a/k/a CJ COMU,       §
          Defendant.                    §
    ____________________________________§
    DIANE G. REED, TRUSTEE,             §
          Intervenor, Co-plaintiff and  §
          Third-party Plaintiff,        §
                                        §
    v.                                  §
                                        §
    CENGIZ J. COMU,                     §
          Defendant                     §
                                        §
    and                                 §
                                        §
    PHYLLIS E. COMU,                    §


    AGREED SCHEDULING ORDER - Page 1
                                                                                000397
 Case 10-03269-sgj Doc 59 Filed 09/20/12 Entered 09/20/12 15:17:59 Page 2 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 204 of 256 PageID 439



BERNARD D. BROWN,                             §
THE BARCLAY GROUP, INC. AND                   §
SUNSET PACIFIC , LP,                          §
     Third-party Defendants.                  §

                              AGREED SCHEDULING ORDER

       The parties represent that they have agreed to the terms of this Agreed Scheduling Order. It

is hereby ORDERED that the following schedule of deadlines shall be in effect until further order of

this Court:

September 30, 2012                    Deadline for response to Defendant Cengiz J. Comu's Third
                                      Amended Motion to Dismiss.

October 9, 2012                       Deadline for Defendants' answers to Trustee's Complaint in
                                      Intervention (or otherwise respond to the Complaint in
                                      Intervention).

October 9, 2012                       Deadline for reply to Plaintiffs' response to Defendant Cengiz
                                      J. Comu's Third Amended Motion to Dismiss.

October 12, 2012                      Parties to hold settlement and discovery conference pursuant
                                      to Rule 7026(f).

October 26, 2012                      Initial disclosures under Rule 7026(a) shall be exchanged.

October 31, 2012 at 9:30 a.m.         Hearing on Defendant Cengiz J. Comu's Third Amended
                                      Motion to Dismiss.

March 8, 2013                         Deadline for Plaintiffs' expert reports.

April 8, 2013                         Deadline for Defendants' expert reports.

May 8, 2013                           Discovery must be completed.

May 17, 2013                          Deadline for filing dispositive motions.

May 24, 2013                          Deadline for filing Daubert motions.

June 24, 2013                         Deadline for filing witness and exhibit lists and exchange of
                                      marked exhibits.

June 24, 2013                         Deadline for hearing on Daubert motions.

June 28, 2013                         Deadline for filing joint pre-trial order.



AGREED SCHEDULING ORDER - Page 2
                                                                                       000398
 Case 10-03269-sgj Doc 59 Filed 09/20/12 Entered 09/20/12 15:17:59 Page 3 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 205 of 256 PageID 440



June 28, 2013                            Deadline for filing proposed findings of fact and conclusions
                                         of law.

June 28, 2013                            Deadline for filing trial briefs.

July 1, 2013                             Deadline to hold Pretrial Conference (if trial will exceed 1
                                         day).

July 8, 2013 at 1:30 p.m.                Trial docket call.

July 15, 2013                            Trial week.


         IT IS FURTHER ORDERED at Docket Call, all parties and their counsel must certify to

full compliance with this Order. If a resetting is allowed by the Court, the Plaintiffs' attorneys shall

notify all parties in interest and shall file with the Clerk a certificate of service indicating the manner,

date and to whom the notice was given.

         IT IS FURTHER ORDERED sanctions may be imposed for failure to comply with this

Order.

                                       ### END OF ORDER ###

AGREED:

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By:      /s/ David W. Elmquist
      David W. Elmquist – SBT #06591300

ATTORNEYS FOR INTERVENOR, CO-PLAINTIFF,
AND THIRD-PARTY PLAINTIFF




AGREED SCHEDULING ORDER - Page 3
                                                                                              000399
 Case 10-03269-sgj Doc 59 Filed 09/20/12 Entered 09/20/12 15:17:59 Page 4 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 206 of 256 PageID 441




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      Emil Lippe, Jr. - SBT #12398300

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By:      /s/ Dennis Olson
      Dennis Olson - SBT #15273500

ATTORNEYS FOR DEFENDANT AND
THIRD-PARTY DEFENDANTS




AGREED SCHEDULING ORDER - Page 4
                                                                    000400
 Case 10-03269-sgj Doc 61 Filed 09/28/12 Entered 09/28/12 16:31:36 Page 1 of 5
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 207 of 256 PageID 442



                            UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                               §
IN RE:                                         §       CHAPTER 7
                                               §
CENGIZ J. COMU a/k/a CJ COMU,                  §       CASE NO. 09-38820-sgj7
                                               §
                                               §
         Debtor.                               §


KING LOUIE MINING, LLC, KING                   §
LOUIE ENTERPRISES, LLC, AND                    §
RONALD KATZ,                                   §
                                               §
         Plaintiffs,                           §
                                               §
v.                                             §       ADVERSARY NO. 10-03269-sgj
                                               §
CENGIZ J. COMU a/k/a CJ COMU,                  §
                                               §
         Defendant.                            §

              PLAINTIFFS’ SUPPLEMENTAL RESPONSE TO DEFENDANT’S
                THIRD MOTION TO DISMISS AND SUPPORTING BRIEF

TO THE HONORABLE STACEY G.C. JERNIGAN, UNITED STATES BANKRUPTCY JUDGE:

         King Louie Mining, LLC, King Louie Enterprises, LLC, and Ronald Katz, Plaintiffs, hereby

file this Supplemental Response to Defendant’s Third Motion to Dismiss, and in support thereof

would show as follows:

         1.      Plaintiffs have brought claims against Defendant CJ Comu alleging that he has hidden

and misrepresented, primarily through a complex corporate structure involving Sunset Pacific, L.P.,

and a company that he controls through Sunset Pacific, known as The Barclay Group, Inc. (“The

Barclay Group”), numerous business interests, valuable stock, and other assets. Defendant has since

PLAINTIFFS’ SUPPLEM ENTAL RESPONSE TO DEFENDANT’S
THIRD M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 1




                                                                                        000401
 Case 10-03269-sgj Doc 61 Filed 09/28/12 Entered 09/28/12 16:31:36 Page 2 of 5
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 208 of 256 PageID 443



filed three Motions to Dismiss, particularly related to Plaintiffs’ standing absent the Trustee.1

        2.       On September 5, 2012, the Trustee filed her complaint in intervention, as Co-

Plaintiff, against Defendant Comu, adding Phyllis E. Comu (Defendant CJ Comu’s wife), Bernard

D. Brown (an alleged business partner of Defendant CJ Comu), The Barclay Group, and Sunset

Pacific as third-party defendants.2 The Trustee’s allegations in said complaint generally trace those

found in Plaintiffs’ complaint.

        3.       Though this Court has previously ruled that Plaintiffs did not have standing to pursue

fraudulent transfer claims under Chapter 5 of the Bankruptcy Code, it is undisputed that the Trustee

has such standing. Further, Plaintiffs have brought detailed and specific claims pursuant to Section

727(d) seeking a revocation of the discharge herein. By the clear terms of the statute, Plaintiffs have

standing to bring such claims and Plaintiffs remain proper parties before this Court. See 11 USCS

§ 727(d). Plaintiffs respectfully submit that, if any assets are omitted from disclosure because they

are held in the name of other entities that are alter egos of the Debtor, or the recipients of fraudulent

conveyances, the omission of such assets from the schedules is a violation of law. See e.g. Meisel

v. Gratch (In re Gratch), 2010 Bankr. LEXIS 2876 (Bankr. D.N.J. Aug. 25, 2010).

        4.       Defendant’s Third Motion to Dismiss asserts that Plaintiffs have not pled their claims

with the required specificity under FRCP 12(b)(6) and that Plaintiffs claims should be dismissed.

Plaintiffs have previously responded this argument in their Response to Defendant’s Third Motion



        1
        Today, concurrent to the filing of this supplemental response, Plaintiff filed their Third
Amended Complaint adding additional claims based upon discovery obtained during several
Rule 2004 examinations herein.
        2
            Trustee’s Complaint in Intervention, Docket No. 53.

PLAINTIFFS’ SUPPLEM ENTAL RESPONSE TO DEFENDANT’S
THIRD M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 2




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 Case 10-03269-sgj Doc 61 Filed 09/28/12 Entered 09/28/12 16:31:36 Page 3 of 5
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 209 of 256 PageID 444



to Dismiss, Docket No. 30, filed April 28, 2011. Plaintiffs would reurge the arguments contained

therein.

        5.      Specifically, Plaintiffs have met, and exceeded, the pleading standards under Rule

12(b)(6), which requires merely that a complaint “contain sufficient factual matter, accepted as true,

to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009).

Further, the information discovered in the Rule 2004 examination of Comu substantially bolsters

Plaintiffs claims and, indeed, has provided Plaintiffs with yet more relevant facts related to Comu’s

fraudulent conduct. See Katz v. Household Inter., Inc., 91 F.3d 1036, 1040 (7th Cir. 1996)(holding

that a Plaintiff is not required to plead to fraudulent facts that they have yet to discover). These facts

are now pled in Plaintiffs’ Third Amended Complaint, filed concurrent to this filing. Though

Plaintiffs are confident their previous complaint satisfies the applicable pleading standards, there can

be no doubt that their new complaint goes far beyond any relevant pleading standard.

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that, Defendant Debtor’s Third

Motion to Dismiss be denied, and that Plaintiffs recover their reasonable attorney’s fees incurred

defending the Motion, and for general relief.

                                                 Respectfully submitted,

                                                 LAW OFFICES OF LIPPE & ASSOCIATES


                                         By:      /s/ Emil Lippe, Jr.
                                                 Emil Lippe, Jr.
                                                 State Bar No. 12398300
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PLAINTIFFS’ SUPPLEM ENTAL RESPONSE TO DEFENDANT’S
THIRD M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 3




                                                                                             000403
 Case 10-03269-sgj Doc 61 Filed 09/28/12 Entered 09/28/12 16:31:36 Page 4 of 5
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 210 of 256 PageID 445



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                                       ATTORNEYS FOR PLAINTIFFS KING LOUIE
                                       MINING, LLC, KING LOUIE ENTERPRISES, LLC,
                                       AND RONALD KATZ




PLAINTIFFS’ SUPPLEM ENTAL RESPONSE TO DEFENDANT’S
THIRD M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 4




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 Case 10-03269-sgj Doc 61 Filed 09/28/12 Entered 09/28/12 16:31:36 Page 5 of 5
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 211 of 256 PageID 446



                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 28th day of September, 2012, I electronically

submitted the foregoing document with the Clerk of the Court for the U.S. Bankruptcy Court,

Northern District of Texas, using the electronic case filing system of the Court, which will then send

a notification of such filing to the following:

       Dennis Olson
       Olson, Nicoud & Gueck, L.L.P.
       1201 Main St., Ste 2470
       Dallas, TX 75202


                                                   /s/ Emil Lippe, Jr.
                                                  Emil Lippe, Jr.




PLAINTIFFS’ SUPPLEM ENTAL RESPONSE TO DEFENDANT’S
THIRD M OTION TO DISM ISS AND SUPPORTING BRIEF - Page 5




                                                                                        000405
Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 1 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 212 of 256 PageID 447



                        UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                          §
IN RE:                                    §      CHAPTER 7
                                          §
CENGIZ J. COMU a/k/a CJ COMU,             §      CASE NO. 09-38820-sgj7
                                          §
                                          §
         Debtor.                          §


DIANE G. REED, TRUSTEE OF THE     §
ESTATE OF CENZIG J. COMU, KING    §
LOUIE MINING, LLC, KING           §
LOUIE ENTERPRISES, LLC, AND       §
RONALD KATZ,                      §
                                  §
      Plaintiffs and Intervenor,  §
                                  §
v.                                §              ADVERSARY NO. 10-03269-sgj
                                  §
CENGIZ J. COMU a/k/a CJ COMU,     §
SUNSET PACIFIC, L.P., THE BARCLAY §
GROUP, INC., TKY TRUST, DAPTCO    §
TRUST, MARATHON MANAGEMENT §
LIMITED COMPANY, REGUS            §
ADVISORS, INC., PHYLLIS E. COMU, §
and BERNARD D. BROWN,             §
,                                 §
                                  §
      Defendants.                 §

    PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
 PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE

TO THE HONORABLE STACEY G.C. JERNIGAN, UNITED STATES BANKRUPTCY JUDGE:

         King Louie Mining, LLC, King Louie Enterprises, LLC, and Ronald Katz, Plaintiffs,

pursuant to Sections 544, 547, 550, and 727(d) of the United States Bankruptcy Code (11


PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                   - PAGE 1




                                                                              000406
Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 2 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 213 of 256 PageID 448



U.S.C.§§101, et seq., the “Bankruptcy Code”) and Rules 7001, et seq. of the Federal Bankruptcy

Rules, complain of Debtor, Cengiz J. Comu a/k/a CJ Comu (“Debtor”), Sunset Pacific L.P., The

Barclay Group, Inc.,TKY Trust, DAPTCO Trust, Phyllis E. Comu, and Bernard D. Brown, as

Defendants, and hereby file this their Third Amended Complaint to Revoke Discharge Pursuant to

Section 727(d) of the United States Bankruptcy Code, and in support thereof would respectfully

show as follows:

                        A. PARTIES, JURISDICTION AND VENUE

       1.      Plaintiff King Louie Mining, LLC, is a Delaware limited liability company with

principal offices and place of business at 8 Wheatley Avenue, Albertson, New York 11507.

       2.      Plaintiff King Louie Enterprises, LLC, is a Delaware limited liability company with

principal offices and place of business at 8 Wheatley Avenue, Albertson, New York 11507.

       3.      Ronald Katz is a resident of the State of New York and is a creditor herein.

       4.      Debtor, Cengiz Jan Comu a/k/a C.J. Comu, is an individual residing in Dallas County,

Texas. Debtor filed a voluntary petition under Chapter 7 of the Bankruptcy Code on December 31,

2009 (the “Petition Date”), in the United States Bankruptcy Court for the Northern District of Texas,

Dallas Division (the “Bankruptcy Court”), and fraudulently obtained a discharge on April 14, 2010.

Debtor may be served with process by serving his attorney of record in this bankruptcy case, Dennis

Oliver Olson, Olson, Nicoud & Gueck, LLP, 1201 Main Street, Suite 2470, Dallas, TX 75202.

       5.      Defendant Sunset Pacific L.P. is limited partnership formed under the laws of the

State of Texas and may be served with process through its general partner, CJ Comu, through his

attorney of record, Dennis Oliver Olson, Olson, Nicoud & Gueck, LLP, 1201 Main Street, Suite

2470, Dallas, TX 75202.

PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                             - PAGE 2




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Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 3 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 214 of 256 PageID 449



       6.      Defendant The Barclay Group, Inc. is a Texas corporation and may be served with

process through its officer and “managing partner,” CJ Comu, through his attorney of record, Dennis

Oliver Olson, Olson, Nicoud & Gueck, LLP, 1201 Main Street, Suite 2470, Dallas, TX 75202.

Barclay is the alter ego of Debtor and is under his domination and control.

       7.      Defendant Marathon Management Limited Company (“Marathon”)                    is, on

information and belief, a Nevada limited liability company, which has had its charter revoked, of

which Comu is the Managing Member. Marathon is the alter ego of Comu, and may be served with

process by serving Comu through his attorney of record, Dennis Oliver Olson, Olson, Nicoud &

Gueck, LLP, 1201 Main Street, Suite 2470, Dallas, TX 75202.

       8.      Defendant Regus Advisors, Inc., (“Regus”) is a business name utilized by Comu, who

holds himself out as its “Managing Partner.” It purports to be the successor to Barclay, claiming to

have “over twenty years” of experience, although it was only recently created. It may be served with

process by serving Comu through his attorney of record, Dennis Oliver Olson, Olson, Nicoud &

Gueck, LLP, 1201 Main Street, Suite 2470, Dallas, TX 75202.

       9.      Defendant TKY Trust is, on information and belief, a trust formed under the laws of

Canada purportedly belonging to Defendant CJ Comu’s brother, Cem Comu, but which has been at

all times since its formation under the control of Debtor, and is his alter ego. TKY Trust is

transacting business within the State of Texas within the meaning of §17.042 of the Texas Civil

Practice and Remedies Code, by entering into a contract with a Texas resident to be performed by

either party within the State, and by committing a tort within the State of Texas. Accordingly, such

Defendant has been deemed to have appointed the Texas Secretary of State as its agent for service

of process pursuant to §17.044 of the Texas Civil Practice and Remedies Code, who shall forward

PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                            - PAGE 3




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Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 4 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 215 of 256 PageID 450



the citation and complaint via certified mail, return receipt requested, to such Defendant in care of

Cem Comu, 7391 Williams Road, Richmond, British Columbia, CANADA V7A 1E8.

       10.     Defendant DAPTCO Trust is, on information and belief, a trust formed under the

laws of Canada purportedly belonging to Defendant CJ Comu’s brother, Cem Comu, but which has

been at all times since its formation under the control of Debtor, and is his alter ego. DAPTCO

Trust is transacting business within the State of Texas within the meaning of §17.042 of the Texas

Civil Practice and Remedies Code, by entering into a contract with a Texas resident to be performed

by either party within the State, and by committing a tort within the State of Texas. Accordingly,

such Defendant has been deemed to have appointed the Texas Secretary of State as its agent for

service of process pursuant to §17.044 of the Texas Civil Practice and Remedies Code, who shall

forward the citation and complaint via certified mail, return receipt requested, to such Defendant in

care of Cem Comu, 7391 Williams Road, Richmond, British Columbia, CANADA V7A 1E8.

       11.     Defendant Phyllis E. Comu, the wife of Debtor CJ Comu, is an individual resident

of Dallas County, Texas, who may be served through service upon her attorney, Dennis Oliver

Olson, Olson, Nicoud & Gueck, LLP, 1201 Main Street, Suite 2470, Dallas, TX 75202. At all

material times, Phyllis Comu has been the wife of Debtor, and, pursuant to the community property

laws of the State of Texas, her assets were deemed to be those of the Debtor also.

       12.     Defendant Bernard D. Brown is an individual who is a resident of a foreign country,

who is transacting business within the State of Texas within the meaning of §17.042 of the Texas

Civil Practice and Remedies Code, by entering into a contract with a Texas resident to be performed

by either party within the State, and by committing a tort within the State of Texas. Accordingly,

such Defendant has been deemed to have appointed the Texas Secretary of State as his agent for

PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                             - PAGE 4




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Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 5 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 216 of 256 PageID 451



service of process pursuant to §17.044 of the Texas Civil Practice and Remedies Code, who shall

forward the citation and complaint via certified mail, return receipt requested, to such Defendant at

his home address. Alternatively, such Defendant may be served by serving his attorney of record.

        13.     This Court has jurisdiction over the parties and this controversy under 28 U.S.C.

§§157 and 1334. Although Debtor has been granted a discharge, his discharge must be set aside

pursuant to 11 U.S.C. §§727(d)(1) and (2). This adversary proceeding is a core proceeding under

28 U.S.C.§157(b)(2)(J).

        14.     Venue of this proceeding is proper under 28 U.S.C.§1409.

                                   B. FACTUAL BACKGROUND

                                      Procedural Background

        15.     On January 15, 2010, Debtor filed his Schedules, Statement of Financial Affairs,

Chapter 7 Individual Debtor’s Statement of Intention, and Chapter 7 Statement of Current Monthly

Income and Means-Test Calculation(collectively, the “Bankruptcy Filings”). On April 14, 2010, in

reliance upon the schedules filed by the Debtor, the Court granted a discharge. On information and

belief, the Trustee likewise relied upon the schedules filed by the Debtor in failing to file any actions

contesting discharge prior to the date of discharge. Plaintiffs bring this action to revoke the discharge

because the same was procured through a fraud upon the Court and in violation of law.

Subsequently, the Trustee conducted 2004 examinations, and has intervened herein to assert claims

parallel to those of Plaintiffs.

                                       C.J. Comu background

        16.     Comu has a long prior record of white-collar crimes and nefarious business practices,

and is subject to a permanent injunction issued by the United States Securities and Exchange

PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                                - PAGE 5




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Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 6 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 217 of 256 PageID 452



Commission (“SEC”). On November 1, 1989, the SEC entered an Order of Permanent Injunction

against Comu based on his dealings with a company called Oreo Mines, Inc., prohibiting him from

selling unregistered securities. The SEC order also demanded that Comu disgorge $80,000, but

waived this demand because of his inability to pay.

       17.     On April 9, 1999, the State of Wisconsin – Division of Securities found that Comu

had sold unregistered securities in violation of Wisconsin securities law and entered a permanent

injunction barring Comu from selling unregistered securities in Wisconsin. Also, Comu was placed

on criminal probation for two years in Texas in or around the early 1990s in connection with a car

leasing operation he started under the name of Transworld Leasing. In or around 2002, Comu was

investigated by the SEC in connection with his activities as chief executive officer in a company

called AirTech International Group, Inc., and he invoked his Fifth Amendment right against self-

incrimination during testimony taken by the SEC.

       18.     Comu was the founder and CEO of a company known as Humitech International

Group, Inc. (“Humitech”). Humitech was a publicly-owned company. Comu was previously the CEO

of another public-owned company, Airtech International Group, Inc.(“Airtech”). Comu obtained the

idea and business opportunity to found Humitech while CEO of Airtech, and diverted such

opportunity to the new company, which he controlled.

       19.     Ever since at least May, 2003, the lenders of Airtech had been pursuing claims against

Comu for such diversion of corporate opportunity, fraud, and fraudulent transfer. The claims were

twice dismissed under stipulations that the dismissals would be without prejudice and the statutes

of limitations were tolled. Ultimately, Comu was a Defendant in New Millennium Capital Partners

II, LLC and AJW Partners LLC v. Humitech International Group Inc., and CJ Comu, Case No: 3:06-

PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                             - PAGE 6




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Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 7 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 218 of 256 PageID 453



CV-1180-L, formerly pending in the United States District Court for the Northern District of Texas,

Dallas Division, in which case a judgment was ultimately obtained against him. On information and

belief, beginning with the creation of Humitech and the filing of the New Millenium lawsuit, Comu

has been engaged in systematically concealing assets and making fraudulent transfers to keep his

assets from creditors.

                     Plaintiffs’ Involvement with Comu and his Schemes

       20.     In 2003, through an introduction by a mutual acquaintance, Comu approached Ronald

Katz (“Katz”) to obtain funds for Humitech to purchase certain alleged mining rights for the material

utilized by Humitech in manufacturing its products. This ultimately led to Katz’s company, King

Louie Mining, LLC (“KLM”), lending money to Humitech for this purpose.

       21.     On May 21, 2004, in a simultaneous closing, KLM loaned $3,000,000 to Humitech,

and HDC purchased certain worthless mining rights for $1,940,000, and Comu received a $500,000

kickback from the seller. Although Comu owed fiduciary duties to his employer, Humitech, and its

lender, KLM, to fully disclose such kickback, he fraudulently withheld such information.

       22.     Katz did not discover the kickback scheme until over two years later, when Humitech

defaulted on the loan from KLM, and KLM foreclosed on the stock of HDC. Comu had arranged

with the seller to receive such kickback by a payment to his alter ego, a partnership known as Sunset

Pacific, LP, (“Sunset Pacific”).

       23.     Plaintiffs filed suit against Comu, and, on April 30, 2009, KLM obtained a Judgment

in New York state court against Comu for a total of $2,279,265.16. KLM subsequently domesticated

this as a Texas judgment, and was pressing for postjudgment discovery from Comu when this

bankruptcy proceeding was filed. For years prior to the filing of the petition herein, and certainly


PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                             - PAGE 7


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Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 8 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 219 of 256 PageID 454



throughout the year 2009, Debtor was fully aware of the claims being made by Plaintiffs herein, and

was operating to hide his assets from creditors such as Plaintiffs.

        24.     Comu filed this Bankruptcy Proceeding at a time when Plaintiffs were pressing their

efforts in Texas State Court to collect upon the judgment against Comu, and had filed a motion to

compel production of financial information to assist in collecting the judgment. Between April 30,

2009, and the filing of the Bankruptcy Petition herein on December 31, 2009, Comu frantically

engaged in a scheme to place his assets even further from his creditors’ reach.

                           Filing of Fraudulent Bankruptcy Schedules

        25.     Immediately after the filing of his Bankruptcy Petition, Comu and his wife, Defendant

Phyllis Comu, went on an extended cruise, an interesting action to take immediately after claiming

to be bankrupt with little or no assets to pay creditors. After returning, refreshed and recharged, from

his cruise, Comu filed his Bankruptcy Schedules on January 15, 2010. In his schedules, Comu

claimed to own only a 1% interest in Sunset Pacific, L.P., and a 1% indirect interest in The Barclay

Group, Inc. Comu completely concealed from the Bankruptcy Court the fact that his wife, Defendant

Phyllis Comu, purportedly owned 98% of Sunset Pacific, even though they were Texas residents and,

under Texas community property law, the ownership of Sunset Pacific was an asset of this Estate.

        26.     At the First Meeting of Creditors herein, Comu falsely testified that he had fully

disclosed his assets and liabilities on his Schedules. He further claimed that his interest in certain

corporations, partnerships, and other entities was correctly disclosed in his Schedules.

                                         Sunset Pacific, L.P.

        27.     Allegedly in 2006, Comu purportedly transferred 98% ownership of Sunset Pacific

to his wife, Phyllis Comu, for no consideration. This was done shortly after Katz had discovered


PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                               - PAGE 8


                                                                                          000413
Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 9 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 220 of 256 PageID 455



Comu’s illegal kickback scheme and was beginning to pursue litigation against Comu, and was done

to attempt to remove the value of Sunset Pacific from the reach of Comu’s creditors. Comu further

caused Sunset Pacific to use part of its ill-gotten gains from the kickback transaction to purchase a

$250,000 annuity.

        28.     The 98% interest in Sunset Pacific was “transferred” to Comu’s wife, Defendant

Phyllis Comu, for no value, according to her own testimony, and was done for the purpose and intent

of defrauding creditors, in violation of 11 U.S.C. §544(b)(1) and the Texas Uniform Fraudulent

Transfer Act (“TUFTA”), specifically §24.005(a)(1), TEX. BUS. AND COMM. CODE. Such transfer

was concealed from the creditors and Trustee herein until after the petition herein was filed. The

transfer to Phyllis Comu was a sham and a fraud, for no legitimate business purpose, because Phyllis

Comu had not previously done anything to operate Sunset Pacific, and Comu continued to control

its activities after the alleged conveyance.

        29.     Throughout the existence of Sunset Pacific, Comu has dominated and controlled its

activities, and has described such entity as one of his “nominees.” Sunset Pacific’s charter has been

forfeited at various times, from August, 2000, to March, 2001, from December, 2006, to September,

2007, and from March, 2012, forward. Comu is, and has been at all times, the sole manager of such

entity, and uses it to shield his assets from his creditors. Phyllis Comu has received large payments

from Sunset Pactific for her spending money, despite the fact that she has done nothing to manage

the entity or to earn such distributions.

                                        The Barclay Group

        30.     Comu caused the incorporation of the Barclay Group (“Barclay”) in March, 1996.

Although the corporate charter of Barclay was forfeited by the Texas Secretary of State from


PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                             - PAGE 9


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Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 10 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 221 of 256 PageID 456



February 11, 2000, to January 18, 2008, Comu continued doing business under the name of The

Barclay Group and acting as its sole director and officer. Barclay’s charter was again forfeited in

January,2011, and Comu continues operating through such name.

        31.     Comu has dominated and controlled Barclay throughout its existence. He is the sole

person operating the company, and exercises sole dominion over it. Although Defendant Bernard

Brown purportedly owns 99% of Barclay, he apparently takes no active role in the company. Comu

regularly utilizes Barclay’s checking account as if it were his own personal checking account,

utilizing it for his everyday living expenses.

        32.     On information and belief, throughout the history of The Barclay Group, Comu has

utilized such entity, utterly in violation of his ongoing permanent injunction obtained by the SEC,

to facilitate and participate in distribution of securities. Barclay has followed the business model and

pattern first utilized by Comu with Airtech and Humitech, which goes as follows. Comu first takes

control of a non-public company. Then he acquires control of a public shell corporation, and merges

the two entities, such that the business of the non-public entity is now owned by the former shell

company which is already a public company. He then obtains large numbers of shares of stock in

the “new” public entity, and distributes them to hundreds of unsuspecting investors through a maze

of brokers and middlemen. Comu has used this business model repeatedly, raising millions of

dollars through illegal stock sales being done in violation of the permanent SEC injunction, and The

Barclay Group has been his primary mechanism for conducting such activities for over a decade.

        33.     As he was approaching his day of reckoning, when Plaintiffs had obtained the New

York judgment, domesticated the same in Texas, and were pursuing postjudgment asset discovery

which would have disclosed the assets of Sunset Pacific and Barclay, Comu conducted a desperate


PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                              - PAGE 10


                                                                                          000415
Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 11 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 222 of 256 PageID 457



maneuver to place a highly valuable asset of Barclay beyond the reach of his creditors.

       34.     In 2009, Comu caused Barclay to obtain control of a business claiming to own the

exclusive rights to distribute in the United States an electric powered automobile manufactured in

China, using the name Green Automotive. At first glance, given the rising prices of gasoline, and

increasingly demanding requirements that automobiles sold in the United States have ever-improving

gas mileage, the concept of marketing an economical electric-powered automobile appears to be a

very profitable concept. Comu had enticed the persons owning the rights to such distributorship to

utilize Barclay to raise capital and to take their company public, and had assured that Barclay would

have control of the business. Once he realized that his assets were going to be seized in

postjudgment collection activities, however, he engaged in a scheme to hide these assets.

             Creation of Barclay rights to Green Automotive stock immediately
                               prior to filing of bankruptcy

       35.     On or about November 4, 2009, Comu caused Barclay to enter into a Merger

Agreement and Plan of Reorganization between Go Green USA, LLC, a Nevada limited liability

company, and GANAS Corp., a Delaware corporation, which was a public company existing as a

shell entity. GANAS then changed its name to Green Automotive Company, Inc. (“Green

Automotive”). Under the Merger Agreement, Barclay retained rights to continued ownership of 40%

of Green Automotive. Barclay advanced monies in the form of loans to Green Automotive, both

immediately before and immediately after Comu filed his Bankruptcy Petition herein, which had the

unusual provision that in the event of failures to repay the loans timely, Barclay would be issued

stock for each day that the payments were late, thereby further increasing the stock ownership

position of Barclay.

       36.     On or about November 9, 2009, CJ Comu emailed Steven Fly, the former chairman

PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                            - PAGE 11


                                                                                        000416
Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 12 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 223 of 256 PageID 458



of Green Automotive, and Steven Evans, a former vice-president of Green Automotive, regarding

a meeting to be held the next day, on November 10, 2009. Attached to CJ Comu’s email was an

agenda for the meeting, a draft of potential private placement financing, and draft of corporate

valuation documents for Green Automotive Company. In the meeting agenda attached to the email,

which is on The Barclay Group letterhead, it is noted that the meeting concerns Green Automotive

and that CJ Comu, Steven Evans, Steven Fly, and additional Green Automotive executives would

be in attendance. The agenda lists the following items to be discussed: “1. GoGreen — Public

Company Rules of Engagement; 2. GoGreen — Operations and Finance; 3. GoGreen — Marketing

and Distribution; 4. Initial Order and Use of Vehicles; 5. Press Campaign and National Car Tour;

and 6. Financing Option and Discussion.” During this meeting the next day, CJ Comu proposed a

complicated lending process through which Green Automotive could obtain financing through his

alter ego, The Barclay Group. This lending process, which was fictitious, allowed CJ Comu to

camouflage a transfer of stock to The Barclay Group. The aforementioned stock was acquired by the

Barclay Group through the personal efforts and work of Comu.

        37.     On information and belief, Green Automotive issued 143,620,000 shares of common

stock, 40% of which was issued to Barclay. All or most of the stock issued to Barclay was initially

unregistered and was restricted. On January 13, 2010, Comu received directly, in his name, 300,000

shares of stock of Green Automotive, which was not disclosed on his schedules, but which he had

earned prior to filing of the petition herein.

        38.     Although Comu controlled and dominated Barclay, and its assets were actually his

assets, none of these transactions, and none of these valuable assets, were disclosed in his bankruptcy

schedules, and to the extent that any disclosure was made, the percentages of ownership disclosed


PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                             - PAGE 12


                                                                                         000417
Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 13 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 224 of 256 PageID 459



were fraudulent. The rights of Barclay and of Comu individually to stock in Green Automotive were

established prior to the filing of bankruptcy, and both the value of these rights and Comu’s actual

interest therein should have been disclosed to the Court. Comu thereby concealed material assets of

his, knowingly and wilfully, for the purpose of defrauding this Honorable Court and the creditors

of this Estate.

                     Distribution of Green Automotive stock and sales thereof

        39.       At or around the time of filing his Bankruptcy Petition herein, Comu caused the

creation of TKY Trust and DAPTCO Trust. Shortly after returning from his post-filing luxury

cruise, he caused Barclay to convey 5,000,000 shares of Green Automotive to TKY Trust for no

cash, but instead for a $500,000 promissory note. He further caused Barclay to convey 2,500,000

shares of Green Automotive stock to Sunset Pacific, also for a note, in the amount of $200,000. He

also caused Barclay to convey 2,000,000 shares of Green Automotive stock to the DAPTCO Trust

in exchange for a $200,000 promissory note.

        40.       Although these promissory notes called for quarterly payments of interest, Sunset

Pacific has made no payments for the Green Automotive stock which it obtained. The only

payments made by TKY Trust and DAPTCO Trust have been from sales of unregistered shares of

Green Automotive stock sold by Comu through a network of “brokers” who are charging

“commissions” far in excess of the maximum amount of lawful commissions allowed for sale of

securities.

        41.       According to information supplied by Comu, the payments to Barclay by TKY Trust

and DAPTCO Trust from their sales of Green Automotive stock have totalled approximately

$150,000.


PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                          - PAGE 13


                                                                                      000418
Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 14 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 225 of 256 PageID 460



       42.     On or about August 13, 2010, Green Automotive issued an additional 1,800,000

shares of its stock to Barclay pursuant to the anti-dilution provision of the Merger Agreement. This

stock, on information and belief, was unrestricted.

       43.     On or about June 16, 2011, Comu caused Barclay to enter into an Escrow Agreement

with Olde Monmouth Stock Transfer Co. Pursuant to such Escrow Agreement, Barclay deposited

some 10,000,000 shares of Green Automotive stock with Olde Monmouth so that this restricted

stock could be sold, using Olde Monmouth to hold the shares of stock. According to information

furnished by Comu, from June, 2011, through January, 2012, Comu caused Barclay to sell 9,998,091

shares of Green Automotive stock, for gross consideration believed to be approximately $3,000,000.

According to Comu, however, after paying exorbitant “commissions” to the “brokers” who arranged

the sales of such stock, the net amount actually received by Barclay was only $686,476. Plaintiffs

reserve the right to amend and add further defendants when the true “commission” structure is

disclosed, since “commissions” at such high rates are illegal and far in excess of the amounts

allowed by law.

       44.     The monies received by Barclay have been disseminated to other alter egos of Comu,

including but not limited to Defendants Marathon Management and Regus Advisors, to make it

appear that Barclay had virtually no taxable income. These distributions are believed to amount to

over $2,000,000 for 2010 alone.

       45.     Comu has acquired interests in numerous other business entities which he controls

under the name of The Barclay Group, and/or Regus Advisors, including but not limited to interests

or stock, or both, in Algae International Group, Inc., T3 Networks, Metiscan, Artfest International,

Puration, Iconosys, Paragon GPS, Spectrum Biometrics, Uni-One Advisors, and others. All of these


PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                           - PAGE 14


                                                                                       000419
Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 15 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 226 of 256 PageID 461



assets are assets of Comu, and are subject to the claims of creditors herein.

                       Expansion to Europe: Eurocap Investments, PLC

         46.   Not content to defraud investors in the United States, Comu has now expanded his

business operations to Europe, utilizing the stock obtained through rights which he negotiated prior

to the filing of his bankruptcy schedules herein.

         47.   In July, 2011, a new company was formed in England known as Eurocap Investments,

PLC. Through a Share Exchange Agreement dated October 31, 2011, Comu, in the name of Barclay,

exchanged 10,000,000 shares of Green Automotive stock for all the outstanding stock of Eurocap,

thereby obtaining control of such entity. According to Comu, the business plan of such company

is to acquire stock in companies trading in European stock markets utilizing the Green Automotive

stock.

                      Other Valuable Assets of Comu were not Disclosed

         48.   On information and belief, which Plaintiffs learned from informants beginning in

June, 2010, and through at least September, 2010, through his control of The Barclay Group, Comu

has hidden substantial assets and has failed properly and fully to disclose the full extent of such

assets, as well as the fact that he actually controls The Barclay Group for his own use and benefit.

Although Comu has claimed that Bernard Brown is the officer actually controlling The Barclay

Group, he is actually dealing with Brown as a broker in European markets to wash his illegal sales

of restricted stock. He has concealed interests in various business enterprises owned through The

Barclay Group which should have been fully disclosed herein. These business interests, assets, and

opportunities include but are not limited to the following:

               <       Consulting services and disguised ownership interest in Partners National
                       Real Estate, LLC, and subsidiaries;

PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                           - PAGE 15


                                                                                       000420
Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 16 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 227 of 256 PageID 462




               <       Ownership rights for Artfest International, Inc., and/or Artfest Overseas;

               <       Income from The Barclay Group and Sunset Pacific earned or accrued before
                       the filing of the bankruptcy, the receipt of which was deferred until after the
                       Discharge;

               <       Consulting services and other interests in Art Channel, Inc.;

               <       Valuable sports memorabilia actually owned by Sun Sports Entertainment,
                       Inc., a public company of which Comu was CEO, which mysteriously
                       disappeared when Sun Sports ceased doing business, and which are believed
                       to have been concealed from creditors by Comu;

               <       On information and belief, Comu has a practice of receiving restricted stock
                       in companies for whom he consults through The Barclay Group, and washes
                       such stock through affiliated relationships in the French Riviera, selling the
                       same, and concealing the illegal proceeds overseas;

               <       Consulting services and other involvement with Eller Industries, Inc.;

               <       Dealings with Mars Orbit Fund, Ltd.;

               <       Dealings with Capital Management Group, Inc.;

               <       Dealings with I.R.A. Oil & Gas, Inc.,;

               <       Dealings with JL Media Services LLC;

               <       Dealings with Temeku Financial;

               <       Dealings with various entities, referred to as “ARTI, AL, USR, VOIP, SR,
                       MetiScan, Med Tech, Cool It, Donson, Houston, and Nano,” none of which
                       were listed; and

               <       Dealings with Ultimate Sports Resort, and receipt of $100,000 payment
                       relating thereto.

All of such information should have been disclosed to the creditors herein, so that the Court and the

creditors were fully advised of Comu’s true financial condition.

       49.     Over a period of years prior to filing for bankruptcy, Comu caused the public


PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                            - PAGE 16


                                                                                        000421
Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 17 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 228 of 256 PageID 463



company which he was then controlling, Sun Sports Entertainment, to make numerous payments

totaling tens of thousands of dollars to Sunset Pacific, for no apparent consideration. The purposes

of such payments, and ultimate use and benefit therefrom, were not disclosed to this Court and the

creditors of this Bankruptcy Proceeding, and were likely to be material to Comu’s financial

condition. Plaintiffs did not learn of such payments until June-September, 2010, from various

informants.

        50.     In addition, on information and belief, Comu owns or controls an interest in an entity

known as Grey Point Partners, LLC, which claims rights to broadcasting and presentation of Mixed

Martial Arts (“MMA”) programming. Comu has claimed that such rights actually exist and have

substantial value, but has failed to disclose his interest in such entity.

        51.     On information and belief, Comu owns or controls an interest in an entity known as

New Edge Consulting, the value of which has not been disclosed.

        52.     For all these reasons, Plaintiffs have determined that Comu owns or controls, through

Sunset Pacific, Barclay, Regus, and otherwise, substantial assets and sources of income which have

been concealed from the Court and creditors herein, which were material to his financial condition

and which were required by law to be disclosed.

                                              COUNT I.

                                 DECLARATORY JUDGMENT

        53.     Plaintiffs incorporate by reference the allegations of paragraphs 1 through 52 above

as if the same were fully set forth herein.

        54.     This is a cause of action for declaratory relief pursuant to the Federal Declaratory

Judgment Act, 28 U.S.C. §2201, et seq.


PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                            - PAGE 17


                                                                                        000422
Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 18 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 229 of 256 PageID 464



      55.   Plaintiffs seek a declaration from the Court of the following:

            (1)    that Sunset Pacific, The Barclay Group, Marathon Management, TKY Trust,

                   DAPTCO Trust, and Regus Advisors are the alter egos of Comu;

            (2)    that Comu, as of December 30, 2009, is the de facto 100% owner of Barclay,

                   Sunset Pacific, Marathon Management, and Regus;

            (3)    that the alleged partnership interest of 98% interest in Sunset Pacific

                   allegedly owned by Phyllis Comu is property of the Bankruptcy Estate

                   because such interest is community property, such entity was under the sole

                   management of Comu, and was fraudulently conveyed to Phyllis Comu in

                   violation of 11 U.S.C. §544(b)(1) and the Texas Uniform Fraudulent Transfer

                   Act (“TUFTA”), specifically §24.005(a)(1), TEX. BUS. AND COMM. CODE;

            (4)    that the Green Automotive stock conveyed to TKY Trust and DAPTCO Trust

                   were conveyed in violation of 11 U.S.C. §544(b)(1) and the Texas Uniform

                   Fraudulent Transfer Act (“TUFTA”), specifically §24.005(a)(1), TEX. BUS.

                   AND COMM. CODE, and should be returned to the Barclay Group, and all

                   monies obtained through such conveyance be returned to the Barclay Group,

                   which in turn shall be determined property of the Estate; and

            (5)    that all assets, monies, and entities owned at the present by Barclay, Regus,

                   Sunset Pacific, TKY Trust, DAPTCO Trust, or Marathon Management,

                   specifically including but not limited to Eurocap Investments, PLC, and any

                   deposits or property held by Olde Monmouth, are the property of the

                   Bankruptcy Estate.


PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                       - PAGE 18


                                                                                   000423
Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 19 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 230 of 256 PageID 465



        56.     Plaintiffs further seek the entry of injunctive relief implementing such findings and

protecting the rights of the Estate to preserve the assets thereof, ordering the conveyance of such

property to the Estate, and restraining and enjoining Defendants, their agents, representatives,

affiliates, successors, assigns, and attorneys, from transferring or alienating any property of the Estate

or selling any assets of the Estate.

        57.     Further pursuant to such statutes, Plaintiffs seek recovery of their reasonable and

necessary attorneys’ fees, for all proceedings in this Court, and on appeal, to be awarded in the

discretion of the Court, pursuant to 28 U.S.C. §2201, et seq.

                                              COUNT II.

                                REVOCATION OF DISCHARGE

        58.     Plaintiffs incorporate by reference the allegations of paragraphs 1 through 57 above

as if the same were fully set forth herein.

        59.     Debtor has committed fraud by concealing and failing to disclose assets and sources

of income which he was required by law to disclose, and has obtained a discharge by fraud in

violation of 11 U.S.C.§727(d)(1).

        60.     As alleged above, Debtor owned or controlled a massive array of companies and

investments, amounting to tens of millions of dollars, prior to filing his Bankruptcy Petition and

Schedules herein, and wilfully and purposely withheld disclosure thereof. Debtor purposely

manipulated and concealed the true extent of his assets through dummy corporations and entities,

and concealed his true ownership thereof.

        61.     Further, upon information and belief, Comu earned income or obtained rights to

assets, before the bankruptcy filing, payment of which was deferred until after the Discharge herein,


PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                                - PAGE 19


                                                                                            000424
Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 20 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 231 of 256 PageID 466



to conceal the same from the Court, the Trustee, and the creditors. At the time Comu filed for

bankruptcy, Comu knew that he would gain rights to stock in Green Automotive Company, Inc., both

individually and through his alter egos, and hid the stock from the Court in order to defraud his

creditors. Comu, at all times since the stock was acquired, has had the right to transfer the stock (or

funds from its sale) to himself personally, but failed to do so to better his the assets from the Court.

Because Comu misrepresented his property to the Trustee, he has committed fraud. As the Plaintiffs

are bankruptcy creditors, Plaintiffs have been harmed by this fraud.

        62.     Plaintiffs discovered these frauds after the bankruptcy discharge, beginning around

June, 2010, and on various occasions including September, 2010, and even occurring in January,

2011, from informants. Further information establishing that Comu had committed such fraud and

concealed his assets from the Court was disclosed in the Rule 2004 examinations conducted herein

by the Trustee. The information was not previously known to Plaintiffs, and was fraudulently

concealed from the Court, the Trustee, and the creditors.

        63.     The Original Complaint herein is being filed within one year after the date of

discharge. Plaintiffs are, therefore, entitled to an Order of this Court revoking the Debtor’s

discharge, pursuant to 11 U.S.C. §727(e)(1), and declaring that all assets of fraudulently concealed

by the debtor, including but not limited to the assets of Sunset Pacific, The Barclay Group, Regus

Advisors, TKY Trust, DAPTCO Trust, shall be considered assets of the Debtor. Plaintiffs further

pray for an order revoking all fraudulent transfers of the Debtor’s assets that occurred within the

statute of limitations, pursuant to 11 U.S.C. §544(b)(1) and the Texas Uniform Fraudulent Transfer

Act (“TUFTA”), §24.005(a)(1), TEX. BUS. AND COMM. CODE.

        64.     Plaintiffs further request recovery of their reasonable and necessary attorney fees,


PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                              - PAGE 20


                                                                                          000425
Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 21 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 232 of 256 PageID 467



expert witness fees, costs for copies of deposition, and costs of court for all proceedings in the

Bankruptcy Court, the District Court, the Court of Appeals, and the Supreme Court.



                                              COUNT III.

                  RECOVERY OF DEFERRED PROPERTY OR INCOME

        65.     Plaintiffs incorporate by reference the allegations of paragraphs 1 through 64 above

as if the same were fully set forth herein.

        66.     Upon information and belief, Comu earned income from Sunset Pacific and The

Barclay Group before filing the Bankruptcy Petition. This income was deferred until after the filing

in order to shield it from the bankruptcy proceeding and defraud the trustee herein in violation of 11

U.S.C. §727(d)(2).

        67.     Also, as described in further detail above, Comu acquired rights or entitlement to

other property that properly belonging to the Estate, including but not limited to stock in Green

Automotive Company, Inc. worth millions of dollars, disclosure of which was fraudulently withheld

from the Trustee and the Court in further violation of 11 U.S.C. §727(d)(2). Not only did Comu

conceal the true assets of Barclay, which were really his assets, he also failed and refused to disclose

that he obtained issuance of 300,000 shares of Green Automotive stock issued in his name on

January 13, 2010, which he was receiving due to work done in connection with the November, 2009,

Merger Agreement. Such stock certificate alone, worth $300,000 or more based upon existing stock

sales of Green Automotive stock, was material to the financial condition of Debtor.

        68.     Accordingly, as this action is filed within one year of the discharge, Plaintiffs are

entitled to an Order of this Court revoking the Debtor’s discharge, pursuant to 11 U.S.C. §727(e)(2),


PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                              - PAGE 21


                                                                                          000426
Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 22 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 233 of 256 PageID 468



and declaring all assets acquired by Comu properly belonging to the Estate that were fraudulently

withheld from the Court and/or the Trustee to be property of the Estate.

          69.   Plaintiffs further request recovery of their reasonable and necessary attorney fees,

expert witness fees, costs for copies of depositions, and costs of Court for all proceedings in the

Bankruptcy Court, the District Court, the Court of Appeals, and the Supreme Court.

          WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that, upon final trial hereof, the

Court award declaratory relief and injunctive relief to implement the same, as alleged herein, that

judgment be entered against Defendant Debtor revoking his discharge, that all fraudulent transfers

be revoked, and all assets of the Debtor be adjudged property of the Estate, that Plaintiffs recover

their reasonable attorney’s fees for all proceedings in the Bankruptcy Court, the District Court, the

Court of Appeals, and the Supreme Court, and that Plaintiffs recover their costs of court, and general

relief.

                                               Respectfully submitted,


                                               LAW OFFICES OF LIPPE & ASSOCIATES



                                        By:      /s/ Emil Lippe, Jr.
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PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                            - PAGE 22


                                                                                        000427
Case 10-03269-sgj Doc 62 Filed 09/28/12 Entered 09/28/12 17:12:14 Page 23 of 23
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 234 of 256 PageID 469



                                                  ATTORNEYS FOR PLAINTIFFS KING LOUIE
                                                  MINING, LLC, KING LOUIE ENTERPRISES,
                                                  LLC, AND RONALD KATZ




                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 28th     day of September, 2012, I electronically

submitted the foregoing document with the Clerk of the Court for the U.S. Bankruptcy Court,

Northern District of Texas, using the electronic case filing system of the Court, which will then send

a notification of such filing to the following:

       Dennis Olson
       Olson, Nicoud & Gueck, L.L.P.
       1201 Main St., Ste 2470
       Dallas, TX 75202


       David W. Elmquist
       604 Water Street
       Waxahachie, TX 75165



                                                   /s/ Emil Lippe, Jr.
                                                  Emil Lippe, Jr.




PLAINTIFFS’ THIRD AMENDED COMPLAINT TO REVOKE DISCHARGE
PURSUANT TO SECTION 727(d) OF THE UNITED STATES BANKRUPTCY CODE                             - PAGE 23


                                                                                         000428
 Case 10-03269-sgj Doc 64 Filed 10/09/12 Entered 10/09/12 15:31:18 Page 1 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 235 of 256 PageID 470


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ATTORNEYS FOR CJ COMU

                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

IN RE:                               §
                                     §
CENGIZ J. COMU a/k/a                 §          CASE NO. 09-38820-sgj-7
CJ COMU,                             §
      Debtor.                        §          CHAPTER 7
_________________________________    §
KING LOUIE MINING, LLC,              §
KING LOUIE ENTERPRISES, LLC,         §
and RONALD KATZ,                     §
      Plaintiffs,                    §
v.                                   §          Adversary Case no. 10-03269-sgj
                                     §
CENGIZ J. COMU a/k/a                 §
CJ COMU                              §
      Defendant.                     §
____________________________________________________________________________
DIANE G. REED, TRUSTEE,              §
      Intervenor, Co-Plaintiff and   §
      Third-party Plaintiff,         §
v.                                   §
CENGIZ J. COMU,                      §
      Defendant,                     §
and                                  §
                                     §
PHYLLIS E. COMU,                     §
BERNARD D. BROWN,                    §
THE BARCLAY GROUP, INC. AND          §
SUNSET PACIFIC, L.P.,                §
      Third-party Defendants.        §

ANSWER BY DEFENDANT AND ALL THIRD –PARTY
DEFENDANTS TO TRUSTEE’S COMPLAINT IN INTERVENTION                         Page - 1




                                                                      000429
 Case 10-03269-sgj Doc 64 Filed 10/09/12 Entered 10/09/12 15:31:18 Page 2 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 236 of 256 PageID 471



       ANSWER BY DEFENDANT AND ALL THIRD-PARTY DEFENDANTS TO
                TRUSTEE’S COMPLAINT IN INTERVENTION

       NOW COME the Defendant and the Third-Party Defendants named in the

above-captioned adversary proceeding, and in response to the Trustee’s Complaint in

Intervention file their Answer by Defendant and All Third-Party Defendants to Trustee’s

Complaint in Intervention, and in support thereof would respectfully show the Court as follows:

       1.     The Defendant and all the Third-Party Defendants admit the allegations contained

in the following numbered paragraphs of the Trustee’s Complaint in Intervention:

       Paragraphs 1 through 16; Paragraphs 18 through 32; Paragraph 35; Paragraphs 38 through

       49; the first sentence of Paragraph 50.

       2.     Defendant and all Third-Party Defendants deny the allegations contained in the

following paragraphs of the Trustee’s Complaint in Intervention:

       Paragraph 17; Paragraphs 33 and 34; Paragraphs 36 and 37; the last sentence of Paragraph

       50, Paragraphs 51 and 52.

       3.     Defendant and all Third-Party Defendants submit that no response is required for

the allegations contained in Paragraphs 53 through 61 of the Trustee’s Complaint in Intervention;

however, if a response is required, the Defendant all Third-Party Defendants deny the allegations

contained in Paragraphs 53 through 61 of the Trustee’s Complaint in Intervention.

       4.     Third-Party Defendant Bernard D. Brown asserts that the 99% stock ownership in

The Barclay Group, Inc., attributed to him in the bankruptcy schedules filed by Defendant Comu,

is actually owned by a United Kingdom Corporation named Brown and Lampe, PLC, as shown


ANSWER BY DEFENDANT AND ALL THIRD –PARTY
DEFENDANTS TO TRUSTEE’S COMPLAINT IN INTERVENTION                                        Page - 2




                                                                                    000430
 Case 10-03269-sgj Doc 64 Filed 10/09/12 Entered 10/09/12 15:31:18 Page 3 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 237 of 256 PageID 472


on the income tax returns filed by The Barclay Group, Inc.

        5.      Third-Party Defendant Phyllis E. Comu asserts that 98% of Sunset Pacific, L.P.

and its assets are her separate property.

        WHEREFORE, PREMISES CONSIDERED, Defendant and all Third-Party Defendants

pray that the Court, after notice and hearing, deny the Trustee all relief sought herein and grant

Defendant and all Third-Party Defendants such other and further relief as to which they may be

entitled, either at law or in equity.

                                             Respectfully submitted,

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                                             Email: denniso@dallas-law.com

                                             By: /s/ Dennis Olson
                                                    Dennis Olson
                                                    State Bar No. 15273500

                                             ATTORNEYS FOR DEFENDANT AND
                                             ALL THIRD-PARTY DEFENDANTS




ANSWER BY DEFENDANT AND ALL THIRD –PARTY
DEFENDANTS TO TRUSTEE’S COMPLAINT IN INTERVENTION                                         Page - 3




                                                                                     000431
 Case 10-03269-sgj Doc 64 Filed 10/09/12 Entered 10/09/12 15:31:18 Page 4 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 238 of 256 PageID 473


                                CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the foregoing Notice of Hearing
on Defendant’s Third Motion to Dismiss was served upon:

Emil Lippe, Jr.                                      David W. Elmquist
Plaza of the Americas, South Tower                   Reed & Elmquist, P.C.
600 N. Pearl Street, Suite S 2460                    604 Water Street
Dallas, Texas 75201                                  Waxahachie, Texas 75165-3361

via electronic means or by U.S. First Class Mail, on the 9th day of October, 2012.


                                                      /s/ Dennis Olson
                                                     Dennis Olson




ANSWER BY DEFENDANT AND ALL THIRD –PARTY
DEFENDANTS TO TRUSTEE’S COMPLAINT IN INTERVENTION                                       Page - 4




                                                                                     000432
 Case 10-03269-sgj Doc 65 Filed 10/09/12 Entered 10/09/12 17:08:28 Page 1 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 239 of 256 PageID 474


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ATTORNEYS FOR CJ COMU

                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

IN RE:                               §
                                     §
CENGIZ J. COMU a/k/a                 §          CASE NO. 09-38820-sgj-7
CJ COMU,                             §
      Debtor.                        §          CHAPTER 7
_________________________________    §
KING LOUIE MINING, LLC,              §
KING LOUIE ENTERPRISES, LLC,         §
and RONALD KATZ,                     §
      Plaintiffs,                    §
v.                                   §          Adversary Case no. 10-03269-sgj
                                     §
CENGIZ J. COMU a/k/a                 §
CJ COMU                              §
      Defendant.                     §
____________________________________________________________________________
DIANE G. REED, TRUSTEE,              §
      Intervenor, Co-Plaintiff and   §
      Third-party Plaintiff,         §
v.                                   §
CENGIZ J. COMU,                      §
      Defendant,                     §
and                                  §
                                     §
PHYLLIS E. COMU,                     §
BERNARD D. BROWN,                    §
THE BARCLAY GROUP, INC. AND          §
SUNSET PACIFIC, L.P.,                §
      Third-party Defendants.        §



DEFENDANT’S REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S
THIRD MOTION TO DISMISS AND SUPPORTING BRIEF AND TO
PLAINTIFFS’ SUPPLEMENTAL RESPONSE TO DEFENDANT’S
THIRD MOTION TO DISMISS AND SUPPORTING BRIEF                              Page - 1

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 Case 10-03269-sgj Doc 65 Filed 10/09/12 Entered 10/09/12 17:08:28 Page 2 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 240 of 256 PageID 475


      DEFENDANT’S REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S
        THIRD MOTION TO DISMISS AND SUPPORTING BRIEF AND TO
         PLAINTIFFS’ SUPPLEMENTAL RESPONSE TO DEFENDANT’S
           THIRD MOTION TO DISMISS AND SUPPORTING BRIEF

TO THE HONORABLE STACEY G.C. JERNIGAN,
UNITED STATES BANKRUPTCY JUDGE:

       NOW COMES Cengiz J. Comu, aka CJ Comu, the Defendant in the above-captioned

adversary proceeding, and in reply to Plaintiffs’ Response to Defendant’s Third Motion to

Dismiss and Supporting Brief (Docket no. 30) and Plaintiffs’ Supplemental Response to

Defendant’s Third Motion to Dismiss and Supporting Brief (Docket no. 61) would respectfully

show the Court as follows:

       1.     A review of the docket sheet in this adversary proceeding will reveal that

Plaintiffs’ original Complaint (Docket no. 1) was met with Defendant’s Motion to Dismiss

(Docket no. 5).

       2.     Plaintiffs filed their Amended Complaint (attached to Docket no. 8), and

Defendant then filed his Second Motion to Dismiss (Docket no. 12).

       3.     After the Court heard argument on February 14, 2011, the Court’s Order gave

Plaintiffs one more chance to amend their complaint and plead with sufficient specificity their

allegations against Defendant (Docket no. 17).

       4.     Plaintiffs then filed their Second Amended Complaint (Docket no. 20), and

Defendant filed his Third Motion to Dismiss (Docket no. 24).

       5.     Despite the fact that Plaintiffs filed their response to Defendant’s Third Motion to

Dismiss (Docket no. 30), on April 28, 2011, this Court’s Agreed Scheduling Order in this

adversary proceeding nevertheless afforded Plaintiffs one more opportunity to respond to


DEFENDANT’S REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S
THIRD MOTION TO DISMISS AND SUPPORTING BRIEF AND TO
PLAINTIFFS’ SUPPLEMENTAL RESPONSE TO DEFENDANT’S
THIRD MOTION TO DISMISS AND SUPPORTING BRIEF                                             Page - 2

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 Case 10-03269-sgj Doc 65 Filed 10/09/12 Entered 10/09/12 17:08:28 Page 3 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 241 of 256 PageID 476


Defendant’s Third Amended Motion to Dismiss.

       6.      This Court’s Agreed Scheduling Order, entered on September 20, 2012, did not

grant Plaintiffs leave to file a Third Amended Complaint, adding new parties and new causes of

action, attempting to pursue fraudulent transfers and complaining about actions of the Defendant

taken years after the Defendant filed his bankruptcy and obtained his discharge.

       7.      At this Court’s hearing on October 31st, the Court should dismiss both Plaintiffs’

Second Amended Complaint and their Third Amended Complaint, for the reasons stated below.

       8.      Defendant stands on his Second Motion to Dismiss (Docket no. 12), his Third

Motion to Dismiss (Docket no. 30) and his Brief (Docket no. 6) and incorporates them by

reference at this point in this pleading as fully as though they were retyped verbatim herein.

       9.      This Court previously held that Plaintiffs did not establish standing to pursue their

alleged fraudulent transfers, in this Court’s Order entered February 24, 2011 (Docket no. 17), and

again in this Court’s Order entered March 23, 2011, (Docket No. 23) the Court denied, without

prejudice, Plaintiffs’ motion for leave to prosecute certain Chapter 5 Claims.

       10.     After a year and a half of massive discovery conducted by the Trustee, the

Trustee’s attorney has reported to the Court that he does not see a basis to revoke the Debtor’s

discharge nor to pursue fraudulent transfers; however, the he did report that he intended to pursue

recovery of certain assets as property of the bankruptcy estate.

       11.     The Trustee has filed that Complaint and the Defendant has answered that

Complaint.

       12.     As an additional basis for dismissal of Plaintiffs Third Amended Complaint, the

Court should strike that Complaint because leave of court was not first obtained, and the filing of


DEFENDANT’S REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S
THIRD MOTION TO DISMISS AND SUPPORTING BRIEF AND TO
PLAINTIFFS’ SUPPLEMENTAL RESPONSE TO DEFENDANT’S
THIRD MOTION TO DISMISS AND SUPPORTING BRIEF                                                Page - 3

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 Case 10-03269-sgj Doc 65 Filed 10/09/12 Entered 10/09/12 17:08:28 Page 4 of 4
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 242 of 256 PageID 477


said Complaint was not contemplated by the Agreed Scheduling Order in this case.

       WHEREFORE, PREMISES CONSIDERED, Defendant prays the Court, after hearing on

October 31, 2012, dismiss Plaintiffs’ Second and Third Amended Complaints in this adversary

proceeding and grant Defendant such other and further relief as to which he is entitled, either at

law or in equity.

                                             Respectfully submitted,

                                             OLSON NICOUD & GUECK, L.L.P.
                                             1201 Main Street, Suite 2470
                                             Dallas, Texas 75202
                                             (214) 979-7302 - Telephone
                                             (214) 979-7301 – Facsimile
                                             Email: denniso@dallas-law.com

                                             By: /s/ Dennis Olson
                                                    Dennis Olson
                                                    State Bar No. 15273500

                                             ATTORNEYS FOR DEFENDANT



                                CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the foregoing Notice of Hearing
on Defendant’s Third Motion to Dismiss was served upon:

Emil Lippe, Jr.                                      David W. Elmquist
Plaza of the Americas, South Tower                   Reed & Elmquist, P.C.
600 N. Pearl Street, Suite S 2460                    604 Water Street
Dallas, Texas 75201                                  Waxahachie, Texas 75165-3361

via electronic means or by U.S. First Class Mail, on the 9th day of October, 2012.


                                                      /s/ Dennis Olson
                                                     Dennis Olson



DEFENDANT’S REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S
THIRD MOTION TO DISMISS AND SUPPORTING BRIEF AND TO
PLAINTIFFS’ SUPPLEMENTAL RESPONSE TO DEFENDANT’S
THIRD MOTION TO DISMISS AND SUPPORTING BRIEF                                              Page - 4

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 Case 10-03269-sgj Doc 66 Filed 10/26/12 Entered 10/26/12 17:25:54 Page 1 of 3
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 243 of 256 PageID 478




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 Case 10-03269-sgj Doc 66 Filed 10/26/12 Entered 10/26/12 17:25:54 Page 2 of 3
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 244 of 256 PageID 479




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 Case 10-03269-sgj Doc 66 Filed 10/26/12 Entered 10/26/12 17:25:54 Page 3 of 3
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 245 of 256 PageID 480




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Case 10-03269-sgj Doc 66-1 Filed 10/26/12 Entered 10/26/12 17:25:54 Page 1 of 1
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 246 of 256 PageID 481




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Case 10-03269-sgj Doc 68 Filed 10/29/12 Entered 10/29/12 17:32:07 Page 1 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 247 of 256 PageID 482



                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                              §
IN RE:                                        §      CHAPTER 7
                                              §
CENGIZ J. COMU a/k/a CJ COMU,                 §      CASE NO. 09-38820-sgj7
                                              §
                                              §
         Debtor.                              §


DIANE G. REED, TRUSTEE OF THE     §
ESTATE OF CENZIG J. COMU; KING    §
LOUIE MINING, LLC; KING           §
LOUIE ENTERPRISES, LLC; AND       §
RONALD KATZ,                      §
                                  §
      Plaintiffs and Intervenor,  §
                                  §
v.                                §                  ADVERSARY NO. 10-03269-sgj
                                  §
CENGIZ J. COMU a/k/a CJ COMU;     §
SUNSET PACIFIC, L.P.; THE BARCLAY §
GROUP, INC.;PHYLLIS E. COMU;      §
and BERNARD D. BROWN,             §
                                  §
                                  §
      Defendants.                 §


                     PLAINTIFFS’ MOTION FOR LEAVE TO FILE
                THIRD AMENDED COMPLAINT AND BRIEF IN SUPPORT


TO THE HONORABLE STACY JERNIGAN, UNITED STATES BANKRUPTCY JUDGE:

         Pursuant to Federal Rule of Bankruptcy Procedure 7015 and Federal Rule of Civil Procedure

15(a), Plaintiffs King Louie Mining, LLC, King Louie Enterprises, LLC, and Ronald Katz

(“Plaintiffs”), hereby move for leave to amend, seeking leave to file their Third Amended Complaint

PLAINTIFFS’ MOTION FOR LEAVE TO FILE
THIRD AMENDED COMPLAINT AND BRIEF IN SUPPORT- Page 1




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Case 10-03269-sgj Doc 68 Filed 10/29/12 Entered 10/29/12 17:32:07 Page 2 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 248 of 256 PageID 483



in the form previously filed herein as ECF# 62, and state the following.

                        BACKGROUND & PROCEDURAL POSTURE

        Plaintiffs originally filed this adversary action on September 3, 2010 against Debtor Cengiz

J. Comu (“CJ Comu”), seeking a revocation of the discharge herein and alleging numerous

fraudulent transfer actions related to CJ Comu’s wrongful utilization of a complex corporate

structure involving Sunset Pacific, L.P. and The Barclay Group, Inc. to conceal and secret assets

properly belonging to the Bankruptcy Estate. On October 7, 2010, CJ Comu filed a motion to dismiss

alleging failure to state a claim and a lack of standing.

        After Plaintiffs filed a motion for leave to amend, a round of briefing on the motion to

dismiss, and a hearing on both, the Court ordered that Plaintiffs should be allowed leave to amend

their complaint and denied the motion to dismiss as moot. Shortly thereafter, on January 20, 2011,

CJ Comu filed his second motion to dismiss. On February 14, 2011, in open court, the Court

conditionally denied the second motion to dismiss to provide Plaintiffs an additional opportunity to

amend their pleading. Particularly, the Court questioned whether or not Plaintiffs had standing to

bring the claims as alleged.

        On March 2, 2011, Plaintiffs filed a motion for leave to prosecute the action in the place of

the Diane G. Reed, Trustee of the Estate herein, in order to gain the questioned standing. The Court

denied the motion without prejudice on March 23, 2011 in order to ensure the Trustee had sufficient

notice of the motion. Subsequently, the Trustee began to investigate the claims brought in the

adversary action.

        On March 24, 2011, Defendants filed their third motion to dismiss, focusing specifically on

the Plaintiffs’ alleged lack of standing. Plaintiffs filed their response shortly thereafter.

PLAINTIFFS’ MOTION FOR LEAVE TO FILE
THIRD AMENDED COMPLAINT AND BRIEF IN SUPPORT- Page 2




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Case 10-03269-sgj Doc 68 Filed 10/29/12 Entered 10/29/12 17:32:07 Page 3 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 249 of 256 PageID 484


        The Trustee’s investigation then continued thereafter for more than a year. The Trustee

moved to abate, and this Court, abated, this adversary proceeding to allow the Trustee to conduct

Rule 2004 examinations. On September 5, 2012, satisfied with the evidence against CJ Comu

related to the claims previously brought by Plaintiffs, the Trustee filed her Complaint in Intervention.

The filing of such complaint necessarily modified Plaintiffs’ posture in the case and quelled any

concerns of standing. Plaintiffs filed their Third Amended Complaint on September 28, 2012 to

better reflect the information gained during the Trustee’s investigation and Plaintiffs’ continued

claims in this adversary action. Defendant has now objected to the filing thereof, and moved to

strike the same, although no formal motion to strike has been filed. By this Motion, Plaintiffs are

asking the Court to allow such filing.

                                            ARGUMENT

                                                   I.

                    LEAVE TO AMEND SHOULD BE GRANTED
               TO ALLOW PLEADING OF NEWLY DISCOVERED FACTS

        Pursuant to Rule 7015 of the Federal Rules of Bankruptcy Procedure, “Rule 15 F.R.Civ.P.

applies in adversary proceedings.” Federal Rule of Civil Procedure 15(a) contemplates that a court

will freely grant leave to file an amended complaint when the interests of justice so require. It is

well-settled law that leave to amend the complaint is rarely denied and may be denied only where

there is a demonstrable showing of prejudice to an opposing party. Forman v. Davis, 371 U.S.178,

83 S.Ct.227, 9 L.Ed. 2d 222 (1962); Jackson v. Bank of Hawaii, 902 F. 2d 1385(9th Cir. 1990);

Harkiess v. Sweeny Independent School District, 544 F 2d 1353 (5th Cir. 1977); United Steelworkers

of America v. Mesker Bros. Industries, Inc., 457 F2d 91(8th Cir. 1971). In fact, it may be an abuse


PLAINTIFFS’ MOTION FOR LEAVE TO FILE
THIRD AMENDED COMPLAINT AND BRIEF IN SUPPORT- Page 3




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Case 10-03269-sgj Doc 68 Filed 10/29/12 Entered 10/29/12 17:32:07 Page 4 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 250 of 256 PageID 485


of discretion for the Court to deny leave to amend absent a demonstrable showing of prejudice. Id.

       As the Trustee conducted her investigation into the claims herein, and discovery has

progressed in this matter, Plaintiffs have received and discovered substantial additional information

and facts relevant to their previously pled causes of action herein. Plaintiffs are now in possession

of documents evidencing substantial assets that were fraudulently withheld from the Bankruptcy

Estate, and specifically demonstrating the materiality of such omission because of the large

values generated by subsequent sales and transfers,1 supporting their claims for a revocation of

the discharge herein pursuant to 11 U.S.C. §727(d)(1)-(2).2 Further, the Trustee has intervened in

this action, causing all issues of standing to be made moot, though amendments are required to clean

up remnants of previous complaints herein.

       As noted above, Federal Rule of Civil Procedure 15(a) requires that leave to file an amended

complaint be "freely given when justice so requires." This standard is readily met here, as the more

detailed description of the events and facts surrounding Plaintiffs’ revocation claims clearly goes to

the pursuit of justice. Indeed, the U.S. Supreme Court determined that “[i]n the absence of . . . undue

delay, bad faith or dilatory motive . . . undue prejudice . . . futility of amendment, etc. – the leave

sought should . . . be ‘freely given.’” Foman v. Davis, 371 U.S. 178, 182 (1962); see also Jacobsen

v. Osborne, 133 F.3d 315, 318 (5th Cir. 1998).3 No such prejudice exists here. The facts described

       1
          See, In re Cooper, 426 B.R. 227 (Bkr.N.D.Tex.2010)(Jernigan, Bankruptcy Judge), for
a discussion of the facts in that case where a subsequent sale was deemed to evidence the value
of assets either omitted from the debtor’s schedules or undervalued.
       2
         Pursuant to 11 U.S.C. §727(e), Plaintiffs have independent standing to bring their causes
of action for violations of 11 U.S.C. §727(d)(1)-(2).
       3
      Plaintiffs do not argue against the potential futility of this amendment because the
amendment is not required to overcome CJ Comu’s motions to dismiss, as Plaintiffs have clearly

PLAINTIFFS’ MOTION FOR LEAVE TO FILE
THIRD AMENDED COMPLAINT AND BRIEF IN SUPPORT- Page 4




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Case 10-03269-sgj Doc 68 Filed 10/29/12 Entered 10/29/12 17:32:07 Page 5 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 251 of 256 PageID 486


in the Third Amended Complaint are well-known to CJ Comu, because he produced the documents

and information, or directly undertook the actions, upon which the amendments are based, and the

claims are based upon Rule 2004 examinations in which Comu was either personally present or

represented by counsel. Additionally, the Third Amended Complaint does not significantly change

Plaintiff’s causes of action, but rather narrows the claims to assert only those that Plaintiff has

standing to assert, given the Trustee’s intervention, and more clearly describes and updates the facts

and events upon which Plaintiffs’ remaining claims are based. The amendments are vital to ensuring

an efficient resolution of this case, and prevent ongoing issues related to any motion to dismiss.

        Plaintiffs note specifically that the Court has previously stated that Plaintiffs would be limited

in their ability to amend their Complaint. Respectfully, Plaintiffs suggest that, in the year since that

previous ruling, much has occurred in the case that necessitates Plaintiffs perfecting their complaint.

Given the intervention, Plaintiffs would suffer harm if not allowed to amend their complaint to better

fit with the current posture of this case, and to add the necessary claims, factual contentions, and

additional parties.

        As stated above, CJ Comu suffers no prejudice in Plaintiffs being allowed leave to amend

their Complaint as there are no significant changes to the causes of action alleged in Plaintiff’s Third

Amended Complaint and Defendant is, and has been, aware of each of the amended facts. Obviously,

then, these allegations will come as no surprise to CJ Comu. It would instead be Plaintiffs who suffer



stated a plausible claim for relief under Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949 (2009) in their
prior complaints. That said, Plaintiff’s Fourth Amended Complaint goes above and beyond in
raising facts that “accepted as true, [...] state a claim to relief that is plausible on its face.”
Gonzalez v. Kay, 577 F.3d 600, 603 (5th Cir. 2009)(quoting Ashcroft v. Iqbal, 129 S.Ct. 1937,
1949 (2009)).


PLAINTIFFS’ MOTION FOR LEAVE TO FILE
THIRD AMENDED COMPLAINT AND BRIEF IN SUPPORT- Page 5




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Case 10-03269-sgj Doc 68 Filed 10/29/12 Entered 10/29/12 17:32:07 Page 6 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 252 of 256 PageID 487


grave prejudice and harm in not being allowed to amend their complaint, as they would be subject

to a motions to dismiss filed more than sixteen months ago, before the full extent of CJ Comu’s

fraud and deceit were known.

       Accordingly, Plaintiffs should be allowed leave to amend their complaint. See, e.g., Security

Ins. Co. of Hartford v. Kevin Tucker & Assocs., Inc., 64 F.3d 1001, 1009 (6th Cir. 1995) (holding

that the district court abused its discretion in denying leave to amend a complaint when the opposing

party made no showing of prejudice from the delay); United States v. Wood, 877 F.2d 453, 456 (6th

Cir. 1989) (allowing a plaintiff to add a claim fourteen months after suit was filed, after discovery

had closed, and three weeks before trial); Buder v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 644

F.2d 690, 694 (8th Cir. 1981) (holding that the district court abused its discretion in denying leave

to amend the complaint to add a new count when no prejudice resulted from two and one-half year

delay and the facts underlying the new and old counts were similar).

                                                 II.

                    PLAINTIFFS HAVE STANDING TO ALLEGE
                 THE CAUSES OF ACTION WHICH HAVE BEEN PLED

       Defendant is simply wrong in asserting that Plaintiffs lack standing to allege their various

causes of action. Pursuant to 11 U.S.C. §727(e), Plaintiffs have independent standing to bring their

causes of action for violations of 11 U.S.C. §727(d)(1)-(2). 11 U.S.C. §727(e)(“The trustee, a

creditor, or the United States trustee may request a revocation of a discharge-”)(emphasis added);

see Reed v. Cooper (In re Cooper), 426 B.R. 227 (Bankr. N.D. Tex. 2010)(Jernigan). Plaintiffs’

Third Amended Complaint is rooted only in 727(d) claims, which Plaintiffs clearly have standing




PLAINTIFFS’ MOTION FOR LEAVE TO FILE
THIRD AMENDED COMPLAINT AND BRIEF IN SUPPORT- Page 6



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Case 10-03269-sgj Doc 68 Filed 10/29/12 Entered 10/29/12 17:32:07 Page 7 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 253 of 256 PageID 488


to bring.4

        Further, to the extent Plaintiffs presently lack standing to bring any claim in this matter, it

is only because the Trustee has now brought such claims. See Official Committee of Unsecured

Creditors of Cybergenics v. Chinery, 330 F.3d 548, 561 (3rd Cir. 2003)(discussing standards for

creditor derivative standing); see also Louisiana World Exposition v. Federal Insurance Co., 858

F.2d 233, 247 (5th Cir. 1988). Before the Trustee began her full investigation into the claims herein,

Plaintiffs were in the process of seeking leave to obtain derivative standing on the basis that: (1)

Plaintiffs’ claims were “colorable,” and (2) that the Trustee had unjustifiably refused to pursue the

claim. Louisiana World Exposition, 858 F.2d at 247.5

        Further, insofar as the Plaintiff has previously raised or presently raises any claim that the

Trustee does not bring in her Complaint in Intervention that is found to be property of the bankruptcy

estate, Plaintiff reserves the right to seek derivative standing to bring the claims.

                                                 III.

             THE ADDITIONAL PARTIES HAVE BEEN PROPERLY JOINED

        The newly added parties– Comu’s wife, the purported 99% owner of Sunset Pacific, L.P.,

Bernard Brown, the faceless, absent, purported 99% owner of The Barclay Group, TKY Trust, a trust



        4
           The Bankruptcy Court in In re Penner, 107 B.R.171 (Bkr.N.D.Ind.1989) noted that
often it is difficult to distinguish between fraudulent concealment claims and §727 claims, and
this Court has written that property can be concealed by placing it in another’s name, and
therefore justify the denial of a discharge. Mullen v. Jones, 455 B.R. 677, 722
(Bkr.N.D.Tex.2011) (Jernigan, Bankruptcy Judge)
        5
          Plaintiffs also intended to discuss purchasing the claims from the Trustee in order to
perfect standing should leave not be granted. See In re Moore, 608 F.3d 253, 261-262 (5th Cir.
2010)(holding that avoidance actions that are property of the estate may be sold under 11 U.S.C.
§ 363 and pursued by an non-Trustee party).
PLAINTIFFS’ MOTION FOR LEAVE TO FILE
THIRD AMENDED COMPLAINT AND BRIEF IN SUPPORT- Page 7



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Case 10-03269-sgj Doc 68 Filed 10/29/12 Entered 10/29/12 17:32:07 Page 8 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 254 of 256 PageID 489


established to hold shares of stock obtained from Barclay which were properly part of the Estate,

DAPTCO Trust, another trust formed for the same purpose, and The Barclay Group, Comu’s alter

ego entity which he solely manages and controls for his personal benefit– have all been properly

added because, as the investigation during the 2004 examinations has established, they all hold assets

that were diverted from Comu’s bankruptcy estate, that should have been included in his Estate, and

were fraudulently concealed from the Court in violation of § 727. In any suit at which a fraudulent

transfer and/or wrongful concealment of property from the bankruptcy estate is at issue both the

debtor and the holder of the property6 should be named as necessary parties in the suit. See 5 Collier

on Bankruptcy 548, 548-54, note 1 (16th ed. revised 2011)(citing In re Farmer's Market, 22 B.R.

71 (9th Cir. B.A.P., 1982); Fed. R. Bankr. P. 7019)); see also Slone v. Lorenz (In re Lorenz), 2011

Bankr. LEXIS 738 (Bankr. S.D. Ohio Mar. 8, 2011); Forman v. Jeffrey Matthews Fin. Group, LLC

(In re Halpert & Co.), 254 B.R. 104, 116 (Bankr. D.N.J. 1999).

                                           CONCLUSION

       Leave should be “freely given when justice so requires.” Plaintiffs meet this standard here

and justice requires that they be allowed to amend their complaint to better state and update their

claims in light of the Trustee’s intervention. CJ Comu will suffer no prejudice if Plaintiffs are

allowed to file their amended complaint as CJ Comu was aware of every single fact that has been

amended and the factual nexus of Plaintiffs’ claims remains unchanged.

       WHEREFORE, Plaintiffs King Louie Mining, LLC, King Louie Enterprises, LLC, and

Ronald Katz respectfully requests and prays that this Court grant leave to file their Third Amended

Complaint.


       6
           These parties could also be construed as the transferor and transferee.
PLAINTIFFS’ MOTION FOR LEAVE TO FILE
THIRD AMENDED COMPLAINT AND BRIEF IN SUPPORT- Page 8



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Case 10-03269-sgj Doc 68 Filed 10/29/12 Entered 10/29/12 17:32:07 Page 9 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 255 of 256 PageID 490



                                               Respectfully submitted,


                                               LAW OFFICES OF LIPPE & ASSOCIATES



                                         By:     /s/ Emil Lippe, Jr.
                                               Emil Lippe, Jr.
                                               State Bar No. 12398300
                                               Law Offices of Lippe & Associates
                                               Plaza of the Americas, South Tower
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                                               Dallas, Texas 75201
                                               Telephone:      (214) 855-1850
                                               Facsimile:      (214) 720-6074
                                               Email:          emil@texaslaw.com



                                               ATTORNEYS FOR PLAINTIFFS KING LOUIE
                                               MINING, LLC, KING LOUIE ENTERPRISES,
                                               LLC, AND RONALD KATZ



                                 CERTIFICATE OF CONFERENCE

       Counsel for Plaintiffs has contacted Defendant’s counsel of record concerning the substance

of this motion, and has been advised that the motion is opposed.


       Certified to the   29th    day of October, 2012, by   /s/ Emil Lippe, Jr. .



                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 29th     day of October, 2012, I electronically

submitted the foregoing document with the Clerk of the Court for the U.S. Bankruptcy Court,


PLAINTIFFS’ MOTION FOR LEAVE TO FILE
THIRD AMENDED COMPLAINT AND BRIEF IN SUPPORT- Page 9



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Case 10-03269-sgj Doc 68 Filed 10/29/12 Entered 10/29/12 17:32:07 Page 10 of 10
Case 3:14-cv-04163-B Document 1-2 Filed 11/21/14 Page 256 of 256 PageID 491


Northern District of Texas, using the electronic case filing system of the Court, which will then send

a notification of such filing to the following:


       Dennis Olson
       Olson, Nicoud & Gueck, L.L.P.
       1201 Main St., Ste 2470
       Dallas, TX 75202


       David W. Elmquist
       604 Water Street
       Waxahachie, TX 75165



                                                   /s/ Emil Lippe, Jr.
                                                  Emil Lippe, Jr.




PLAINTIFFS’ MOTION FOR LEAVE TO FILE
THIRD AMENDED COMPLAINT AND BRIEF IN SUPPORT- Page 10




                                                                                        000450
